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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
689 EATERY CORP., etc., et ano.,                               :

                                            Plaintiffs,      :

                 - against -                                 :     Civil Action No.
                                                                   02 CV 4431 (LJL)
THE CITY OF NEW YORK, et al.,                                :

                                             Defendants. :
---------------------------------------------------------------X
59 MURRAY ENTERPRISES INC., etc., et al.,                      :

                                            Plaintiffs,      :

                 - against -                                 :     Civil Action No.
                                                                   02 CV 4432 (LJL)
THE CITY OF NEW YORK, et al.,                                :

                                             Defendants. :
---------------------------------------------------------------X
CLUB AT 60TH STREET, INC., etc., et al.,                       :

                                            Plaintiffs,      :

                 - against -                                 :     Civil Action No.
                                                                   02 CV 8333 (LJL)
THE CITY OF NEW YORK,                                        :

                                             Defendant.        :
---------------------------------------------------------------X
336 LLC., etc., et al.,                                        :

                                            Plaintiffs,      :

                 - against -                                 :     Civil Action No.
                                                                   18 CV 3732 (LJL)
THE CITY OF NEW YORK,                                        :

                                             Defendant.        :
---------------------------------------------------------------X
                                      VOLUME 9 OF EXHIBITS TO
                      JOINT REQUEST AND STIPULATIONS REGARDING
                                 THE TAKING OF JUDICIAL NOTICE



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                EXHIBITS VOL. 9 of 10; pp. JNR-001355 – JNR-001508
                            (Exhibits 60 through 70)


Exhibit 60   Stipulation and Agreement, dated August 2, 2017, executed by        001355-001360
             Erica T. Dubno, counsel for the Bookstore Plaintiffs, and
             Assistant Corporation Counsel Sheryl Neufeld, counsel for the
             City of New York

Exhibit 61   Moss and Quing, "The Dynamic Population of Manhattan",              001361-001385
             Rudin Center for Transportation Policy and Management of the
             New York University Wagner School of Public Service (2012)
             (https://wagner.nyu.edu /files/faculty /publications/ dynamic pop
             manhattan.pdf)

Exhibit 62   Linz and Paul, "Measuring the Secondary Effects of 60/40            001386-001436
             Businesses in New York City: A Study of Calls For Service
             to the Police", including Figures and Tables (2005) (Exhibits 6
             and 6A admitted into evidence at evidentiary hearing held on
             February 23 through March 2, 2009 in Ten's Cabaret, Inc. v.
             City of New York, Supreme Court, New York County,
             Index No. 121197 /2002

Exhibit 63   Freeman, "Examining The Relationship Between Businesses             001437-001471
             That Comply With the ' 60/40' Zoning Regulations and
             Surrounding Property Values in New York City" (2008)
             (Exhibit 8 admitted in evidence at evidentiary hearing held on
             February 23 through March 2, 2009 in Ten's Cabaret, Inc. v.
             City of New York, Supreme Court, New York County,
             Index No. 121197 /2002

Exhibit 64   Focus Probe, Inc., "Perceived Differences Between Adult              0011472-001495
             Entertainment Clubs With ' Subdued Facades ' vs. 'Loud Facades'),
             with photographs (Exhibits 12, 12A, 12B and 12C admitted in
             evidence at evidentiary hearing held on February 23 through March 2,
             2009, in Ten's Cabaret, Inc. v. City of New York, Supreme Court,
             New York County, Index No. 121197 /2002)

Exhibit 65   Charles V. Bagli, "Going Out With a Building Boom, Mayor            001496-001500
             Pushes Billions in Projects", N.Y. Times, Dec. 15,2013
             (https://nyti.ms/ 1hVKOOQ)

Exhibit 66   Ford Fessenden, "The Bloomberg Years: Reshaping New York",             001501
             N.Y. Times, Aug. 18, 2013 (interactive feature)
             (http://www.nytimes.com/newsgraphics/2013/08/18/
             reshaping-new-york/index.html)



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Exhibit 67   Jonathan Lemire, "Michael Bloomberg's NYC Mayoralty                 001502-001503
             Comes to an End", Associated Press, Jan. 1, 2014
              (https://www.dailyfreeman.com/news/michael­bloomberg-s-
             nyc-mayoralty-comes-to-an-end/article901c8f2f-labd-5l50-b23d-
             9fc9674265b3 .html)

Exhibit 68   James Dao, "The 1993 Elections: Staten Island; Secession            001504-001506
             is Approved; Next Move is Albany's", N.Y. Times,
             Nov. 3, 1993 (https://www.nytimes.com/l993/ll/03/
             nyregion/the­l993-elections-staten-island-secession-is-
             approved­next-move-is-albany-s.html)

Exhibit 69   List of 28 “Manhattan Lots Identified By Both City and Plaintiffs      001507
             as Legally Permissible for Adult Use Establishments and Where
             Both Plaintiffs and Defendants Agree That At Least Some
             Types of New Commercial Business Could Be Established”
             as of October 31, 2018

Exhibit 70   List of 36 “Existing Manhattan Lots That Allow[ed]Adult Use            001508
             Establishments” as of October 31, 2018




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                     STIPULATION AND AGREEMENT


      WHEREAS, the law firm of Fahringer & Dubno, 767 Third Avenue, Suite

3600, New York, New York 10017, has represented to the City of New York

("City") that it is counsel for the one or more entities that are subject to Text

Amendment N 010508 ZRY to the City's Zoning Resolution ("2001 Resolution")

as it relates to bookstores (as defined in City Zoning Resolution 12-10) with

individual enclosures where adult movies or live performances are available for

viewing by customers ("Bookstores with Booths"); and


      WHEREAS, Fahringer & Dubno has stated that it is prepared to commence

an action in the United States District Court for the Southern District of New York

on behalf of one or more Bookstores with Booths that are subject to the 2001

Resolution, and to seek to apply for a temporary restraining order ("TRO") in that

action that would prohibit the City from enforcing the 2001 Resolution against

Bookstores with Booths; and


      WHEREAS, Fahringer & Dubno has also stated that it will seek to mark its

intended action as related to four actions commenced in 2002 by "60/40 topless

clubs;" ("Topless Club Cases") and


      WHEREAS, the Topless Club Cases were closed by Judge Pauley in 2003

in light of action taken in the New York State Supreme Court with respect to the




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2001 Resolution with the caveat that the cases "may be re-opened on a showing of

good cause by petition of any party;" and


         WHEREAS, the attorneys for the plaintiffs in the Topless Club Cases have

written to Judge Pauley to advise that they will likely be petitioning the Court in

the near future to reopen the previously closed cases; and


         WHEREAS, Judge Pauley previously indicated that he did not want to

entertain re-opening the Topless Club Cases until there was a final resolution of all

pending state court actions challenging the 2001 Resolution; and


         WHEREAS, on June 6, 2017 the New York Court of Appeals upheld the

2001 Resolution and one or more of the state court plaintiffs have indicated that

they will be filing a petition for writ of certiorari to the United States Supreme

Court;


         WHEREAS, the City and Fahringer & Dubno on behalf of one or more

Bookstores with Booths, seek to streamline federal court litigation regarding the

2001 Resolution and to resolve the application for a TRO in accordance with the

following terms;


         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED BY

AND AMONG THE UNDERSIGNED THAT by August 11, 2017, Fahringer &

Dubno, as counsel for one more Bookstores with Booths, will deliver to the




                                         2


                                 JNR-001356                                             1877
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undersigned attorneys for the City of New York by e-mail, a copy of its intended

complaint to be filed in the United States District Court for the Southern District

of New York in connection with the 2001 Resolution as it relates to Bookstores

with Booths ("Intended Complaint"); and


       IT IS FURTHER STIPULATED AND AGREED THAT after delivery to

the undersigned attorneys for the City of New York, other than to add a

description of the outcome of any cert petitions in the state cases, the Intended

Complaint will not be amended and will be filed by Fahringer & Dubno within 60

days after final disposition by the United States Supreme Court of any/all timely

filed cert petition(s) in the state cases; and


       IT IS FURTHER STIPULATED AND AGREED THAT at the time the

Intended Complaint is filed, Fahringer & Dubno will also file a Motion for a

Preliminary Injunction to enjoin enforcement of the 2001 Resolution against

Bookstores with Booths; and


       IT IS FURTHER STIPULATED AND AGREED THAT notwithstanding

the language in two paragraphs immediately preceding this paragraph, the City

may, at any time upon 30-days written notice to Fahringer & Dubno, require that

the Intended Complaint and Motion for a Preliminary Injunction be filed prior to

any resolution by the Supreme Court of the United States; and




                                            3


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       IT IS FURTHER STIPULATED AND AGREED THAT the City's

response to the filed Complaint and Motion for a Preliminary Injunction shall be

served and filed (by ECF) within sixty (60) days of the date the Complaint and

Motion for a Preliminary injunction are filed with the Comi; and


       IT IS FURTHER STIPULATED AND AGREED THAT counsel for the

Bookstore Plaintiffs consents to any extensions of time requested or sought by the

Defendants; and


       IT IS FURTHER STIPULATED AND AGREED THAT two weeks after

receiving any opposition by the Defendants, counsel for the Bookstore Plaintiffs

shall serve and file (by ECF) any reply in further support of the motion for a

preliminary injunction; and


       IT IS FURTHER STIPULATED AND AGREED THAT pending

determination of the timely filed motion for a preliminary injunction in this Action

by the Bookstore Plaintiff(s), the City, its officers, agents, servants and employees,

and all other persons acting under or on its behalf will refrain from enforcing the

2001 Resolution against Bookstores with Booths; and




                                          4

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        IT IS FURTHER STIPULATED AND AGREED THAT nothing in this

stipulation prevents the City from enforcing the provisions of City Zoning

Resolution Text Amendment N 950384 ZRY; and


        IT IS FURTHER STIPULATED AND AGREED THAT nothing in this

stipulation prevents the City from enforcing any provision of the 2001 Resolution



                                         if
besides City Zoning Resolution § 12-10 Definition of Adult Establishment

(2)(d)(bb), (2)( d)( ff), and (2)( d)(        :nd


        IT IS FURTHER STIPULATED AND AGREED THAT nothing in this

stipulation prevents the City from enforcing the provisions of the 2001 Resolution

as to Bookstores with Booths that commence operating after June 6, 2017, when

the New York Court of Appeals issued its Remitittur in For the People Theatres v.

City of New York, No. 121080/02, APL 2015-00273; and




                                                    5

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       IT IS FURTHER STIPULATED AND AGREED THAT neither paiiy will

rely on this agreement to suggest that any party has made any admission,

concession, or other waiver of any kind with respect to the merits of the claims in

the Intended Complaint.


      Dated: August 2, 2017




FAHRINGER & DUBNO                                 HON. ZACHARY W. CARTER
Attorneys for the Bookstore Plaintiffs            Corporation Counsel
767 Third Avenue, Suite 3600                      Attorney for City Defendants
New York, New York 10017                          100 Church Street
(212) 319-5351                                    New York, New York 10007
                                                  (212) 356-2207


By:
       ERICA T. DUBNO, ESQ.




                                         6

                                JNR-001360                                            1881
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    The Dynamic Population of Manhattan




             Mitchell L. Moss and Carson Qing
   Rudin Center for Transportation Policy and Management
             Wagner School of Public Service
                     New York University


                           March, 2012




                         JNR-001361                                   1305
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Introduction

          We cannot understand Manhattan in the 21 st century by relying on conventional
measures of urban activity. Simply put, Manhattan consists of much more than its residential
population and daily workforce. This island, measuring just 22.96 square miles, serves
approximately 4 million people on a typical weekday, 2.9 million on a weekend day, and a
weekday night population of 2.05 million. Manhattan, with a residential population of 1.6 million
more than doubles its daytime population as a result of the complex network of tunnels, bridges,
railroad lines, subways, commuter rail, ferry systems, bicycle lanes, and pedestrian walkways
that link Manhattan to the surrounding counties, cities and towns.
          This transportation infrastructure, largely built during the twentieth century, is operated
by the City of New York, Metropolitan Transportation Authority, and Port Authority of New York
& New Jersey. The infrastructure network generates a constant flow of people who are
responsible for Manhattan's emergence as a world capital for finance, media, fashion, and the
arts.
          The residential population count does not include the 1.6 million commuters who enter
Manhattan every weekday, or the hundreds of thousands of visitors who use Manhattan's tourist
attractions, hospitals, universities, and nightclubs. This report analyzes the volume of people
flowing in and out of Manhattan during a 24-hour period; we provide an upper estimate of the
actual number of people in Manhattan during a typical work day.




Manhattan: A city of 4 million


    •     Manhattan's daytime population is approximately 3.94 million; the census-
          defined daytime population omits almost one-fourth of the total, or nearly
          800,000 people. The daytime population consists of approximately 1.61 million
         commuting workers, 1.46 million local residents, 404,000 out-of-town visitors,
         374,000 local day-trip visitors, 17,000 hospital patients, and 70,000 commuting
         students.

    •    52% of Manhattan's Census-defined daytime population consists of
         individuals who do not live in Manhattan and commute there for work.
         Every day, 1.63 million commuters enter Manhattan for work, while 132,000
         Manhattan residents commute elsewhere for work




                                                   1


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•     According to the US Census definition of "daytime population," there are
      approximately 3.1 million people in Manhattan during the work day, compared to
      a residential population of 1.6 million people at night.

•     The weekend daytime population of Manhattan is approximately 2.9 million
      people, with 565,000 commuting workers and 1.54 million local residents; the
      weekday night time population is at most 2.05 million, suggesting that there
      could be to up to 471,000 more people in Manhattan at night consisting of late
      night workers, "night-trip" visitors from the outer boroughs and suburbs, hospital
      patients, and overnight visitors, in addition to the 1.58 million local residents.

•     The total number of people in Manhattan can vary dramatically at different
      times of the day and week. Population estimates based on the US Census
      measure the residential population of each neighborhood, but the population
      density of key areas of Manhattan are substantially greater during the day with
      the inflows of commuters, and certain neighborhoods attract visitors at night in far
      excess of the residential population.

•     Peak population events, or "day-trip" events, draw in people from across the city
      and region could potentially push Manhattan's daytime population well above 4
      million, perhaps even 5 million, depending on the conditions and circumstances.

•     Manhattan has the greatest increase in population during the day among
      all U.S. counties or administrative equivalents (+1.49 million), and the
      highest ratio between day and night population (1.92), which suggests that there
      are nearly double as many people in Manhattan during the day than at night
      during a typical work day.

•     Queens, Brooklyn, and The Bronx, in that order, have the greatest decrease
      in population during the day of all U.S. counties; there are approximately
      366,000 fewer people in Queens during the day than at night.

•     Four out of every five Manhattan-bound commuters from the outer
      boroughs and suburbs travel to work by public transit each day: 50.1 % by
      subway, 17.1 % by rail, and 13.8% by bus. Recent trends in subway ridership
      indicate that the greatest increase in trips by time of day over the past decade
      occurred during late night hours, from 7 PM to 6 AM, and during weekends,
      highlighting that population flows into, out of, and within Manhattan are no
      longer occurring only at peak commuting hours.

•    Manhattan's capacity to accommodate high volumes of population flow allows it
     to serve as the transaction-maximizing place (Meier, 1968).




                                           2



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The Census-defined Daytime Population


        The U.S. Census Bureau's definition of "total population" is based on where people live;
planners traditionally analyze demographic data from the metropolitan level to the census block
level based on residential population. An understanding of the actual number of people in
Manhattan, or any other major commuting district, during the day is critical for planners,
developers and transportation agencies. Measuring the flow of people during daytime hours in
Manhattan and the actual day and night population of commuters, residents, visitors, and
                                                                              st
students is essential given the changing pattern of work and life in the 21        century. Admittedly,
the U.S. Census Bureau does provide a formula used to approximate its definition of daytime
population for large geographic areas:


                        (Number of workers - Workers living in the area)
                                                 +
                     (Total Population - Residents working outside the area)


The smallest census geographies that this formula can be applied to, based on the most recent
American Community Survey population and worker estimates, are counties and census-
designated places (CDPs). The census-defined daytime population does not include other key
segments of the population, such as commuting students and overnight and day-trip visitors to a
given geographic area. It only captures the change in daytime population due to commuting for
work.



Estimating the Actual Daytime Population

        Manhattan's population varies by type of day and night, and encompasses far more
people than those who simply live or work on this island, as the following table indicates.




                                                 3



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                 EEl{O        VS
             TQTJ'\t: 3,94 MILLION




                      1.46 million                   1.54 million
                       Local Residents               Lot.-il Re~id®nt1>




       By measuring the actual daytime population in Manhattan, it is clear that the Census-
defined daytime population ignores up to 25% of the actual population. The table below
provides a more detailed summary of each group of people included in these estimates:
commuting workers, local residents, out-of-town visitors, day-trip visitors, hospital patients, and
commuting students.




                                                 4



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    _:r'-Lt                             WEEKDAY DAYTIME POPULATION, 2010
    -i       t
     'vv·'r'-"'
                    Commuting      Local          Out-of-town   Day-trip          Hospital       Commuting
Estimate            workers        residents      visitors      Visitors          users          students           TOTAL
Upper               1.61 million   1.46 million   404,256       374,223           18,236         70,054          3.94 million

Census defined davtime population= 3.07 million. Based on upper estimate, that figure is an undercount of 940,000

     .s.f-"''"t,,
    37'i,,yj:('f                        WEEKEND DAYTIME POPULATION, 2010

                    Commuting      Local          Out-of-town   Day-trip          Hospital       Commuting
Estimate            workers        residents      visitors      Visitors          users          students        TOTAL
Upper               564,665        1.54 million   404,256       374,223           18,236         0               2.90 million

Census defined weekend daytime population = 2. 14 million. Based on uooer estimate, that figure is an undercount of 880,000



   ~                                           WEEKNIGHT POPULATION, 2010

                    Night-shift    Local          Out-of-town   "Night-trip"      Hospital       Commuting
Estimate            Commuters      residents      visitors      visitors          users          students        TOTAL
Upper               17,747         1.58 million   404,256       31,863            17,260         0               2.05 million
Census defined nighttime population = number of local residents, or 1. 62 million. Based on upper estimate, that figure is an
undercount of 550,000
Sources: US Census Bureau 2010 American Community Survey, NYC & Company, Audience Research & Analysis, US News and
World Report, New York University




              The figures above represent the upper estimates of day, weekend, and night populations
in Manhattan: recent Census data indicated that on any given day of the week, no more than
83% of workers actually commute to work. Flexible scheduling and telecommuting have made
the journey to work less rigid, as the percent of the labor force at work and commuting to work
have both declined nationwide during weekdays since 1996, according to the Census Bureau's
Survey of Income and Program Participation. Based on the proportion of American workers at
work and commuting to work for each day, the following table was generated to illustrate the
fluctuations in daytime population by day of the week, peaking on Wednesday with a total of
3.685 million.




                                                            5



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                                    Manhattan's Daytime Population by Day of the Week

Group                                   Sun.             Mon.                 Tue.              Wed.               Thu.               Fri.        Sat.
Commuters*                         219,050        1,321,118         1,338,155            1,339,683         1,332,436         1,297,815        322,172
Residents                       1,568,252         1,479,596         1,478,225            1,478,102         1,478,685         1,481,470       1,559,956
Visitors                           778,479           778,479           778,479              778,479           778,479           778,479       778,479
Other                                18,236            88,290            88,290               88,290           88,290            88,290        18,236
UPPER ESTIMATE                  2,584,000         3,667,000         3,683,000            3,685,000         3,678,000         3,646,000       2,679,000
     *Estimate of commuting workers is based on the percent of U.S. workers who travel to work by day of week, according to 2008 Survey of
     Income and Program Participation data.


     Sources: US Census Bureau 2005-09 American Community Survey, 2008 Survey of Income and Program Participation, NYC & Company,
     Audience Research & Analysis, US News and World Report, New York University




     Daytime Population Density

               An analysis of tract-to-tract worker flow data from the 2000 Census Transportation
     Planning Package indicates that census tracts in Midtown and Financial District (typically less
     than one-tenth of a square mile) have up to 70,000 commuters and residents in skyscrapers
     and office buildings during the day with a population density of up to 980,000 people per square
     mile (to achieve an equivalent level of density for all of Manhattan, the entire population of
     Texas would have to relocate to the boroughY, If visitors staying in hotels or touring nearby
     neighborhoods were included, the number of people per square mile could even exceed 1
     million in several of these tracts. While density has often been cited as one of the most
     distinctive features of Manhattan, the actual population density of the most active
     neighborhoods during the day could still be many times greater when factoring in the 2.5 million
     total Manhattan workers and other visitors to the city inhabiting the city's offices and hotels.
                The transformation of Manhattan's neighborhoods, such as Tribeca, Soho and West
     Chelsea, from manufacturing to residential uses has contributed to new levels of activity as
     bars, galleries, restaurants, and nightclubs have emerged in what were once industrial
     enclaves. The dispersion of a diverse range of activities across Manhattan has enabled it to
     attract up to 2.5 million non-residents each day.




                                                                          6



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Peak Population Events


        Manhattan also hosts special events and celebrations that attract millions of additional
people from across the city, region, and beyond. While the visitor counts from the figures above
(pp. 4-6) are upper estimates, they only represent average counts (see Methodology, p. 18) and
do not represent the peak number of visitors to Manhattan, which of course fluctuates greatly
over the course of a week or month. These high-volume "day-trip" events that draw in people
from across the city and region could potentially push Manhattan's daytime population well
above 4 million, perhaps even 5 million, depending on the conditions and circumstances.
       A recent example of this type of event was the New York Giants ticker-tape parade in
Lower Manhattan in February 2012: an estimated 1 million Giants fans from across the city and
region attended the event, with an estimated one-third of them coming in from outside the city
as entire families took the day off from work and school to celebrate the Giants 2012 Super
Bowl victory, according to city officials. If we were to assume that:
       1) One-third of Giants fans coming from outside the city do not work or attend school in
       Manhattan,
       2) Another one-third of Giant fans were neither Manhattan residents nor Manhattan
       workers,
       3) There was a normal Tuesday inflow of commuters and visitors to Manhattan and that
       none of these individuals attended the parade,
then the daytime population of Manhattan on February 7, 2012 was approximately 4.35 million,
much more than the 3.68 million that are usually in Manhattan on a regular Tuesday. Overall,
there was an overnight inflow of 2.3 million. What's more, the daytime population density figures
for census tracts along the Canyon of Heroes are among the highest in the nation with 700,000
to 1 million people per square mile, so Manhattan's multimodal network of subways, buses,
trains, ferries, and taxis was essential in accommodating huge numbers of people during one of
the busiest morning commutes of the week. Events such as these serve as reminders that
although the daytime population figures summarized above are considered "upper estimates,"
they are only upper estimates of a regular weekday, weeknight, or weekend in Manhattan, and
do not represent the absolute peak population and carrying capacity that Manhattan is capable
of temporarily sustaining. The table below summarizes recent peak population events and the
estimated daytime population of Manhattan using the same methodology listed above.


                                                  7



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                                  Recent Manhattan Peak Population Events

                                                                       Estimated        Estimated Daytime
Event                                  Date
                                                                       Attendance       Manhattan Population
2012 New York Giants parade            Tue., February 7, 2012          1 million        4.35 million

2011 New Year's Eve ball drop          Sat., December 31, 2011         1 million        3.35 million

2011 Macy's Thanksgiving parade        Thu.*, November 24, 2011        3.5 million      5.01 million

2009 New York Yankees parade           Fri., November 6, 2009          1.5 million      4.65 million

        *Event occurred on a holiday: treated as a Saturday instead.




        Manhattan as an Urban Activity District


               Manhattan's complex and extensive transportation network makes it possible for this
        island to overcome its geographic obstacles and to bring more than 1.5 million people to work
        every weekday. Population inflows in Manhattan far exceed those of other nearby counties, and
        as the chart below indicates, the volume of the daily inflow exceeds that of all four outer
        boroughs and the four additional inner-ring counties combined:




                                                         8



                                              JNR-001369                                                       1313
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                                          Weekday Commuting Flows
                                           by County/Borough, 2009
                                         -132,000
  Manhattan                                                                                              +1.63 million

     Queens
                    -614, 000   1;:,";;;>;;;;~;;;;;;;;;;1
                                                         ! 4M¥ffi%1. +249,ooo
                                                         1                 '
                      -529,000
    Brooklyn
                                                                   +232,000

     Nassau
                                                                +197,000

     Bergen


Westchester


     Hudson


       Bronx


Staten Island

            -1000                 -500                0                 500               1000   1500            2000
                                                              Number of Commuters

                                             El Population Outflow    III Population Inflow




    Source: 2005-09 American Community Survey, US Census Bureau



             Manhattan's net population increases by 1.49 million people during the weekday, while
    New York City's outer boroughs lose hundreds of thousands of residents who are commuting
    into the central business districts in Manhattan every morning. In contrast, the city's inner ring
    suburbs experience a more balanced inflow and outflow of commuters during the day. The
    charts below also illustrate the magnitude of these population inflows and outflows when
    compared to other regions in the nation. Manhattan has a net population inflow more than three
    times greater than that of Washington, D.C., the county with second highest net inflow (Figure 1,
    Appendix). The three greatest net population outflows by county in the entire U.S. are all among
    the city's outer boroughs, facilitated by an extensive mass transit network that serves millions of
    people per day (Figure 2).




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                                     Top 10 Work Day Population Increases by County, 2009
        Manhattan (pop. 1.62 mil}


  Washington D.C. (pop. 588,000}


    Atlanta (Fulton, pop. 987,000)


            Dallas (pop. 2.38 mil}


       Houston {Harris, 3.91 mil}


 Minneapolis {Hennepin, 1.14 mil}


   Boston {Suffolk, pop. 731,000)


    Chicago (Cook, pop 5.26 mil}


     Seattle (King, pop. 1.86 mil}


    San Francisco (pop. 797,000}


                                     0        200           400            600          800    1000    1200   1400         1600
                                                          Thousands of People Per Day
~ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,,,,,,,,,--------
         NOTE: Population figures on Y-axis represent residential population figures.
         Source: 2005-09 American Community Survey, US Census Bureau




                                    Top 10 Work Day Population Decreases by County, 2009
     Queens, NY (pop. 2.28 mil}


    Brooklyn, NY (pop. 2.54 mil)


       Bronx, NY {pop. 1.38 mil}


   Riverside, CA {pop. 2.04 mil}


      Denton, TX {pop. 612,000}

      Prince Georges, MD {pop.
              835,000}

   Fort Bend, TX {pop. 508,000}


Contra Costa, CA {pop. 1.02 mil}


      Suffolk, NY {pop. 1.51 mil)


          Will, IL {pop. 664,000}


                                    0        50             100            150          200    250     300     350         400
                                                                         Thousands of People Per Day
        NOTE: Population figures on Y-axis represent residential population figures.

        Source: 2005-09 American Community Survey, US Census Bureau




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           The ratio between day and night populations in Manhattan is also the highest in the
nation at 1.92; its population nearly doubles after sunrise (Figure 3). The map below also shows
that all but four other counties in the New York metropolitan area lose population during the day.
(The exceptions are Fairfield County in Connecticut and Essex, Morris, and Somerset counties
in New Jersey.)


                                         Day-Night Population Ratio by County, 2009

                                Orange


                                                        Rockland


                                                                            Westchester




                                Essex




                           Union




              Middlesex                                                                   Legend
                                                                                          Day-Night Population Ratio   17 1 on to 1 os
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                                                                                          [ 7 C 80 b0.93                       1."':0tc- ':.'.2:D

                                                                                          L.. .. ! {LSO to C.2E        -       Higha:fr:sn 1.ZO
                                          Monmouth                                        [:~_:J D.95to 1.03
 Source 2005~09 A.merican Community Survey Estimates. U.S. Census Bureau                     Prepared by: Carson Qing, NYU Rudin Center
 r-~OTE: Daytime Population defined as commuters+ day1irne residents




          The characteristics of Manhattan's population also change dramatically during the day,
as more than half of the daytime population consists of commuters. This is not unusual, as other
cities such as Washington, D.C. and Arlington, Virginia (home of the Pentagon, the largest office
building in the world) have a similar share of commuting workers among the population during
the day (Figure 4 ). However, the map below shows that Manhattan is the only part of the New



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York City region that has such characteristics, as inflowing commuting workers consist of less
than a quarter of the Census-defined daytime population in most other counties.



                                          Makeup of Daytime Population by County, 2009




   Sussex.-•




     Morris




                                                                                          Nassau   •




                                                                                                Legend



                                                                                      +         •
                                                                                                   Proportion of Daytime Population



                                                                                                   -COI.\UUTitJG V,!ORKtRS
                                                                                                   -l•CALRESIDEfiTS

    Source: 2005-09 American Community Sur,.;ey Estimates. U.S. Census Btu eau             Prepared by: Carson Oing t·JYU Rudin Center
    NOTE· Daytime Population define-d as commuters..- dayiirne residents


Source: 2005-09 American Community Survey, US Census Bureau




How Commuters Arrive in Manhattan

          Manhattan is able to accommodate an inflow of 1.6 million commuters per day from the
outer boroughs and suburbs because of the extensive transportation and mass transit network
that includes bridges, tunnels, subways, trains, buses, and ferries. According to New York
Metropolitan Transportation Council (NYMTC) estimates, Manhattan-bound subways carried
389,000 passengers during the peak hour of the morning commute (8:00 AM) on an average fall
work day into the Manhattan central business district; roughly 6,480 commuters entered the
Manhattan CBD per minute by subway during the peak commuting hour;;_ The chart below



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shows Census journey to work data on how the 1.6 million commuting workers who do not live
in Manhattan travel into the borough: 82% of Manhattan-bound commuters take public transit to
work, and 50% of inflowing commuters use the subway as their primary means of travel from
the city's outer boroughs, or from Newark, Jersey City, and Hoboken via PATH. In comparison,
commuting trips among Manhattan residents is more multimodal in nature, since the lengths of
commutes are more manageable, and residents also have better access to the city's extensive
taxi and limousine network. (About 58% of Manhattan residents travel to work regularly by mass
transit, as they are more likely to walk or bike to work given their shorter commute lengths.)
These figures demonstrate the vital role of commuter systems and mass transit - moving huge
numbers of people from the outer boroughs and counties into Manhattan each morning and out
of Manhattan each evening.


                                  How 1.6 Million Commuting
                                   Tfavel into Ma.nhattan




Source: 2005-09 American Community Survey, US Census Bureau
*NOTE: Assumes that all Manhattan residents travel to jobs in Manhattan




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Although rush hour subway trips still account for slightly less than half of its total weekday
ridership volume, recent data from the MTA indicates that ridership during off-peak hours,
particularly during late nights, is growing faster rush during hour. On weekends, the greatest
increase in ridership was between 7 PM and 6 AM, suggesting that the mass transit system is
serving far more than the traditional weekday journey to work.



                                        Increase in Subway Ridership
                                           by Time of Day, 2001-1 0

    0..
    :c 40% .
    (f)


    ~ 35%
    a:
    iti'30% ·
    ~
    _CJ

    J5 25%
    C
    ·; 20%
    (f)
    cu
    b 1s%
    C

    c 10% ··
    Q)
    0
    Q)     5%.
    0..

           0%
                   12AM-6AM            6AM-9AM          9AM-4PM         4PM-7PM     7PM-12AM   Total

                                              11J Weekday   mSaturday   m1 Sunday

Source: Metropolitan Transportation Authority (2011)



            One of every six commuting workers drives to work in Manhattan; the bridge and tunnel
connections are of vital importance in serving the inflow of 1.6 million people per day; each
crossing serves up to hundreds of thousands of vehicles daily. The George Washington Bridge
and the Lincoln Tunnel are among the busiest bridges and tunnels in the world; the chart below
compares the average daily traffic flow of major New York City bridges and tunnels to those in
other North American cities.




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                    Daily Traffic on Major Bridges & Tunnels, 2009
  George Washington Br (New York)

               San Francisco Bay Br

      Leonard Zakim Bridge (Boston)

American Legion Bridge (DC Beltway)

       Verrazano Bridge (New York)

      Queensboro Bridge (New York)

         14th St Br (Washington DC)

      RFK Triboro Bridge (New York)

        Champlain Bridge (Montreal)

         l-35W Bridge (Minneapolis)

 Tappan Zee Bridge (Tarrytown, NY)

         Brooklyn Bridge (New York)

        Walt Whitman Bridge (Phila,)

          Lincoln Tunnel (New York)

 Golden Gate Bridge (San Francisco)

    Benjamin Franklin Bridge (Phila.)

    I-70/Poplar SL Bridge (SL Louis)

   Jacques Cartier Bridge (Montreal)


                                        0          50,000             100,000             150,000   200,000   250,000   300,000
                                                                      Average Daily Number of Vehicles
   ---------------------·-··-···--·-------"''''"---------
        Sources: New York State and City Departments of Transportation and Bridge Authorities




                   During the past decade, the daily flows of vehicular traffic have declined for most of the
        major bridge and tunnel crossings into Manhattan, according to the New York City Department
       of Transportation. In fact, while Census data has indicated the number of Manhattan-bound
       commuters from Northern New Jersey grew by 21 % since 2002, average daily vehicular traffic
       flow for the Hudson River crossings actually declined over a period longer than five years for the
       first time since records were kept, starting in 1949. In contrast to the 5% decline in vehicular
       traffic, NJ Transit ridership has increased by about 24% during this same period, according to
       American Public Transportation Association ridership statistics. Additionally, PATH ridership
       reached an all-time high of 76.6 million commuter trips in 2011, according to Port Authority
       estimatesiii.




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                                   Average Daily Traffic Volumes
                          Total of 3 Manhattan P.A.N.Y.N.J. Facilities
            Thousands                         1948-2009 Growth Rate =2.0%
    600 - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




   100    +--------------------- ----------4


                                                                Year



Purple line represents the best-fit line based on average daily traffic volumes in both directions for the three Port Authority-
operated Hudson River crossings by year.
Source: New York City Department of Transportation 2009 Screenline Report (2010)




Manhattan as a Transaction-Maximizing Place


          A city is a means of maximizing social transactions, and population density "stimulates
transactions between individual actors," (Meier, 1968). The capacity of a city to generate a high
volume of transactions during short periods of time is an indicator of its power, influence, and
economic vitalit/v_ Amin and Thrift (2002) also identified the dense network of "light institutions"
as important components of sustaining the volume of transactional activities in central citiesv.
These light institutions include service providers, whether it be financial, professional,
administrative, transportation, information, etc., that are easily accessible for firms and clients.
Technology start-ups in Manhattan's Flatiron District, for example, are within walking distance or




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a short subway trip from the financial institutions and advertising and marketing firms that are
concentrated in Midtown.
        Another institution that serves to organize and incubate transactional activities in central
cities is, according to Amin and Thrift (2002), the meeting place. This includes restaurants,
hotels, convention centers, cultural institutions, and entertainment venues, and, like service
providers, the spatial distribution of these amenities across Manhattan is also characterized by
density and accessibility. These are hubs where millions of commuting workers, local residents,
and visitors interact with each other, during the day and at night, providing the city with an
energy generated from the exchange of ideas and knowledge through social interactions.
Manhattan's status as transaction-maximizing place is made possible by its remarkable carrying
capacity, its ability to sustain a daily inflow of millions of people who come to the city for a
variety of different purposes. These underpinning theories provide the basis for this study of the
volume and characteristics of the dynamic population of Manhattan.




Manhattan as a City of Diverse Flows


       Manhattan's daytime population is incredibly diverse, with 40% as commuting workers,
38% as local residents, and 20% as visitors, illustrating the mixture of primary uses that the city
provides. However, the weeknight population consists of not only the residential population of
1.58 million, but also an additional 550,000 people, who are primarily visitors to the city staying
in hotels or enjoying the city's nightlife amenities. The nighttime population is also becoming
increasingly mobile during late-night hours, as subway ridership data from the MTA has
revealed that late-night, off-peak travel has increased faster than that of any other time of day
over the past decade. In addition, weekend subway ridership has just reached its highest level
since 194ri.



The Challenge for Future Measures of Activity


       A handful of cities such as London, Tokyo, and Osaka have released detailed daytime
population data, but they are the exceptions to the norm: few cities take have released such
estimates to the public. As cities become centers of higher education and health care as well as
office and business hubs, we must develop new ways to measure the activities that occur with



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them. Clearly, the cities of the 21s century will not resemble those of the 19 and 20 century,
and it is essential to recognize the need for new methods to understand the vital functions and
number of people who rely on cities, even if they neither live nor work there.




Methodology

The method of developing these daytime population estimates required the following
assumptions, definitions, considerations, and conditions:


Commuters and Local Residents:


    1. Calculations of the upper estimate of daytime population assumed that all workers
       commute to work during a typical work day.
   2. Local residents do not leave Manhattan during the day except those who commute to
       jobs elsewhere.
   3. The Bureau of Labor Statistics' American Time Use Survey data revealed that 35% of
       Americans work at least one day on the weekend; this percentage was used to estimate
       the number of commuting workers during a typical weekend day.
   4. 2005-09 American Community Survey estimates from the U.S. Census Bureau revealed
       that 1.1 % of Manhattan workers arrived at work between 12:00 am and 5:00 am. These
       were classified as "night-shift" workers, and were used to estimate the number of
       commuting workers in the night population.
   5. The number of commuters and local residents per day of the week was developed
       based on the percent of Americans who responded that they commuted to work by a
       given of the day of the week (2008 Survey of Income and Program Participation).


Visitors:

The total number of visitors was the most challenging to estimate due to limited data and
information on their characteristics. Currently, NYC & Company estimates that in 2010, there
were 40.8 million tourists to Manhattan. However, this excludes day-trip visitors living within a
50-mile radius of Manhattan who do not stay overnight. Currently, there is no reliable or precise
measure of the number of day-trip visitors per year to New York City.
    1. Upper estimates were based on the number of NYC & Company-defined visitors during
       peak season, and the number of day-trip visitors.



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    2. According to NYC & Company definitions, all "tourists" are overnight visitors or day-trip
       visitors who do not live within a 50-mile radius of Manhattan. NYC & Company also
       estimates that international visitors stay 7.3 days, on average, in New York City, and that
       domestic visitors stay 2.7 days on average, amounting to 148 million total person-days in
       2010 among Manhattan visitors. That number was divided by 365 to determine the total
       number of NYC & Company-defined visitors per day in Manhattan, classified as "out-of-
       town visitors."
    3. The number of day-trip visitors was estimated to be 374,223, based on an Audience
       Research & Analysis study of New York City's $9 billion nightlife industry. Their study
       revealed that 77% of non-Manhattan resident nightlife attendees in 2004 were day-
       trippers from the outer boroughs and suburbs, and 23% were NYC & Company tourists
       from beyond the metropolitan region. Using this metric, the number of day-trip visitors
       was assumed to be, at most, 3.1 times greater than the number of NYC & Company-
       defined visitors.
   4. The proportion of day-trip visitors and out-of-towners among all Manhattan visitors is
       likely to fluctuate during the year. Also, different attractions draw different types of
       audiences. The Broadway League estimates that only 30% of its theatre attendees were
       day-trippers, while 70% were NYC & Company tourists. However, since this study aims
       to provide an upper estimate of Manhattan's daytime population, it will assume that up to
       77% of leisure visitors to Manhattan are day-trippers from within a 50-mile radius of
       Manhattan.
   5. The number of night-trip visitors was based on an estimate of the percent of non-
       Manhattan resident nightlife attendees who live in the outer boroughs and suburbs. For
       calculations of the upper estimate, the study assumed that night-trip visitors do not stay
       overnight, and thus are not counted as a NYC & Company-defined visitor.
   6. The number of visitors in Manhattan was assumed to be evenly distributed by day of the
       week, due to data limitations.



College Students, Hospital Patients, etc.:
This study also developed an upper estimate of the number of hospital patients in Manhattan
and college students, who attend classes in Manhattan universities, yet do not live in
Manhattan.




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1. It was assumed that each hospital bed can hold one person, and each outpatient
     procedure conducted at a hospital during the year was for an individual person.
2. At the upper estimate, all beds are filled to capacity and 75% of beds and outpatient
     procedures are for non-Manhattan residents
3. All individuals undergoing outpatient procedures leave the hospital and Manhattan
     during the night. The number of outpatient procedures is constant for all days during the
     year.
4. All individuals undergoing outpatient procedures or overnight stays at hospitals were
     assumed to be accompanied by one other individual.
5.   Commuter students are defined as those living in off-campus residences outside
     Manhattan.
6. The proportion of commuting students who do not live in Manhattan was assumed to be
     41 % at the upper estimate, based on the proportion of NYU students who were
     classified as "commuter students." These proportions were used to compute the number
     of commuter students among the 184,000 university students in all of Manhattan's major
     educational institutions.
7. Commuting workers who do not arrive at work during the "graveyard shift," day-trip
     visitors who are not nightlife attendees, commuting students, and non-Manhattan
     residents undergoing outpatient procedures during the day were assumed to be zero for
     night population estimates.
8.   Local residents, overnight visitors, and hospital patients were assumed to be at their
     residences, hotels, and hospitals during nighttime hours.




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Appendix: Additional Charts and Tables


FIGURE 1


                    Top 10 Daytime Population Increases by County
                                                                        Increase in
County or Administrative Equivalent                             Daytime Population
1. Manhattan, NY                                                         1,490,000

2. District of Columbia                                                    442,000

3. Fulton (Atlanta, GA)                                                    364,000

4. Dallas, TX                                                              327,000

5. Harris (Houston, TX)                                                    261,000

6. Hennepin (Minneapolis, MN)                                              221,000

7. Suffolk (Boston, MA)                                                    219,000

8. Cook (Chicago, IL)                                                      212,000

9. King (Seattle, WA)                                                      164,000

10. San Francisco, CA                                                      161,000
Source: 2005-09 American Community Survey, U.S. Census Bureau




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FIGURE 2


                     Top 10 Daytime Population Decreases by County

                                                                        Decrease in
County or Administrative Equivalent
                                                                 Daytime Population

1. Queens, NY                                                               366,000

2. Brooklyn, NY                                                             297,000

3. Bronx, NY                                                                162,000

4. Riverside, CA                                                            132,000

5. Denton, TX (Dallas)                                                      123,000

6. Prince Georges, MD (Washington)                                          109,000

7. Fort Bend, TX (Houston)                                                  108,000

8. Contra Costa, CA (San Francisco)                                          96,000

9. Suffolk, NY                                                               93,000

10. Will, IL (Chicago)                                                       91,000

Source: 2005-09 American Community Survey, U.S. Census Bureau




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FIGURE 3


~----------------------·----······--------------------,

                                    Top 10 Counties with Highest Day-Night Population Ratio, 2009

       Manhattan (pop. 1.62 mil)


 Washington, DC (pop. 588,000)

   Atlanta (Fulton, pop. 987,000)

    St. Louis city (pop. 355,000)

  Boston (Suffolk, pop. 731,000)

     Denver, CO (pop. 582,000)

      Albany, NY (pop. 298,000)

     Christian, KY (pop. 80,000)

    Arlington, VA (pop. 206,000)

   San Francisco (pop. 797,000)


                                0.00     0.20    0.40   0.60    0.80    1.00    1.20   1.40   1.60   1.80   2.00
                                                             Thousands of People Per Day



NOTE: Population figures on Y-axis represent residential population.
Source: 2005-09 American Community Survey, U.S. Census Bureau




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FIGURE 4




                  Highest Shares of Commuters in Daytime Population by County, 2009

   Arlington, VA (day pop. 251,000)


       Manhattan (day pop. 3.12 mil)


Washington, DC (day pop. 1.03 mil)


  Broomfield, CO (day pop. 55,000)


   St. Louis city (day pop. 463,000)


  Atlanta (Fulton, day pop. 1.35 mil)


    Denver, CO (day pop. 738,000)


 Boston (Suffolk, day pop. 949,000)


       Boone, KY (day pop. 126,000)


   Howard, MD (day pop. 274,000)


                                       0%   10%    20%     30%         40%   50%      60%      70%       80%    90%   100%
                                                               Thousands of People Per Day


NOTE: Population figures on Y-axis represent Census-defined daytime population.

Source: 2005-09 American Community Survey, U.S. Census Bureau




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                                                            Secondary Effects          1


Running Head: SECONDARY EFFECTS




MEASURING THE SECONDARY EFFECTS OF 60/40 BUSINESSES IN NEW YORK CITY:
            A STUDY OF CALLS FOR SERVICE TO THE POLICE




                                   April 14, 2005


                                        By




                                  )aniel Linz, Ph.D.
                                   and Society, and Communication
                                  f California at Santa Barbara
                                  nent of Communication
                                   1 Barbara, CA 93106
                                   z@comm.ucsb.edu

                                        and

                                 Bryant Paul, Ph.D.
                     Assistant professor of Telecommunications
                                 Indiana University
                        Department of Telecommunications
                               Bloomington, IN 47405
                                bmpaul@indiana.edu




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                                                                          Secondary Effects              2




MEASURING THE SECONDARY EFFECTS OF 60/40 BUSINESSES IN NEW YORK CITY: A
              STUDY OF CALLS FOR SERVICE TO THE POLICE

                                       Introduction and Summary

        In order to test the assumption that New York City may regulate so called "60/40" businesses

because they are associated with negative secondary effects, an extensive and detailed empirical study of

criminal activity and disorder surrounding these businesses in Manhattan was undertaken utilizing raw

data provided by the New York City Police Department (NYPD).

       The "60/40" adult business configuration came about as a result of the 1995 amendments to the

New York City Zoning Resolution ("1995 Amendments") which defined an "adult establishment" as

any of several different types of businesses which "regularly featured" "adult" entertainment in a

"substantial portion" of the premises. When the "substantial portion" element of the statutory definition

was challenged as unconstitutionally "vague," the City of New York authoritatively clarified the term to

mean "forty percent or more" of the "customer accessible floor area" used for "adult" entertainment.

       The court challenges to the 1995 Amendments were concluded and the statue began to be

enforced in mid-1998. Many of the then-existing (and subsequently some new) businesses configured

their premises so as to limit the areas devoted to "adult" entertainment to less than forty percent (<40%)

of the relevant floor area in order to avoid being classified as an "adult establishment" subject to the new

zoning rules. These business became known as "60/40" businesses, meaning that they were conforming

to the new zoning by devoting <40% of their floor space to "adult" business. This form of business had

never previously existed in New York.

       After the New York courts upheld these businesses' contention that they were not "adult

establishments" under the 1995 Amendments, the City of New York enacted a new round of




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                                                                          Secondary Effects                 3


amendments to the Zoning Resolution in 2001 ("2001 Amendments") which, among other things,

eliminated the "substantial portion" test for "adult eating or drinking establishments" (one of the types

of businesses included in the definition of "adult establishment").

        The City of New York justified the 2001 Amendments as necessary to eliminate or minimize

"adverse secondary effects" attributable to those businesses which were not "adult establishments"

under the 1995 Amendments because of the "60/40" rule (i.e., because they devoted <40% of their floor

space to "adult" activities as defined in the 1995 Amendments). The 2001 Amendments also eliminated

the "substantial portion" test from the definition of "adult establishment" as applied to theaters and

conditioned, but did not eliminate, the test as it applies to bookstores, video stores. We did not study the

"secondary effects" of these types of businesses. However, the City did not undertake any study of the

second effects attributable to this new form of business, which had not existed in 1994-1995 (when the

1995 Amendments were considered and enacted) and had not been the subject of study in any other

jurisdiction.

        Three hypothesis concerning secondary effects are tested in this study using calls for service to

the New York City Police within local neighborhoods defined by census blocks. If secondary effects are

associated with 60/40 eating or drinking establishments in New York City we would expect the

following: 1) The presence of "60/40" eating or drinking establishments in New York will be associated

with a higher number of crime incidents reported in localized areas surrounding these businesses

compared to the number of crime incidents reported in comparable localized areas that do not contain

these businesses; 2) Such businesses will rank among the "hotspots" of crime and disorder in the

community in which they are located; and 3) Changes in the presence or absence of these businesses in

the community will be associated with increases and decreases in crime. When a business ceases

operation crime events should subside; when such a business opens crime events should increase.




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                                                                         Secondary Effects              4


       To test these hypotheses we first conducted a hierarchical regression analyses wherein the blocks

with 60/40 businesses are compared to surrounding blocks that do not contain such businesses while

statistically controlling for other neighborhood demographic features related to crime. We then

undertook a "hotspot" analysis within the neighborhood where the 60/40 business was located. This

focused analysis by specific address allows us to determine if the 60/40 businesses have required special

attention from the police or if other addresses in the immediate neighborhood are more often the source

of police attention. Finally, we undertook a before-after analysis wherein we examined crime one year

before and one year after 60/40 business openings and closings. We compared the crime change or lack

thereof before and after the openings and closings.

       The regression analyses showed that variables traditionally found to be related to crime by other

criminologists were related to the number of calls to the police. The variable measuring the proximity of

the 60/40 establishments added no significant explanatory power. The "hotspot" analysis showed that

that the 60/40 businesses are a very insignificant source crime of crime events within their neighborhood

in New York City. The 60/40 business addresses rarely rise to the level of even ten-percent of crime

events in the neighborhood. Several of these businesses cannot be ranked because there are zero crime

events at their address. The vast majority of the businesses had very few crime incidents, no matter

what the crime category, relative to the rest of the neighborhood. The before-after analyses revealed that

changes in the presence or absence of these businesses in the community were not associated with

increases and decreases in crime.

       These findings, at a minimum, cast substantial doubt on the City's theory that 60/40 businesses

or the nature of their entertainment is significantly associated with crime events in a neighborhood.




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                                                                                     Secondary Effects                     5




           MEASURING THE SECONDARY EFFECTS OF 60/40 BUSINESSES IN NEW YORK
               CITY: A STUDY OF CALLS FOR SERVICE TO THE POLICE

                              THE SUPREME COURT AND THE ASSUMPTION
                                OF NEGATIVE SECONDARY EFFECTS OF
                                        ADULT BUSINESSES

         Since 1976, the United States Supreme Court has decided a series of cases focusing on whether

the Free Speech clause of the First Amendment allows cities and states to enact legislation controlling

the location of "sexually oriented" businesses (See e.g., Young v. American Mini Theatres, Inc., 427 U.S.
                                                                       1
50 (1976); City of Renton v Playtime Theatres Inc., 475 U.S. 41 (1986). "Zoning" regulations, laws or

ordinances that prevent a sex-related business from operating within certain defined areas and/or within

a certain number of feet of so-called "sensitive" locations (e.g., residential neighborhoods, schools,

houses of worship and/or other "adult establishments") have been predicated on the notion that

municipalities have a substantial interest in combating so-called "negative secondary effects" on the

neighborhoods surrounding exotic dance businesses. These secondary effects are generally said to

include alleged increases in crime, decreases in property values, and other indicators of neighborhood

deterioration in the area surrounding the adult establishment. Typically, communities have either

conducted their own investigations of possible secondary effects or have relied on studies conducted by

other cities or localities.

        The rationale for the secondary effects doctrine was most completely laid out in Renton v.

Playtime Theatres, Inc., in 1986. In Renton, the Supreme Court considered the validity of a Renton

municipal ordinance that prohibited any "x-rated" theater from locating within 1,000 feet of any

residential zone, family dwelling, church, park or school. The Court's analysis of the ordinance

proceeded in three steps. First, the Court found that the Renton ordinance did not ban such theaters

1
 The terms "adult" and "sexually oriented" business are often used interchangeably. However, in this paper, we limit the
use of the term "adult" due to the definitional issues under the New York City Zoning Resolution.




                                                 JNR-001390                                                                    1335
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                                                                          Secondary Effects              6


altogether, but merely required that they be a certain distance from sensitive locations. The ordinance,

the Court said, was properly considered to be a "time, place and manner" regulation. The Court next

considered whether the ordinance was "content-neutral" or "content-based." If the regulation were

content-based, it would be considered presumptively invalid and subject to the "strict scrutiny" standard

of judicial review. The Court held, however, that the ordinance was not aimed at the content of the films

shown at such theaters, but rather at the secondary effects of such theaters on the surrounding

community, namely at crime rates, property values, and the quality of the city's neighborhoods. Given

this finding, the Court stated that the ordinance would be upheld so long as the city of Renton showed

that its ordinance was designed to serve a substantial government interest such as a reducing crime rates

or maintaining property values.

       Most recently (2002), a plurality of the Supreme Court (Justice O'Connor joined by the Chief

Justice, Justice Scalia and Justice Thomas) added an important methodological caveat concerning the

evidence necessary to validate the assumption that sexually-oriented businesses cause secondary effects.

The Court warned in City of Los Angeles v. Alameda Books., et al. that:

               This is not to say that a municipality can get away with shoddy data or
               reasoning. The municipality's evidence must fairly support its rationale
               for its ordinance. If plaintiffs fail to cast direct doubt on this rationale,
               either by demonstrating that the municipality's evidence does not support
               its rationale or by furnishing evidence that disputes the municipality's
               factual findings, the municipality meets the Renton standard. If plaintiffs
               succeed in casting doubt on a municipality's rationale in either manner,
               the burden shifts back to the municipality to supplement the record with
               evidence renewing support for a theory that justifies its ordinance.

       Given the conclusions of the other Justices in Alameda Books that special zoning of sexually

oriented establishments is either "content-based" (Justice Kennedy) or "content-correlative" (Justices

Souter, Steven, Breyer and Ginsburg), and the standards ofreview articulated by them - - in each case

imposing a higher burden on municipalities seeking to regulate sexually oriented establishments as such




                                          JNR-001391                                                         1336
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                                                                                        Secondary Effects                    7


                                                                             the "no shoddy data or reasoning"
- - there is no doubt that the entire Court presently agrees with

standard of Justice O'Con nor's plurality opinion.
                                                                                   Reasoning
Methodological Problems With Past Studies - Shoddy Data and/or
                                                                                         sexually oriented
         Past studies claim to have found "crim e" in the area surrounding
                                                                                   but lack the essential
establishments and attributable to their presence in the community,
                                                                                 Paul, Linz and Shafer (2001 )2 found
methodological features necessary to validly make such a claim.
                                                                               communities across the United States.
numerous problems among the most frequently cited studies by
                                                                                  rly match study and control areas on
For example, the Indianapolis Indiana study (1986) failed to prope
                                                                                 collected for only a one-year period;
variables; the Phoenix Arizona study (1979) relied on crime data
                                                                                   stepped up surveillance of sexually
and the Los Angeles study ( 1977) authors admitted that the police
                                                                                 dological problems severely limits
 oriented businesses during the study period. Each of these metho

 the utility of these studies.
                                                                                            era "adult" businesses in
          The New York Studies. Studies of secondary effects ofpre- 60/40
                                                                             been conducted in New York City.
 New York City are even more problematic. Two studies have
                                                                              exist for these businesses, yet they have
 These studies do not conclude that negative secondary effects

 often been cited as evidence for such effects.
                                                                                        D) study conducted by the
          The 1994 Times Square Business Improvement District (TSBI
                                                                               ble data on property values and
 consulting firm Insight Associates combined analysis of availa
                                                                                of the area to attempt to show
 incidence of crime with a demographic and commercial profile
                                                                                    nts and negative impacts on
 relationships between the concentration of "adult-use" establishme


                                                                    ion of adult businesses through zoning and anti-nudity
  2
   Paul, B., Linz, D. & Shafer, B.J. (2001). Govern ment regulat
                                                                  effects. Commu nicatio n Law and Policy. 6. 2, 355-391.
  ordinances: Debunking the legal myth of negative secondary
                                                                       d papers" of 2000-01 by the International Communication
  ("Paul I"). This study was noted as one of the "top three referee
                                                                          e Court in Alameda Books in an amicus brief filed by
  Association and was expressly called to the attention of the Suprem
                                                                      pointedly referred to by Justice Souter in two footnotes to
  the First Amend ment Lawyers Association (which, in turn, was
                                                                     t for the "no shoddy data or reasoning" rule articulated by
  his dissenting opinion), and is generally regarde d as the catalys
  the plurality.




                                                  JNR-001392                                                                        1337
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                                                                           Secondary Effects               8


businesses and community life. The Times Square Business Improvement District also collected data

for property values for the 1985/86 and 1993/94 years. There was a vast array of businesses that

may be considered "adult" in this study (but none of the 60 / 40 ilk, which did not then exist).

These included video and bookstores, motels, massage parlors, sex clubs, topless and bottomless

or nude bars (not all of which serve alcohol), and peep shows.

       Anecdotal evidence from property owners, businesses, community residents and others

regarding public perceptions of the impact of sexually oriented businesses on their neighborhoods

suggested there were problems. They complained of the increase of such establishments on Eighth

A venue. Some data from before the then-recent increase in sexually oriented businesses was

unobtainable, and the study thus could not show if there had been an increase in actual complaints

corresponding to the proliferation of pre-60/40 "adult establishments".

       Methodologically speaking, the New York Times Square Business Improvement District Study

failed to properly match control and test (adult) areas in order to insure reliable comparisons between

the two for either crime rates or property values. In order to insure that accurate and fair comparisons

are being considered, a control or comparison area must be selected that is truly "equivalent" to the

area(s) containing the sexually oriented business(es). This lack of methodological reliability prevents

the reader from drawing reliable conclusions.

       Perhaps because of these methodological deficits, the study authors Insight Associates

themselves concluded:

                       ... while it may be that the concentration of adult use
               establishments has a generally depressive effect on adjacent
               properties ... we do not have sufficient data to prove or disprove this thesis.
               [Emphasis added.]




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                                                                          Secondary Effects              9


       This conclusion by Insight Associates was expressly quoted at page 41 of the "Adult

Entertainment Study" also conducted in 1994, by the NYC Department of City Planning ("DCP

Study," which we discuss below).


       In the section entitled: "General Crime Statistics," the conclusions oflnsight Associates were:


               One cannot assert that there is a direct correlation between these statistics
               and the concentration of adult use establishments on 42nd Street between
               Seventh and Eighth Avenue[s], or along Eighth Avenue between 45th and
               48th Streets. But there is very definitely a pointed difference in the
               number of crime complaints between these study blocks and their controls.
               [TSBID Study, pg. 32.]


       What can be fairly said about the TSBID Study? The authors of this study admit in their own

summary of property value and crime activity analyses that they could find no adverse secondary

effects for sexually oriented businesses.

       An additional study was performed in 1994 was the DCP Study by New York City's

Department of City Planning ("DCP"). The DCP reviewed studies and ordinances from other

localities and studied the industry as it existed in New York City-among other things, meeting with

members of the sexually oriented business industry. The DCP reviewed accounts of secondary effects

from sources as diverse as the City Planning Commission, the Office of Midtown Enforcement, the

Chelsea Business Survey, the Task Force on the Regulation of Sex Related Businesses, the Times

Square Business Improvement District Study, and a number of newspaper reports and correspondence

from citizens. DCP examined signage and neighborhood conditions in six study areas containing

sexually oriented businesses, also surveying local organizations, businesses, police officers, real estate

brokers, and sanitation department officials in each of the six areas. It also comparatively analyzed




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                                                                          Secondary Effects               10


criminal complaints and assessed property values in the study areas and in control areas without

sexually oriented businesses.

       It found that between 1984 and 1993 the number of sexually oriented businesses in New York

City increased from 131 to 177. The DCP found that sexually oriented businesses tend to cluster,

especially in central areas and along major vehicular routes connecting central business districts with

outlying city areas and suburbs. However, crime report statistics in New York City did not show

higher crime rates in areas with sexually oriented businesses than in areas without them, but property

values in proximity to sex businesses grew at an appreciably slower rate than in areas away from such

businesses. The DCP found widespread fear of sexually oriented businesses' secondary effects on the

part of the citizenry, and also found that survey respondents indicating that their businesses or

neighborhoods had not suffered adverse secondary effects tended to be the ones living in areas with

isolated sex businesses. Real estate brokers overwhelmingly reported that sexually oriented businesses

would have negative effects on surrounding property values.

       The DCP Study authors admit: "Crime report statistics in New York City did not show higher

crime rates in areas with sexually oriented businesses than in areas without them ... " (Emphasis

added.) Regarding crime the study reports:

                The community liaison or beat officer was interviewed for each of the
               six study areas. When the survey and control block fronts were
               compared for criminal complaints and allegations, the officers
               generally did not link higher incidents with adult uses. Three officers
               believed that criminal allegations are higher on the survey block
               fronts compared to the control block fronts but, in two of these cases,
               they attributed the higher incidence of allegations to uses unrelated to
               the adult use. In a single instance, an officer replied that the adult
               entertainment establishment located in the study area has some effect
               on crime, and then "only rarely." Four of the six officers thoughtthe
               adult uses have no effect on crime. One officer stated that if more
               adult entertainment establishments were to locate in the study area,
               crime probably would increase. However, that officer and another
               responded that more bars, movies or theaters, or video/bookstores of




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              any kind would effectively increase crime in the study area. [DCP
              Study, pg.53.]

       The Police Department provided the Department of City Planning with information about

criminal complaints drawn from precinct files [DCP Study, pg 55]. Once these data had been analyzed

the Study authors concluded:

              In summary, it was not possible to draw definitive conclusions from the
              analysis of criminal complaints. Land uses other than adult entertainment
              establishments, e.g., subway station access, appear to have a far stronger
              relationship to criminal complaints. It was not possible to isolate the
              impact of adult uses relative to criminal complaints. [DCP Study, pg 57.]

       The Department of City Planning Study reached the following conclusion:

              The analysis of trends in assessed valuation relative to adult
              entertainment was inconclusive. It would appear that if adult
              entertainment uses have negative impacts, they are overwhelmed by
              other forces that increased property values, at least as measured by
              assessed values. Even at the small scale of the survey block front,
              there is a wide diversity in the assessed value trends ranging from an
              increase of more than 18 percent to an increase of more than 200
              percent over the period of analysis, strongly suggesting the
              importance of other factors. The influences on assessed value that the
              city's assessors take into account are numerous and include the sale
              prices of similar comparable properties adjusted for differences in
              size, age, and location. While the total assessed values on the survey
              block fronts may be influenced to some extent by the presence of
              adult entertainment uses, demonstrating such effects is very difficult.
              [DCP Study, pg 57.]

              Therefore, it is reasonable to conclude that the Department of City Planning Study

       finds no direct evidence of the adverse secondary effect of decreased property values

       caused by Adult Uses. The same may be said of crime effects. The City drew the following

       findings and conclusions:

              The analysis of criminal complaint data and property assessed
              valuation data was less conclusive than the surveys. Regarding
              criminal complaints, it appears that land uses other than adult
              entertainment establishments, e.g. subway station access, have a far




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                 stronger relationship to criminal complaints. It was not possible to
                 isolate the impacts of adult uses relative to criminal complaints. ***

                Comparisons of percentage changes in assessed valuations between
                1986 to 1992 [sic] for the study areas, survey and control block fronts,
                community district, and borough, did not reveal any significant
                relationship. It would appear that the negative impacts of adult
                entertainment uses on property values that were found in other
                studies were overwhelmed by forces that increased property values
                overall, at least as measured by assessed values. ***

                In some cases, particularly in study areas with only one adult
                entertainment establishment, the DCP survey did not yield
                conclusive evidence of a direct relationship between the adult use
                and the urban ills affecting the community. *** [DCP Study, pg 65.].

        In summary, what can fairly be said about the New York City Department of City Planning is

that it found no empirical evidence of adverse secondary effects of Adult Uses.

Recent Empirical Studies in Other Cities Also Show No Adverse Secondary Effects of Adult Cabarets

        Recently, we have conducted independent, reliable studies using census data and modem

analytical techniques to examine whether sexually oriented business facilities engender negative

secondary effects. Unlike many of the previous studies these studies do not suffer from the basic

methodological flaws we enumerate in Paul I.

        The first of these studies is an examination of adult cabarets in the City of Ft. Wayne, Indiana,
                                                                                       3
which serve alcoholic beverages and provide exotic entertainment (Paul and Linz, 2002). This study

was noted as one of the "top four refereed papers" of 2002-03 by the International Communication

Association and also recently received the "Top Student Paper" award from the United States

Department of Justice and thus has been vetted for its methodological soundness. Unlike previous

studies, conducted in other municipalities, specific attention was given to developing an empirical

approach that fulfilled the requirements set out by the Supreme Court for the proper conduct of a social
3
  Paul, B. & Linz, D. (2002). Testing Assumptions Made by the Supreme Court Concerning the Negative Secondary Effects
of Adult Businesses: A Quasi-Experimental Approach to a First Amendment Issue. (Paul II). This paper was presented at
the 2002 International Communication Association, Acapulco, Mexico.




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scientific inquiry. A 1000 feet circumference surrounding each of eight exotic dance nightclubs in Fort

Wayne was established. Comparison areas were selected in the city of Fort Wayne and matched to the

club areas on the basis of demographic features associated with crime and commercial property

composition. The number of calls to the police from 1997-2000 in the areas surrounding the exotic

dance nightclubs was compared to the number of calls found in the matched comparison areas.

        The analysis showed little difference, overall, between the total number of calls to the police

reported in the areas containing the exotic dance nightclubs and the total number of offenses reported in

the comparison areas. We concluded there was little evidence of adverse secondary effects in the form

of crime incidents in the City of Fort Wayne.

        More recently, we conducted a study that sought to determine if a relationship exists between

"adult" erotic dance clubs in Charlotte, North Carolina and negative secondary effects in the form of

increased numbers of crimes reported in the areas surrounding the adult businesses (Linz, Land,
                              4
Williams, Paul & Ezell, 2004). This study was conducted jointly by researchers at the University of

California at Santa Barbara and Duke University and is the only peer-reviewed published study of the

secondary effects of adult businesses. For each of 20 businesses, a control site (matched on the basis of

demographic characteristics related to crime risk) is compared for crime events over the period of three

years (1998-2000) using data on crime incidents reported to the police. We find that the presence of an

"adult nightclub" does not increase the number of crime incidents reported in localized areas

surrounding the club (defined by circular areas with 500 and 1,000 feet radii) as compared to the number

of crime incidents reported in comparable localized areas that do not contain such a sexually oriented

business. Indeed, the analyses imply the opposite, namely, that the nearby areas surrounding the



4
 Linz, D., Land, K., Williams, J. Paul, B. & Ezell, M. (2004). An Examination of the Assumption that Adult businesses are
Associated with Crime in Surrounding Areas: A Secondary Effects Study in Charlotte, North Carolina. Law and Society
Review, Volume 38, Number 1, pp 69-104.




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sexually oriented business sites have smaller numbers of reported crime incidents than do corresponding

areas surrounding the three control sites studied.

         We have also examined whether rates of crime are associated with the presence of "adult
                                                                                             5
cabarets" in the 67 counties of Florida once other variables related to crime are controlled. Three types
                                                                                                            6
of crime were examined in this study: UCR property crimes, UCR violent crimes, and rape. A measure

was also constructed for the numbers of non-sexually oriented adult businesses: bars, gambling

establishments, and hotels and motels. These two measures, along with measures of social

disorganization and demographic variables, were examined for their relative ability to predict the three

rates of crime. One set of regression analyses used measures of sexually oriented businesses, both nude

and partially-nude, based on absolute numbers. In subsequent analyses these measures were based on

rates per 100K population or on spatial densities. Across all three analyses, measures of nude or semi-

nude businesses were consistently unrelated to crime rates when other variables were taken into account.

By contrast, measures of non-sexually oriented adult businesses showed strong relationships with

property crimes and moderate relationships with violent crimes. These results are consistent with

previous research using different methodologies and they support the predictions of routine activity

theory. However, they cast doubt upon the validity of the doctrine of the adverse secondary effects of

businesses offering nude or semi-nude entertainment.




5
  Fisher, R., Linz, D., Benton, C., & Paul, B. Examining the Link Between Sexual Entertainment and Crime: The Presence
of Adult Businesses and the Prediction of Crime Rates in Florida. Drs. Fisher is a member of the Department of
Psychology of the University of Central Florida. One version of this paper was presented to the Communication Law and
Policy Division at the 2004 annual meeting of the International Communication Association: New Orleans, LA and another
version was presented to the 2004 annual meeting of the Southeastern Psychological Association in Atlanta, GA. Another
version of this paper entitled: "Nude entertainment and rates of crime: An analysis by counties" by Randy D. Fisher,
Charles Benton, and Jeanne L. Weaver of was presented at the 50 th annual meeting of the Southeastern Psychological
Association, Atlanta, GA, March 11, 2004. This version of the paper received an "Outstanding Professional Paper Award"
from the Southern Psychological Association. Currently, the latest version of this paper is under review at the scientific
peer-reviewed journal Law and Human Behavior.
6
  UCR refers to Uniform Crime Reports to the Federal Bureau oflnvestigation.




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       Finally, Linz and Mike Yao, of the Department of Communication of the University of

California at Santa Barbara, have recently undertaken an investigation of crime rates (and contributing

factors to the crime rates) in and around four major Ohio cities--Cleveland, Dayton, Toledo and

Columbus. This study showed a lack of correlation between the presence of liquor-serving

establishments featuring nude or partially nude dancing and crime. Hierarchical regression analysis in

Toledo revealed that the presence or absence of "adult cabarets" in a given neighborhood did nothing

to explain the presence of crime in that same neighborhood. Similarly, in Columbus, the addition of

alcohol serving "adult cabarets" as a factor in our analysis resulted in approximately zero explanatory

power. The work in Dayton revealed a negative correlation between "adult cabarets" and incidents of

rape, such that the presence of an alcohol-serving adult entertainment establishment is actually

indicative of less rather than more rape events. Finally, in Cleveland, we found that the addition of

alcohol serving "adult cabarets" as a factor in his analysis also added "no ability to explain crime

incidents. We suggest that the negative correlation between "adult establishments" and violent crime

might be explained by the fact that in alcohol serving establishments that do not feature sexually

oriented entertainment, people fight with one another particularly men over women. None of that exists

in an "adult" entertainment venue._This study has been introduced as testimony in United States

District Court for the Northern District of Ohio, Eastern Division in the case: J.L. Spoons, Inc., et al.,

v. Kenneth Morckel, et al. 314 F Supp. 2nd 746, ND Ohio, April 1, 2004. In this case the court noted:

                       Dr. Linz's study shows a lack of correlation between the presence
               of liquor-serving establishments featuring nude or semi-nude dancing
               and the types of crime the State seeks to reduce. (See Transcript of
               March 12 Hearing, at 25-56). In Toledo, Dr. Linz's hierarchical
               regression analysis revealed that the presence or absence of adult
               cabarets in a given neighborhood did approximately nothing to explain
               the presence of crime in that same neighborhood. Transcript of March 12
               Hearing at 39, 45-46. Similarly, in Columbus, the addition of "alcohol-
               serving adult cabarets" as a factor in Dr. Linz's analysis resulted in
               approximately "zero explanatory power." Transcript of March 12




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               Hearing at 46. In Dayton, Dr. Linz's work revealed a negative
               correlation between adult cabarets and incidents of rape, such that "the
               presence of [an alcohol-serving adult entertainment] establishment is
               actually indicative of less rather than more rape events." Transcript of
               March 12 Hearing at 52. Finally, in Cleveland, Dr. Linz found that the
               addition of "alcohol-serving adult cabarets" as a factor in his analysis
               also added "no ability to [explain] crime incidents." Transcript of March
               12 Hearing at 54. The Court is uncertain to what extent the Supreme
               Court would advocate that we simply approve the State's reliance on
               "propositions ... well established in common experience and ... zoning
               policies that we have already examined," Alameda Books, 535 U.S. at
               453, and ignore the implications of more persuasive, if counterintuitive,
               evidence like Dr. Linz' s study. Clearer guidance in this area would
               greatly aid the Court in determining whether the club owners have
               established a strong likelihood of success on a claim that no restriction
               on nudity could possibly further the State's interest in reducing
               secondary effects.


The Present Study

       The purpose of the present study is to conduct the type of empirical study in New York City

designed to avoid the collection of "shoddy data" and the use of (shoddy) "reasoning" as demanded in

Alameda Books, in order to determine if a relationship exists between (a) eating and drinking

establishments that feature adult entertainment in less than forty percent (40%) of the customer

accessible floor area (referred to as "60/40" businesses) and (b) negative secondary effects. Further, this

evidence is obtained in accordance with established methodological procedures so as to insure a high

level of scientific reliability and admissibility in a Federal court.

        Hypotheses to be tested. Three hypotheses concerning secondary effects are tested in this study,

using calls for service to the New York City Police within local neighborhoods defined by census

blocks. If secondary effects are associated with 60/40 eating or drinking establishments in New York

City, we would expect the following: 1) The presence of"60/40" eating or drinking establishments in

New York City will be associated with a higher number of crime incidents reported in localized areas

surrounding these businesses compared to the number of crime incidents reported in comparable




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localized areas that do not contain these businesses; 2) Such businesses will rank among the "hotspots"

of crime and disorder in the community in which they located; and 3) Changes in the presence or

absence of these businesses in the community will be associated with increases and decreases in crime.

When a sexually oriented business ceases operation, crime events should subside; when such a business

opens, crime events should increase.

       Analysis strategy. To test these hypotheses we first conduct regression analyses wherein the

blocks with 60/40 clubs are compared to surrounding blocks that do not contain such businesses, while

statistically controlling for demographic features of the blocks that are known to be related to crime.

The methodological approach taken here also involves two additional analyses. We undertake a

"hotspot" analysis within the neighborhood where the sexually oriented 60/40 business is located. This

focused analysis, by specific address, allows us to determine if such businesses have required special

attention from the police or if other addresses in the immediate neighborhood are more often the source

of police attention than similar locations on comparable blocks. Finally, we undertake a before-after

analysis wherein we examined crime one year before and one year after sexually oriented 60/40 business

openings and closings. We compare the crime change or lack thereof before and after the openings and

closings.

                                               METHOD

Overview

       The following procedures were utilized in the present study. We obtained a list of 60/40 eating

or drinking establishments from the City of New York. We plotted the 60/40 businesses using

geographic mapping software. This geo-mapping software was then used to locate census blocks within

which the 60/40 businesses were located ("target" blocks) and surrounding census blocks. We then

obtained block-level census demographic information for each of the target and surrounding blocks.




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Crime and disorder incidents were then plotted and aggregated by census blocks. Analyses were then

performed using these census blocks and crime incident counts within each.

Locating the 60/40 Businesses with Geographic Mapping Software

       A list of 60/40 eating or drinking establishments in New York City by address was obtained from

the City of New York. The list, entitled: "Adult Establishments, 2000," was prepared for the March 26,

2001 Report to the City Planning Commission. As the report indicates, the number and locations of

60/40 establishments as of any given date may vary slightly from the information presented in the

report, and the list was not intended to be used officially or to be relied upon for regulatory or

enforcement purposes. The irony of such a disclaimer is patent. However, that being said, this list

whatever its limitations - - represents New York City's best judgment as to where the 60/40 businesses

are located at the time of the study.

       The following 60/40 eating or drinking establishments were examined in the present study. The

list of businesses was grouped according to three criteria: a) 60/40 businesses open throughout the entire

study period of 1998 to June 2002; b) businesses opening, closing, or changing entertainment formats

between January 1998 and June 2002; and c) businesses that were listed by the City of New York as

60/40 businesses for which we could not obtain information concerning openings, closings or change in

status as 60/40 uses.

60/40 Businesses Open Throughout the Period of 1998 to June 2002

 Business Name                  Address
 Pussycat Lounqe            96 Greenwich St.
     NY Dolls                 59 Murray St.
 Baby Doll Lounge              34 White St.
    VIP Club                  20 W. 20th St.
       Tens                   35 E. 21st St.
   Private Eyes              320 W. 45th St.
       Lace                    725 7th Ave.
  Bare Elegance              216 W. 50th St.
      Scores                 333 E. 60th St.
       Vixen             60-07 Metropolitan Ave.




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     Wiaales              96-24 Queens Blvd.
   Cozy Cabin             92-03 Astoria Blvd.
   Goldfingers            92-77 Queens Blvd.
    Port O'Call         93-10 Woodhaven Blvd.
 Al's Mr. Wedge          673 Hunts Point Ave.

Businesses Opening, Closing, Changing Format Between January 1998 and June 2002

       Business Name                    Address                       Chanae
        Billy's Topless        729 Avenue of the Americas      no longer topless in 01
            Club 44                   689 8th Ave.           opened in October of 2001
         Gallaqhers                39-33 Queens Blvd.            closed in mid 2000
       Gallaqhers 2000              43-19 37th street          opened in end of 2000
            Wiqqles                96-24 Queens Blvd.                   1993
         Cozy Cabin                92-03 Astoria Blvd.                 pre 98
         Goldfingers               92-77 Queens Blvd.                  pre 98
 Candlewood Inn new address     32-17 Colleqe Point Blvd.          opened in 2000
 Candlewood Inn old address     41-57 Colleqe Point Blvd.          closed in 2000


Businesses that were listed by the City of New York but that could not be contacted (2004) to
determine change in status as 60/40 uses.

   Business Name                Address                  Confirmation Status
        Sidebar            45-08 Vernon Blvd.     Could not determine change in status
          Foxes          32-37 Green point Ave.   Could not determine chanqe in status
  New York Style Eats     45-02 Queens Blvd.      Could not determine chanqe in status
        Honey's            49-14 Queens Blvd.     Could not determine change in status
         Nickels           69-20 Queens Blvd.     Could not determine chanqe in status
        llada's II          81-26 Baxter Ave.     Could not determine chanqe in status
     Fiddle & Bow        92-07 Roosevelt Ave.     Could not determine chanqe in status
     Johnny Jays          112-08 Astoria Blvd.    Could not determine chanqe in status
     Cafe Europa           94-02 Sutphin Blvd.    Could not determine change in status
     Devine Club             611 E. 133rd St.     Could not determine change in status
         Stacy's           1098 Lafayette Ave.    Could not determine change in status
       El Coche           910 Hunts Point Ave.    Could not determine change in status
       Vibrations            20-31 129th St.      Could not determine change in status
         Juniors            1625 E. 233rd St.     Could not determine chanqe in status

       The standard geographic information system computer program known as "Maptitude,"

produced by the Caliper Corporation, of Newtown, MA, was then used to locate the Census Block,

Census Block Group and Census Tract within which each 60/40 business was located.




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Using Census Blocks and Block Groups within Tracts for Analyses

       The U.S. Census Bureau keeps track of geographic boundaries for tabulation purposes. In

addition to political boundaries such as states, counties, and cities, the Census Bureau also creates

census geography so that census data can be tabulated to smaller units. In this study we utilize the

Census Bureau's geographic boundaries. Our units of analysis are census blocks housed within a block

group, which is in turn, drawn from within census tracts.

       Tracts are a small, relatively permanent statistical subdivision of a county delineated by a local

committee of census data users for the purpose of presenting census data. Census tract boundaries

normally follow visible features, but may follow governmental unit boundaries and other non-visible

features, and they always nest within counties. Census tracts are designed to be relatively homogenous

units with respect to population characteristics, economic status, and living conditions at the time the

users established them. They usually contain 1,500 to 8,000 people and are made up of on average

about four block groups. There are about 66,000 tracts nationwide.

       Census Blocks are the smallest entity for which the Census Bureau collects and tabulates census

information. There are about 8.5 million blocks nationwide. Block Groups are a combination of census

blocks that are adjacent to one another and are also a subdivision of census tracts. Block groups

generally contain between 600 and 3000 people and are made up of on average 40 census blocks. There

are about 211,000 block groups nationwide. Census block groups in Manhattan are made of

considerably fewer blocks that the national average due to the density of the population.

       For the present study, 179 Block Groups, made up of 967 Blocks, were included in the analyses.

Block groups were included if any of the following conditions were met: a) one or more Blocks in the

Block Group contains a 60/40 business, b) one or more blocks containing a 60/40 business directly




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touches one or more Blocks in a block group; c) one or more blocks in the Block Group are within 500

feet of a 60/40 business.

Using Block Level Census Demographic Information

         Using Maptitude, we are also able to include general demographic characteristics of each block

in the study as officially measured by the 2000 United States Census. These variables include measures

of population, sex, age, race, relationships in household, and household type for each block. These

demographic characteristics are used to control for social features in the environment that may co-vary

with the frequency of calls to the police.

         Several variables that have been investigated by others have been found to be important as

predictors of crime activity. These include measures of racial composition, family structure, economic

composition, and the presence of motivated offenders including males between the ages of 18 and 25.

These variables have been examined on the basis of the theory that a local area's population age

structure (especially the presence of young male adults), and its race/ethnic composition can affect both

the size of the pool of motivated crime offenders and the presence of suitable targets for predatory

crimes. 7

         The demographic variable predictors in the present study included: a) the number of males over

the age of 18 in the block, b) the number of African-Americans,8 c) the number of persons classifying


7
  Menthe, T. D., & Meier, R. F. (1994). Crime and Its Social Context: Toward an Integrated Theory of Offenders.
Victims. and Situations. Albany, NY: State University of New York Press. The use of these variables as demographic
variable predictors is also justified by investigations undertaken by sociologists who have examined community traits to
explain crime. Janet L. Lauritsen has summarized this research for the Panel on the Understanding and Control of Violence
of the National Research Council, National Academy of Sciences. She relies extensively on an article by Sampson, R. J.
(1993) entitled: "The community context of violent crime" which appeared in W. J. Wilson (Eds.), (pp. 274-279). Newbury
Park, CA: Sage Publications. Pp. 259-67.
8
  We were unable to employ an income measure in the present study due to the fact that these data are available at the
census block group level only. We employ the smaller census block as our unit of analysis. We consider the number of
African Americans as a surrogate for such an income or poverty measure. Studies uniformly have found much higher rates
of violence in predominantly black communities (Block 1979; Messner and Tardiff 1986; Sampson 1985; Roncek 1981;
Smith and Jarjoura 1988). However, this effect largely disappears when researchers include other variables related to race
(Block 1979). Sampson warns that: 11 . . . although percentage black and heterogeneity are strong and pervasive correlates of
violent crime rates, 11 11 ••• there is reason to doubt whether racial composition has unique explanatory power. 11 The Southern




                                                   JNR-001406                                                                      1351
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themselves as Hispanic, d) the number of households comprised of at least one non-family member,
                                                                                                            9
and e) the number of households comprised of only related family members in the block.

         One analysis strategy will entail entering these variables into a statistical analysis to control for

the effects of these characteristics on calls to the police and then to test the effect of having a 60/40

business in the neighborhood once these other variables are statistically controlled.

Measuring Crime and Disorder Incidents

         The City of New York Police Department provided a CD-ROM disk for each of the years 1998

through 2001, as well as the partial year January 1 through June 2, 2002. These CDs contain a listing of

all calls for service across the five boroughs for a particular year. The entire 1999 data set consisted of

over 4.5 million individual lines of data, while the 2000 data set included over 5.5 million lines. Each

line ideally chronicles an individual incident, whether warranted or unwarranted, for which some sort of
                                                                     st                  nd
police action was taken. We received data from the NYPD for January 1 1998 through June 2 2002.

Poverty Law Center (http://www.splcenter.org/intel/intelreport/article.jsp?) offers the following summary of criminological
research on race and income: "The fundamental conclusion of decades of serious criminology is that crime is intimately
related to poverty. In fact, when multivariate statistical methods such as regression analysis are used, study after study has
shown that race has little, if any, predictive power. This basic fact is so well understood among scholars of criminal justice
that the preface to Minnesota's official crime data reports carries this caveat: 'Racial and ethnic data must be treated with
caution .... Existing research on crime has generally shown that racial or ethnic identity is not predictive of criminal
behavior with data which has been controlled for social and economic factors.' When more sophisticated methodology is
employed, socioeconomic factors including poverty, education, social status and urban residence account far better for
criminal behavior than race. Above all, income counts. It is precisely because being black in America is closely correlated
with being poor, suffering from high unemployment and having low levels of education that the black community has
relatively high crime rates." In addition, a study using 1960, 1970, and 1980 census data on cities, metropolitan areas, and
states found that large, dense populations are associated with high homicide rates when the population is relatively poor,
largely black, and has a high percentage of single-parent families (Land, McCall, and Cohen 1990). The increasing
concentration of poor blacks in high-crime areas coincides with the deindustrialization of inner cities, according to the
National Academy of Sciences summary by Sampson. "Namely, the exodus of middle- and upper income black families
from the inner city removes an important social buffer that could deflect the full impact of prolonged joblessness and
industrial transformation." When upwardly mobile blacks move to higher socioeconomic neighborhoods the crime-race
relationship disappears. Further, it is important to note that crime in black neighborhoods is usually a matter of blacks
victimizing other blacks.
9
  We employ measures of unrelated members in the household and household comprised of only family members as indices
of family disorder. Many recent studies have reported an important relationship between divorce rates, or the percentage of
female-headed households, and rates of violent crime independent of the community's poverty level or racial composition
(Block 1979; Roncek 1981; Schuerman and Kobrin 1986; Sampson 1985, 1986). In fact, the relationship between race and
crime disappears when family disruption is taken into account (Sampson 1985; Messner and Tardiff 1986; Smith and
Jarjoura 1988). "Overall," concludes Sampson, "the correlation of family structure with violence is not simply the result of
other factors we typically consider, such as poverty, race, and density. Rather, the effect of family disruption appears to be
independent and large."




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The total number of incidents for each year were as follows: 1998 - 4,472,686 incidents; 1999 -

5,247,002 incidents; 2000 - 4,883,827 incidents; 2001 - 4,481,471 incidents; 2002 - 2,047,534 incidents

(only half the year). The total number of incidents originally considered was 21,132,520.

Use of Calls-for-Service (CFS) as a Crime and Disorder Indicator

        Criminologists employ a variety of measures of crime. Each measure has unique advantages and

disadvantages. All measures have error associated with them and may be biased to one degree or

another. Many criminologists have employed an indicator of crime using records of citizen's telephone

calls for service to police dispatch centers to measure the relative frequency of crime at the level of the

individual address (Sherman et al., 1989), the neighborhood (Bursik et al., 1990; Warner and Pierce,

1993) and the municipality viewed as a whole (Bursik and Grasmick, 1993).

        According to its proponents, the calls-for-service (CFS) measure offers a more valid description

of aggregate levels of crime than either police records collated in the FBI's Uniform Crime Reports
                                                                                   10
(UCR) or victimization data collected in the National Crime Survey.                     This is so because at least two

factors contribute to measurement bias in UCR data: citizen's decisions about whether to notify the

police about criminal activity, and police decisions about whether to take (i.e., record) reports when

citizens inform them that crimes have occurred (e.g., Black, 1970).

         Further, UCRs have additional problems which prevent them from being the only acceptable

means of measuring crime. Several of these problems are enumerated by the Wisconsin Office of
                                                                                   11
Justice Assistance (WOJA) Statistical Analysis Center (May, 2004).                      According to WOJA, since the



10
  Sources of bias in victimization data include, but are not limited to, citizens' failure to report crimes to interviewers, as
well as other problems that are common to survey research; for example, errors associated with interviewer effects and other
response biases (e.g., Bailey et al., 1978; Biderman and Lynch, 1991). Advocates of CFS as measures of crime reason that
CFS are more valid than victimization crime counts because they are not subject to response or memory problems inherent in
surveys.
11
  The Wisconsin Statistical Analysis Center is a program of the Wisconsin Office of Justice Assistance. The Center collects,
analyzes, interprets and disseminates criminal justice data in Wisconsin. It operates the State's Uniform Crime Reporting




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establishment of the Uniform Crime Reporting (UCR) Program in 1930, the volume, diversity, and

complexity of crime has steadily increased while the UCR Program has remained virtually unchanged.

This is such a severe problem that WOJA is working with police and other law enforcement agencies

across the state to eliminate reliance on this flawed system of crime reporting.

        In the traditional UCR system, law enforcement agencies tally the number of occurrences of Part

I offenses, as well as arrest data for both Part I and Part II offenses, and submit aggregate counts of the

collected data in monthly summary reports to the State. The problem is that there is no requirement to

tie arrests and exceptional clearances back to previously submitted incident reports. Therefore, the

traditional UCR Program can be described as a "summary reporting" system.

        In fact, the UCR does not even try to count all crimes reported to the police. What are referred to

as index offenses--also called Part 1 crimes--are counted if these offenses are reported to police (and

recorded by police). Index offenses include murder and non-negligent manslaughter, forcible rape,

robbery, aggravated assault, burglary, larceny-theft, and motor vehicle theft. Other offenses, referred to

as Part II crimes, are counted only if a person has been arrested and charged with a crime. The UCR

therefore does not include such offenses as shoplifting, drug sale or use, fraud, prostitution, simple

assault, vandalism, receiving stolen property, and all other non-traffic offenses unless someone is

arrested. This means that a large number of crimes reported to the police are not measured by UCR.

        Because the UCR reporting system is so fraught with problems, the U. S. Department of Justice

has formally called for a scrapping of the UCR system in favor of a better data collection system relying

on crime incidents. Specifically because the UCR system is seen as outdated and outmoded, the Justice

Department is replacing its long-established Uniform Crime Reporting (UCR) system with the more




Program, and a Juvenile Detention Information System, which collects and analyzes information on secure detention of
juveniles in the state.




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                                                                                             Secondary Effects                  25

                                                                                        12
comprehensive National Incident-Based Reporting System (NIBRS).                              For a crime to be counted in the

system, it simply needs to be reported and investigated. It is not necessary that an incident be cleared or

an arrest made, although unfounded reports are deleted from the record. The first step to these

investigations and reports is the call for service.

           Proponents of CFS further assert that the measure is superior to UCR records because dispatch

data reflect callers' descriptions of events before officers arrive on the scene, thus eliminating bias in

UCR data introduced by police behavior. Indeed, as long as researchers weed out multiple calls

regarding the same incident, CFS is biased only by citizens' willingness to report crimes (Warner and

Pierce, 1993).

           In the secondary effects debate, calls for service have been routinely used as an index of crime

effects. Several of the most frequently cited secondary effects reports by other communities as evidence
                                                                                                                       13
of secondary effects use incident data based on calls for service. We list these studies below.                             More




12
      See,e.g., http://www.ojp.usdoj.gov/bjs/nibrs.htm.
13
     A. The Phoenix, Arizona, 1994. Adult business study: impacts in late evening/early morning hours. City of Phoenix
         Planning department, June 1994: "The sexually oriented business calls for service survey on the six selected adult
         entertainment centers and six control locations were done to determine what type of calls were reported from the site
         and how frequently they were being reported per time of day. The statistics were based on data obtained from the
         Planning and research bureau of the Phoenix Police department." [Pg. 6; emphasis added.]
     B. The Malin Group Study, Dallas 1997. An Analysis of the effects of SOBs on Neighborhoods in Dallas Texas: As of
         April 1997, Prepared for Ms. Sangeeta Kuruppillai, Assistant City Attorney, City of Dallas, Prepared by Peter Malin,
         MAI. "We studied police calls for service emanating from 10 different SOBs over a four year period .... " (Emphasis
         added.)
     C. Austin, Texas: "The study collected data for 45 serious criminal offenses, termed part 1 crimes by the Uniform Crime
         Report, and 21 sexually related criminal offenses .... The data collected represents calls to the Austin Police
         Department from January 1, 1984 through December 31, 1985. Crime rates are expressed as the number of reported
         incidents per 1000 area residents." (Pg. 16; mphasis added.)
     D. Fulton County, GA. Captain Ron and Lt. Sue Miller; Fulton County Police: Study of Calls for Service to Adult
         Entertainment Establishments which Serve Alcoholic Beverages, June, 1995 - May, 1997; Fulton County Police
                                                                           th
         Department; Atlanta, Georgia; June 13, 1997, vetted by the 11 Circuit Court U.S. of Appeals, contains the following
         description: "The statistical information included in this study was obtained through the Fulton County Police
         Departments [sic] computerized incident and calls for service reporting program. Each call for police assistance, if
         taken over 911 enhance, is captured by a communication assisted dispatch (CAD) system. This information is
         available on every address in Unincorporated Fulton County where the police department is dispatched. Each report
         that is generated from a police call for service is identified with a departmental case number that is unique to that
         reported incident. (It should be noted that a police report is !!ill generated for every call for service, and that officer
         initiated calls are not captured on the CAD system)." (Emphasis added.)




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broadly, in the criminal justice research literature, calls for service are often used as the pertinent data.

We have also located five recent criminological publications not in the secondary effects area using CFS

data. 14 Clearly, these investigators believe that the CFS measure an important criminal justice crime

concept or they would not have employed them.

         What CFS measure is extremely useful for the study of secondary effects of sexually oriented

businesses. There are several reasons why calls for service are extremely useful for the secondary

effects debate. CFS are a far more comprehensive index of both police activity and crime activity and

thus a far more comprehensive indicator of secondary effects than are UCRs. For example, the crimes

against person index we employ in the present study is composed of assault, cutting/stabbing, fight,

kidnapping, robbery alarm, robbery business, robbery person and shooting. None of these individual

crime related activities would come to light with the summary based UCR system which is a small

subset of CFS. CFS is a much better index of the expenditure of police resources. CFS measure the

days, the times during the day and night, as well as the number, of dispatches and calls to which the

police are responding in a community.

         CFS is a better measure of so called "blight" than UCR based crime accounting. It is impossible

to measure blight--a highly critical aspect of the secondary effects debate--with UCRs. Neighborhood

problems may not rise to the level ofUCR crime but trouble residents nonetheless'. These blight

incidents often include police responses to public disorder and disturbance, drunken subjects, noise

   E. Newport News Virginia: "Of the more than 100 dispatch codes for different types of police calls for service, the
       Police department identified 32 dispatch codes for incidents that would impact an adjoining business or residential
       area." (Pg. 8; emphasis added.)
14
   These article are:
   A. Carter, S.P., et. al., Zoning Out Crime and Improving Community Health in Sarasota, Florida: "Crime Prevention
       Through Environmental Design". American Journal of Public Health v. 93 no. 9 (September 2003) p. 1442-5.
   B. Cohn, E.G., et. al., Even criminals take a holiday: Instrumental and expressive crimes on major and minor holidays.
       Journal of Criminal Justice v. 31 no. 4 (July/August 2003) p. 351-60.
   C. Smith, M.R. Police-led crackdowns and cleanups: an evaluation of a crime control initiative in Richmond, Virginia.
       Crime & Delinquency v. 47 no. 1 (January 2001) p. 60-83.
   D. Rotton, J., et. al., Violence is a curvilinear function of temperature in Dallas: a replication. Journal of Personality and
       Social Psychology v. 78 no. 6 (June 2000) p. 1074-81.
   E. Verma, A. The fractal dimension of policing. Journal of Criminal Justice v. 26 no. 5 (1998) p. 425-35.




                                                   JNR-001411                                                                       1356
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                                                                          Secondary Effects              27


disturbances and loud disturbing parties. Other minor offenses such as gambling law violations,

harassment, subject pursuits, suspicious activity, suspicious vehicle, threats and trespassing are

measured by CFS and are ignored by a UCR-based system. In summary, the use of CFS provides a

much more comprehensive and complete picture of the possible adverse secondary effects of sexually

oriented businesses in a community (or the absence of such secondary effects, as the case may be) than

the use of the far more circumscribed measures such as UCRs.

       The most serious source of bias in CFS data is the process by which police discover crimes--

many come to their attention via means other than phone calls to dispatch centers. For example, citizens

sometimes report crimes directly to officers on patrol and at station houses. Further, officers often

observe criminal activity while patrolling their beats (Reiss, 1971 ). Errors in CFS crime counts also

vary according to neighborhood. Dispatch data are more likely to undercount the total number of crimes

that come to the attention of the police in neighborhoods where residents believe that officers respond

more slowly to their calls, where residents are more fearful of crime (or the police), and where they

experience more criminal victimization.

Crime Incident Filters

       Several filters were used to make the data set more manageable. The first filter was the precinct

in which each incident occurred. New York is policed at a precinct level. There are 77 separate

precincts. Each crime incident in the data set included the precinct in which the incident was said to

have occurred. We examined the location of the 60/40 businesses we intended to include in the analysis.

The City provided us with a list of such businesses. We only included those businesses for which we

could confirm specific operation dates occurring during the 54 months for which we had data. This

included businesses that opened or closed during the 54 month period, but not those for which we could

not confirm opening, closing, or operation throughout the period as a 60/40 use establishment. We




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filtered out any incident not occurring in a precinct containing a 60/40 business, or a precinct touching a

precinct containing a 60/40 business. This included a total of 21 separate precincts. The precincts

included in the study were: 1, 5, 10, 13, 14, 17, 18, 19, 40, 41, 47, 94, 102, 103, 104, 107, 108, 109, 110,

112, and 115. Within these precincts we chose only those incident codes (as assigned by the NYPD)

that were relevant for our analysis. Finally, only those incidents for which the final disposition codes

indicated that a report was filed regarding the incident and/or an arrest was made were included in the

final data set.

Plotting the Calls for Service to the Police by Address

            These filtered data were then plotted using the Maptitude GIS software. This process resulted in

the crime incident categories displayed in Table 1. A total 1,013,062 combined plotted crime incidents
                                                                     15
were included in the subsequent statistical analyses.

                                                              RESULTS

            Three types of analyses are employed for the plotted incidents: 1) multiple regression analyses

are performed wherein the census blocks with 60/40 businesses are compared to surrounding blocks that

do not contain such businesses while statistically controlling for demographic features known to be

related to crime; 2) "hotspot' analyses wherein the 60/40 business address is ranked among other

addresses in the census blocks in terms of the frequency of calls for service to the police; 3) before-after

analyses are undertaken using businesses that had opened closed or changed formats during the study

period and

Hierarchical Regression Analyses using Demographic Variables and Proximity to 60/40 club.

            The first analysis was designed to answer the question: once we have statistically controlled for

social characteristics of the neighborhood (census block) known to be related to crime and community



15
     We believe this is the largest data set ever plotted in a study of this kind.




                                                       JNR-001413                                               1358
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disorder, what is the effect of the presence of a 60/40 eating or drinking establishment on crime and

disorder?

       Proximity to 60/40 club. A variable was created to represent the proximity of census blocks

within the surrounding block groups to the "target" block containing the 60/40 establishment. Figure 2

provides an example of coding scheme for proximity to 60/40. A "l" was assigned to the block

containing the 60/40 business. Blocks adjacent to the target block were assigned a "2." Blocks adjacent

to those were assigned a "3," and finally, those adjacent to these blocks were assigned a "4." (As noted

above, a total of 179 Block Groups, made up of 967 Blocks, were included in the analyses. Block

Groups were included if any of the following conditions were met: a) one or more Blocks in the Block

Group contains a 60/40 business, b) one or more blocks containing a 60/40 business directly touches one

or more Blocks in a block group; c) one or more blocks in the Block Group are within 500 feet of a

60/40 business.)

               Hierarchical regression analyses. Regression models were developed to formally test

effect of having a 60/40 eating or drinking establishment in a neighborhood once these factors were

taken into consideration. A series of hierarchical regressions were performed. The demographic

variable predictors included the number of males over the age of 18 in the block, the number of African

Americans, the number of persons classifying themselves as Hispanic, the number of households

comprised of at least one non-family member, and the number of households comprised of only related

family members in the block.

       The variable representing club proximity was entered as a last step in the model.

       The models for each crime incident outcome variable are presented in Tables 2 - 6. Table 2

displays the hierarchical regression analyses for crimes against persons using all 60/40 businesses in

New York City. As can be seen from Table 2, the first variable, number of males in the population 18




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years and over was significantly related to calls for service to the police, explaining three-percent of the

variability in calls for service across the census blocks. Examination of the coefficients for this stage of

the model revealed a positive Beta coefficient. Thus, the larger the number of males over the age of 18

in the census block, the greater the number of calls for service to the police. The next variable group

added to the equation was comprised of variables measuring the number of African Americans and

Hispanics in the population of the block. This variable group explained approximately an additional 4

percent of the variability in calls to the police across the census blocks. Examination of the coefficients

indicated a positive Beta coefficient for Blacks and a negative coefficient for Hispanics. The addition of

the social disorganization variables measuring household composition also contributed to explaining the

variability in calls for service, increasing the amount of variance in calls for service to approximately 14

percent. Examination of the coefficients indicated that the greater the number of households containing

related family members only, the fewer the calls for police service, while the presence of households
                                                                                                                   16
with non-family members in them in the neighborhood was positively related to calls for service.


   Additional explanatory power in the variability in calls for service to the police in New York City would undoubtedly be
16

gained with the inclusion of a variable in the model measuring the presence of alcohol serving and selling establishments.
Overall, researchers have marshaled impressive evidence indicating that alcohol outlets influence crimes of rape, assault,
homicide, robberies, auto-theft, public intoxication, and drunk driving. See: Scribner, R. A., MacKinnon, D. P., & Dwyer,
J. H. ( 1995). Relative risk of assaultive violence and alcohol availability in Los Angeles County. American Journal of
Public Health, 85, 335-340; Sherman, L. W., Gartin, E., & Buerger, M. E. (1989). Hot spots of predatory crime: Routine
activities and the criminology of place. Criminology, 27, 27-56; Roncek, D. W., & Maier, P.A. (1991). Bars, blocks, and
crimes revisited: Linking the theory of routine activities to the empiricism of hot spots. Criminology, 29, 725-753; Watts,
R. K., & Rabow, J. (1983). Alcohol availability and alcohol related problems in 213 California cities. Alcoholism:
Clinical and Experimental Research, 7, 47-58; Nielsen, A. L., & Martinez, R., Jr. (2003). Reassessing the alcohol-
violence linkage: Results from a multiethnic city. Justice Quarterly, 3, 445-469; Parker, 1995, 1993; Parker & Rebhum,
1995). Some studies have posited a stronger effect for bars on crime, compared to other social disorganization predictors
(Roncek, D. W., & Bell, R. (1981). Bars, blocks, and crime. Journal of Environmental Systems, 11, 35-47.; Roncek, D.
W., & Maier, P.A. (1991). Bars, blocks, and crimes revisited: Linking the theory of routine activities to the empiricism of
hot spots. Criminology, 29, 725-753; Roncek, D. W., & Pravatiner, M.A. (1989). Additional evidence that that taverns
enhance nearby crime. Sociology and Social Research, 73, 185-188; Zahn, M. (1998). Homicide and public policy. Ninth
Annual Walter C. Reckless Memorial Lecture, Columbus, OH: Criminal Justice Research Center, Ohio State University;
Nielsen, A. L., & Martinez, R., Jr. (2003). Reassessing the alcohol-violence linkage: Results from a multiethnic city.
Justice Quarterly, 3, 445-469.) Alaniz et al. (1998) examined the connection between immigrants and violence across three
California communities (Alaniz, M. L., Cartmill, R. S., & Parker, R. N. (1998). Immigrants and violence: The importance
of neighborhood context. Hispanic Journal of Behavioral Sciences, 20, 155-174; Peterson, R. D., Krivo, L. J., & Harris,
M. A. (2000). Disadvantage and neighborhood violent crime: Do local institutions matter? Journal of Research in Crime
and Delinquency, 37, 32-63.




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                                                                                          Secondary Effects                   31


Most importantly for the purposes of this study, the addition of the variable measuring the proximity of

surrounding census blocks to the census block containing the 60/40 establishments added no statistically

significant explanatory power to the regression equation.

         Where there are meaningless but statistically significant relationships due to the exceptionally

large N (sample size) employed in the analyses (at times nearly 1,000 census blocks), we favor

"strength" over a technical "significance." In this regard, we follow what has been called the Hays'

"testmanship" dictum, which teaches that with sufficiently large N virtually any difference between
                                                                                                                17
compared means (or correlations between two variables) becomes statistically significant.

Consequently, in the analyses we acknowledge Kerlinger's admonition that the strength of a relationship

is of primary importance; the significance of the relationship is ancillary to the question of how much of
                                             18
the variance has been accounted for.

         We most often focus on the so called "effect size" as an indication of the importance of one or

several variables in "explaining" or accounting for the variability in crime incidents across census blocks

in Daytona Beach. As a simple rule of thumb, Cohen (1988) suggests that a "small" effect has a mean

In addition, Plaintiffs in the case: TEN'S CABARET, INC. Formerly Known as STRINGFELLOW'S OF NEW YORK,
LTD., Plaintiffv. CITY OF NEW YORK et al., Defendants. PUSSYCAT LOUNGE, INC., Plaintiff, v. CITY OF NEW
YORK et al., Defendants. Index No. 121197/02, Index No. 122740/02. SUPREME COURT OF NEW YORK, NEW
YORK COUNTY 1 Misc. 3d 399; 768 N. YS.2d 786; 2003 N. Y. Misc. LEXIS 1163 September 9, 2003, have presented data
demonstrating that 60/40 businesses do not cause the secondary effects of increased crime. (Ten's Cabaret Exhibit D,
2/2001 Police Report). These data consist of a "hotspot" ranking of businesses by police that are crime and disorder
problems for the neighborhood. We have also examined these data and conclude that the 60/40 businesses do not appear as
significant sources of crime and disorder by the police' own ranking method. Instead, alcohol serving businesses that are
not 60/40 eating or drinking establishments were by far the source of greatest police concern.

The failure to account for these alcohol-serving businesses in the same block as the 60/40 businesses in the present study
may also contribute to the technically significant relationships for the addition of the proximity variable reported below.

   Hays, W.L. Statistics for the social sciences (2nd ed.) New York; Holt Rinehart and Winston, 1973. Hayes "testmanship"
17

dictum states: "There is surely nothing on earth that is completely independent of anything else. The strength of an
association may approach zero, but it should seldom or never be exactly zero. If one applies a large enough sample of the
study of any relation, trivial or meaningless as it may be, sooner or later a significant result will almost certainly be achieved.
This kind of problem occurs when too much attention is paid to the significance tests and too little to the degree of statistical
association the finding represents. This clutters up the literature with findings that are often not worth pursuing and which
serve only to obscure the really important predictive relations that occasionally appear."
18
   Kerlinger, F.N. & Pedhazur, E.J. (1973). Multiple1egression in behavioral research. New York: Holt, Rinehart, and
Winston.




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                                                                                         Secondary Effects        32

                                                                                                   2
correlation ( or Beta) coefficient of 0.10 (i.e. explains 1% of the variance since R =1 %), a "medium"

effect has a coefficient of 0.30 (i.e. explains 9% of the variance), and a "large" effect has a coefficient of
                                                   19
0.50 (i.e. explains 25% of the variance).               Any effect size approaching 1 percent is therefore essentially

trivial; and any effect size below 1 percent is extremely suspect as an indicator of an important effect

even though such trivial amounts of variance explained may be technically statistically significant.

           Table 3 presents the hierarchical regression analyses for crimes against property using all 60/40

businesses in New York City. A very similar pattern of results was obtained for property crime

incidents as crimes against persons. Overall, while more variability was explained in these crime events

(nearly twice as much, or 34 percent) the pattern of coefficients remained the same. The addition of the

variable measuring the proximity of surrounding census blocks to the census block containing the 60/40

establishment added only three tenths of one percent to the explanatory power to the regression

equation. While technically "statistically significant," the addition is substantively meaningless.

           Table 4 presents the hierarchical regression analyses for disturbing the peace using all 60/40

businesses in New York City. A very similar pattern of results was obtained for these incidents as in the

case of crimes against property.

           Table 5 presents the hierarchical regression analyses for drug-related crimes using all 60/40

businesses in New York City. Overall, the model did a poor job of explaining the drug-related crimes.

The addition of the variable measuring the proximity of surrounding census blocks to the census block

containing the 60/40 establishment added no explanatory power to the regression equation.

           Table 6 presents the regression analyses for sex crimes using all 60/40 businesses in New York

City. These results may be interpreted as indicating that while calls for service to the police in a

particular neighborhood may be attributable to social factors such as the presence of young male adults,

and its race/ethnic composition (variables that are determinants of the size of the pool of motivated
19
     Cohen (1988) Statistical power analysis for the behavioral sciences, 2nd edition. Hillsdale, NJ: Erlbaum.)




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                                                                          Secondary Effects               33


crime offenders and the presence of suitable targets for predatory crimes), calls to the police are not

related to the presence of a 60/40 adult eating drinking establishment in the neighborhood. These

findings cast at least substantial doubt on the theory that 60/40 businesses or the nature of their

entertainment is significantly associated with crime events in a neighborhood.

       Should be noted that there are very few incidents of prostitution--only 41 incidents.

       "Hotspot' analyses. A "hotspot' analyses wherein the 60/40 business address is ranked among

other addresses in the census blocks in terms of the frequency of calls for service to the police was also

undertaken. A "hotspot" analysis was conducted to answer this question: Do 60/40 businesses rank

among the "hotspots" of crime and disorder in the community in which they located?

       The "hotspot" methodology used in the present study follows that employed in the Garden Grove

Study (1991 ). The Garden Grove Study was an attempt to determine if adult businesses in the City of

Garden Grove, CA constituted a public safety hazard. The authors undertake a "hotspot" analysis (see

page 23) by establishing the relative rank of sexually oriented business addresses versus other business

addresses in the immediate area in terms of crime frequency.

       Table 7 displays the results of a "hot spot" analyses within the census block surrounding each

60/40 business open throughout the period of 1998 to June 2002. In the table we provide the number

and percentage of crimes attributed to the specific 60/40 business address, and the rank of the 60/40

address relative to other addresses in the neighborhood. This analyses included Al's Mr. Wedge, Baby

Doll Lounge, Bare Elegance, Club 44, Cozy Cabin, Goldfingers, Lace, New York Dolls, Private Eyes,

Pussycat, Scores, Tens, Yip Club, Vixen, and Wiggles.

       Next, the conventions developed in the Garden Grove Study were employed to interpret the

hotspot findings. This method involves comparing specific sexually oriented business addresses with

the remaining neighborhood in terms of percentage of crime and the relative ranks of addresses. In the




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                                                                         Secondary Effects             34


Garden Grove study, for example, crimes from seven sexually oriented businesses located on Garden

Grove Boulevard in the city of Garden Grove were examined. The authors then calculated the

percentage of crime accounted for by the business address among all crime on Garden Grove Boulevard.

They reasoned that, if the sexually oriented business accounted for 10-25 percent of crimes in a

neighborhood, it could be concluded that they constituted a "significant" source of crime events. They

also computed the relative ranking of the sexually oriented business address among all addresses on

Garden Grove Boulevard and found that three to five of the six adult businesses were among the top ten

"hotspots." This finding further bolstered their conclusion that these businesses were a significant

source of crime

       By this method it can readily be seen that the 60/40 businesses in New York City are a very

insignificant source of crime events within their neighborhood. As is shown in Table 7, the 60/40

business addresses rarely rise to the level of even ten-percent of crime events in the neighborhood.

Several cannot be ranked because there are zero crime events at their address. The vast majority of the

60/40 businesses had very few crime incidents, no matter what the crime category, relative to the rest of

the neighborhood.

       In summary, by this method we conclude that 60/40 businesses do not constitute either a serious

or significant public safety or crime hazard. These findings again cast substantial doubt on the City's

theory that 60/40 businesses or the nature of their entertainment is significantly associated with crime

events in a neighborhood.

       Before-after analyses. We undertook a "before-after" analysis of 60/40 businesses in New York

City. Before-after analyses are undertaken using businesses that had opened closed or changed formats

during the study period. We expected that changes in the presence or absence of these businesses in the

community would be associated with increases and decreases in crime. When a business ceases




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                                                                                        Secondary Effects                  35

operation or changes to a non-sexually oriented format, crime events should subside; when a sexually
                                                                  20
oriented business opens crime events should increase.                  We examined crime incidents before and after

opening for the following 60/40 businesses: Billy's Topless, Club 44, Gallaghers, Gallaghers 2000,

Candlewood Inn (new address), Candlewood Inn (old address). The businesses and the changes that

occurred are listed in the table immediately below.

Businesses Opening, Closing, or Changing Format Between January 1998 and June 2002

       Business Name                          Address                                Change
                                          729 Avenue of the
        Billy's Topless                       Americas                     no lonqer topless in 01
                                                                            opened in October of
           Club 44                          689 8th Ave.                            2001
          Gallaghers                     39-33 Queens Blvd.                  closed in mid 2000
       Gallaghers 2000                    43-19 37th street                opened in end of 2000
     Candlewood Inn - new                32-17 College Point                   opened in 2000

20
   As the authors of the Garden Grove Study correctly point out, a "hotspot" analysis may be useful, but it tells us nothing
about whether the sexually oriented businesses examined in their study caused adverse secondary effects. The authors note
(see page 24): "Of course, one can argue that the relationship is non-causal or spurious; that these businesses simply moved
into a neighborhood that happened to already have a high crime rate." In order to examine the possibility of causality a
quasi-experimental, before-after analysis is employed in the Garden Grove Study. We employ a similarly-designed analysis
in this portion of the present study. This method is employed to answer the question: Once a sexually oriented business is
opened in a New York City neighborhood does the crime incident rate rise in the post-opening period? If we do not detect an
effect in the months following an opening, doubt is cast on the City's theory that sexually oriented 60/40 businesses or the
nature of their entertainment is responsible for crime events in the local vicinity.
     Description of the method. The hierarchical regression approach employed above is actually a simple variation of the
so-called "static group comparison." This design is diagramed as:
                                  S.O Business Area                    X        Crime (impact)
                                  Control Area                                  Crime (control)
The X in this diagram represents the presence of a sexually oriented 60/40 business in the impact area but not in the control
area. The hypothetical secondary effect is estimated as the difference of the two crime measures:
                                    Secondary Effect= Crime (Impact) - Crime (Control)
If the impact and control areas are identical in every respect (demographic characteristics, housing characteristics) except the
presence of a sexually oriented business, the secondary effect estimate is valid. On the other hand, if the two areas differ in
any relevant way the secondary effect estimate is not as informative as it could be. The "static group comparison" design is
strengthened considerably when a before-after contrast is added. Using the same notation this design looks as follows:
                     S.O. Area                   Crime (Impact, Before) X            Crime (Impact, After)
                     Control Area                Crime (Impact Before)               Crime (Impact, After)
The hypothetical secondary effect is now estimated as the before-after difference in the impact area.
                            Secondary Effect= Crime (Impact, After)- Crime (Impact, Before)
The analogous difference for the control area serves as a benchmark for assessing the validity and significance of the
secondary effect. The superiority of the before-after design over the "static group comparison" design lies in the nature of
their control comparisons. Over short time periods, say one or two years, impact and control areas are likely to remain stable
in relevant ways. If the stability assumption holds, before-after differences are immune to the garden-variety validity threats
that plague static impact-control differences. If change scores are standardized, then as percent changes, before-after
secondary effect estimates are relatively robust to minor differences between impact and control areas.




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                                                                            Secondary Effects            36


         address                          Blvd.
   Candlewood Inn - old            41-57 College Point
         address                          Blvd.                        closed in 2000


       We compare the crime event change, or lack thereof, before and after openings and closings with

control areas selected from the surrounding neighborhoods. If we fail to detect an effect in the year

following opening, closing or change of entertainment format for the businesses in this before-after

comparison, serious doubt is cast on the theory that these 60/40 businesses or the nature of their

entertainment is responsible for crime events in the local vicinity.

       Table 8 displays the results of the before-after analyses of crime incidents surrounding the 60/40

businesses Billy's Topless, Club 44, Gallaghers, Gallaghers 2000, Candlewood Inn (new address),

Candlewood Inn (old address). The table includes crime counts for the study period for each business.

Figures 3-8 display the results in graph form using the percentage of total incidents for each individual

block by year in order to standardize the results.

       What is immediately apparent from the graphs is that no matter what the event--opening or

closing of the 60/40 business, or transformation from topless (i.e., sexually oriented) to non-topless

venue--the crime incidents in the block surrounding the 60/40 businesses tracked the control blocks

precisely. Figure 3 provides an excellent example of this pattern. This Figure shows that the block

containing Billy's Topless 60/40 business perfectly mirrored the control blocks crime patterns. Crime

increased somewhat until 2000 and then began a decline after that year. The pattern for the block in

which Billy's was located was identical to the surrounding blocks despite the fact that Billy's Topless

ceased operations as a sexually oriented business. Had Billy's Topless been responsible for adverse

secondary crime effects on the block, we would have expected a more precipitous decrease in crime

incidents. There was none.




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                                                                        Secondary Effects                37


       Figure 4 provides another example. Club 44 opened for businesses in 2001. If the negative

secondary effects hypothesis is correct we would have expected that the block on which Club 44 was

located would experience an uptick in crime events. This did not occur. Instead, crime incidents in the

Club 44 block tracked the control blocks, all of which showed a decrease in crime incidents. The

remaining figures show the same pattem--no matter what the change in the opening or closing of the

60/40 business-there was no impact on crime incidents relative to the control locations.

       Tables 9-14 display the results of the before-after analysis in summary form. Again, these

results fail to reveal adverse secondary crime effects for the 60/40 businesses. Table 9, for example,

shows the results for Billy's Topless and surrounding areas. Recall that in 2001 this business changed

format and no longer offered topless entertainment. If the City's combined "60/40 clubs are 'adult'

businesses" and "adult businesses cause crime" theory were correct, this change in the nature of the

business should have resulted in a large decrease in crime. However, to the contrary, we found only a

modest decrease while the control areas (with no adult businesses) experienced a more pronounced drop

(study block change= 388 incidents to 216 incidents, comparison blocks change= 140 incidents to 62

incidents).

        Similarly, the results for Club 44 displayed in Table 10 show no evidence of adverse secondary

crime effects. Recall that Club 44 opened in 2001. According to the City's secondary effects

hypothesis, this event should have been associated with an increase in crime in the surrounding area. In

contrast, we found a substantial decrease in crime for both study and control areas (study block change=

300.00 to 122, comparison blocks change= 160 to 67).

        Likewise, Gallaghers (39-33 Queens Blvd.) closed in 2000. This event, if the City's secondary

effects theory is correct, should have resulted in an observable decrease in crime well beyond what

would be observed for the control blocks. Contrary to this assumption, however, we found a substantial




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                                                                         Secondary Effects             38


drop in crime nearly identical to control area (study block change= 53 to 29, comparison blocks change

= 26 to 18).

       Gallaghers 2000 opened in 2000 at a new address. We should have observed a dramatic increase

in crime events. Instead, we observed so few incidents of crime in both test and control areas as to be

essentially meaningless. The same pattern was observed for the opening, closing and relocation of the

Candlewood Inn. There was simply no support for the secondary effects hypothesis.

       These findings cast very substantial doubt on the City's theory that sexually oriented 60/40

businesses or the nature of their entertainment is significantly associated with crime events in a

neighborhood.



                                  SUMMARY AND IMPLICATIONS

       In order to test the assumption that New York City may regulate so called "60/40" businesses

because they are associated with negative secondary effects, an extensive and detailed empirical study of

criminal activity and disorder surrounding these businesses in Manhattan was undertaken utilizing raw

data provided by the New York City Police Department (NYPD). Three hypothesis concerning

secondary effects are tested in this study using calls for service to the New York City Police within local

neighborhoods defined by census blocks. If secondary effects are associated with 60/40 eating drinking

establishments in New York City we would expect the following: 1) The presence of a "60/40" eating or

drinking establishments in New York will be associated with a higher number of crime incidents

reported in localized areas surrounding these businesses compared to the number of crime incidents

reported in comparable localized areas that do not contain these businesses; 2) Such businesses will rank

among the "hotspots" of crime and disorder tin the community in which they located; and 3) Changes in

the presence or absence of these businesses in the community will be associated with increases and




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                                                                         Secondary Effects              39


decreases in crime. When a business ceases operation crime events should subside, when such a

business opens crime events should increase.

       To test these hypotheses we first conducted regression analyses wherein the blocks with 60/40

businesses are compared to surrounding blocks that do not contain such businesses while statistically

controlling for demographic features of the blocks that are known to be related to crime. We then

undertook a "hotspot" analysis within the neighborhood where the 60/40 business is located. This

focused analysis by specific address allows us to determine if the 60/40 businesses have required special

attention from the police or if other addresses in the immediate neighborhood are more often the source

of police attention. Finally, we undertook a before-after analysis wherein we examined crime one year

before and one year after 60/40 business openings and closings. We compared the crime change or lack

thereof before and after the openings and closings.

       The regression analyses showed that variables traditionally found to be attributable to social

disorganization such as a local area's population age structure (especially the presence of young adults),

and its race/ethnic composition were related to the number of calls to the police. The "hotspot" analysis

showed that that the 60/40 businesses are a very insignificant source crime of crime events within their

neighborhood in New York City. The 60/40 business addresses rarely rise to the level of even ten-

percent of crime events in the neighborhood. Several cannot be ranked because there are zero crime

events at their address. The vast majority of the 60/40 businesses had very few crime incidents, no

matter what the crime category, relative to the rest of the neighborhood. The before-after analyses

revealed that changes in the presence or absence of these businesses in the community were not

associated with increases and decreases in crime.

       These findings, at a minimum, cast substantial doubt on the City's theory that 60/40 businesses

or the nature of their entertainment is significantly associated with crime events in a neighborhood.




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                                               Secondary Effects      40




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       Figure 3: Billy's-Percentage of Total Incidents for Each Individual Block By Year.


                         Billy's - Percentage of Total Incidents for Each
                                      Individual Block by Year

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             ~15.00                                              . ~----~~
                                                                                             ~ Surrounding block 4
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                               1998           1999     2000      2001        2002           - - Surrounding block 7
                                                       Year                                 ~ - Surrounding block 8

       Billy's ceased operations as topless in 2001.
1372




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       Figure 4: Club 44-Percentage if Total Incidents for Each Individual Block by Year.


                           Club 44 - Percetage of Total Incidents For Each
                                       lndivdual Block by Year

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                                                                   Year

        Club 44 opened for business in 2001.
1373




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       Figure 5: Gallaghers-Percentage of Total Incidents for Each Individual Block by Year.

                               Gallaghers - Percentage of Total Incidents for
                                      Each Individual Block by ~ Year
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                                       1998               1999                2000               2001               2002                ~-Surrounding block 8
                                                                                                                                                 Surrounding block 9
                                                                             Year
                                                                                                                                                 Surrounding block 10
       Gallaghers ceased operations in 2000.
1374




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       Figure 6: Gallaghers 2000 - Percentage of Total Incidents for Each Individual Block by Year.


                          Gallaghers 2000 - Opened for Business in 2000

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                             counts       counts counts counts                      counts            --Surrounding block 7
                                                         Year

       Gallaghers 2000 opened for business in 2000.
1375




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       Figure 7: Candlewood Inn (old location) - Percentage of Total Incidents for Each Individual Block by Year.


                           Candlewood Inn (old location) - Percentage of
                          Total Incidents for Each Individual Block by Year

                       40.00
                                                                                                    ._ Candlewood Inn
              ~        30.00
                                                                                                    - - Surrounding block 1
             ....."'
              iu 20.00                                                                                    Surrounding block 2
              ~
              G)                                                                                  - - - Surrounding block 3
             a. 10.00
                                                                                                    ~ Surrounding block 4

                        0.00                                                                        e - Surrounding block 5

                                1998         1999         2000         2001        2002           --+--   Surrounding block 6
                                                          Year

       Candlewood Inn ceased operations at this location in 2000.
1376




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       Figure 8: Candlewood Inn (new location)-Percentage of Total Incidents for Each Individual Block by Year.



                        Candlewood Inn (new location) - Percentage of
                       Total Incidents for Each Individual Block by Year

                  50.00
                                                                                                 ._ Candlewood Inn
             a,   40.00                                                                          ._ Surrounding block 1
             C)
            .SC 30.00                                                                                ·· Surrounding block 2
             a,
             ~    20.00                                                                        ---x--   Surrounding block 3
             a,
                                                                                                  ~ Surrounding block 4
            a. 10.00
                                                                                                 e- Surrounding block 5
                    0.00
                               1998         1999         2000         2001       2002
                                                         Year

       Candlewood Inn opened for business at this location in 2000.
1377




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Figure 1.The incident codes we included as they appear in the New York Police
Department Radio Code Signal Guide, and the heading under which they appear in
the Guide.

Possible Crimes
lOF 1 - Firearm/inside
10F2 - Firearm/outside
1OF9 - Firearm/transit
1OKl - Knife/inside
10K2 - Knife/outside
1OK9 - Knife/transit
lOHl - Call for help/inside
10H2 - Call for help/outside
1OH9 Call for help/transit
1OY3 - Other/serious
1OY7 - Possible/child abuse
lOPl - Prowler/inside
1OP2 - Prowler/outside
1OP9 - Prowler/transit
1ON 1 - N arco sale/in
10N2 - Narco sale/out
10N9-Narco sale/transit
1OS 1 - Shots fired/inside
1OS2 - Shots Fired/outside
10S9 - Shots Fired/Transit
1OV 1 - Suspicious vehicle/inside
10V2 - Suspicious vehicle/outside
10V9 - Suspicious vehicle/transit

Alarms
1 lAl -Audible/inside: live person
11A2 - Audible/outside: live person
11 C3 Commercial holdup
11 C4 - Commercial Burglary
11R3 - Residential Holdup
11R4- Residential Burglary

Vehicle Check
16 - Vehicle reported stolen

Robbery (Past)
20C - Commercial
20C9 - Commercial/transit
20R - Residence
20Q 1 - Other/inside
20Q2 Other/outside




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20Q9 - Other/transit

Burglary Past
21 C - Commercial
21 C9 - Commercial/transit
21R- Residence
21Ql - Other
21 Q9 - Other/transit

Larceny Past
22Pl - From person/inside
22P2 - From person/outside
22Vl - Stolen vehicle/inside
22V2 - Stolen vehicle/outside
22V9 - Stolen vehicle/transit
22Q 1 - Other/inside
22Q2 - Other/outside

Assault Past
24Kl - Knife/inside
24K2 -Knife/outside
24K6-Knife/fami ly
24K7 - Knife/child abuse
24K9 - Knife/transit
24S 1 - Shots/inside
24S2 - Shots /outside
24S6 - Shots /family
24S7 - Shots /child abuse
24S9 - Shots /transit
24Wl -Assault with weapon/inside
24W2 -Assault with weapon /outside
24 W 6 - Assault with weapon /family
24W7 -Assault with weapon /child abuse
24W9 - Assault with weapon /transit
24Q 1 - Other/inside
24Q2 - Other /outside
24Q6 - Other /family
24Q7 - Other /child abuse
24Q9 - Other /transit

Other Crimes Past
29C - Criminal Mischief

Robbery in Progress
30C - Commercial
30C9 - Commercial/transit




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30R- Residence
30Ql - Other/inside
30Q2 - Other/outside
30Q9 - Other/transit

Burglary in Progress
31 C - Commercial
31 C9 - Commercial/transit
31 R - Residence
31Ql -Other
31 Q9 - Other/transit

Larceny in Progress
32Pl - From person/inside
32P2 -From person/outside
32Vl - Stolen vehicle/inside
32V2 - Stolen vehicle/outside
32V9 - Stolen vehicle/transit
32Ql - Other/inside
32Q2 - Other/outside

Assault in Progress
34Kl - Knife/inside
34K2 -Knife/outside
34K6-Knife/fami ly
34K7 - Knife/child abuse
34K9 - Knife/transit
34S 1 - Shots/inside
34S2 - Shots /outside
34S6 - Shots /family
34S7 - Shots /child abuse
34S9 - Shots /transit
34W 1 - Assault with weapon/inside
34W2-Assault with weapon /outside
34W6-Assault with weapon /family
34W7 -Assault with weapon /child abuse
34W9 - Assault with weapon /transit
34Q 1 - Other/inside
34Q2 - Other /outside
34Q6 - Other /family
34Q7 - Other /child abuse
34Q9 - Other /transit

Other Crimes in Progress
39C - Criminal Mischief/inside
39C - Criminal Mischief/outside




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Disorderly Person/Group/Noise
50G 1 - Group/inside
50G2 - Group/outside
50P 1 - Person/inside
50P2 - Person/inside
50Nl - Noise/inside
50N2 - Noise/outside

Dispute
52Fl - Firearm/inside
52F2 - Firearm/outside
52F6 - Firearm/family
52F9 -Firearm/transit
52Kl - knife/inside
52K2 - knife /outside
52K6 - knife /family
52K9 -knife /transit
52Dl - Dispute/inside
52D2 - Dispute/outside
52D6 - Dispute/family
52Vl - Vio o prot/inside
52V2 - Vio o prot /outside
52V6 - Vio o prot /family
52V9 - Vio o prot /transit

Quality of Life
64D - Public drinking
64J - Prostitution
64K-Lewd Acts
64L - Loitering
64R-Trespassing
64U - Public urination
64V - Vandalism




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EXAMINING THE RELATIONSHIP BETWEEN BUSINESSES THAT COMPLY

       WITH THE "60/40" ZONING REGULATIONS AND SURROUNDING

                 PROPERTY VALOES IN NEW YORK CITY




                                    By


                              Lance Freeman
                            Columbia University




                              March 26, 2008




                                                                PLAINTIFF'S
                                                                  EXHIBIT
                                                                     ~



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                                            Abstract

           Adult businesses have often been criticized as nuisances that have deleterious

impacts, including a negative impact on property values, on surrounding neighborhoods.

The study reported here investigates the relationship between businesses in New York

City that feature exotic dancing that have been configured so that 61 percent of the floor

space of the premises is devoted to nonadult uses and the remaining 39 percent is

reserved for adult cabaret dancing (so called "60/40 businesses") and surrounding

residential property values. The study uses conventional social science methods that have

been developed to discern how environmental traits affect property values. The results

indicate that once differences in property characteristics are accounted for; there is

consistent relationship between proximity to a 60/40 business and assessed property

values. Indeed, certain specifications of our statistical models show properties nearer

60/40 businesses had higher assessed values than those further away. These results are

for the most part consistent with the most rigorous studies that have tested the hypothesis

of secondary effects due to proximity to an adult business. For the most part, other

studies employing conventional social science methodology have also failed to find

evidence of secondary effects.




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INTRODUCTION

          Adult businesses have often been criticized as nuisances that have deleterious

impacts, including a negative impact on property values, on surrounding neighborhoods.

According to this school of thought, the social stigmatization of adult businesses due to

the nature of the activities occurring within these businesses spills over into the

surrounding neighborhood thereby stigmatizing this area as well through what are known

as "adverse secondary effects." Among the most widely presumed adverse secondary

effects are decreases in property values as a result of the presence of an adult business.

Based on this secondary effects thesis, a number of municipalities have enacted land use

controls that restrict the location of adult businesses to "protect" surrounding

communities from these negative effects. Several studies have also been conducted

purporting to document the relationship between adult businesses and surrounding

neighborhoods. These studies, however, have generally used unacceptable ad-hoc

methodologies that do not systematically address the fact that properties near adult

businesses might differ from other properties. Thus, the justification for land use controls

for adult businesses rests on scant empirical evidence.

          The study reported here investigates the relationship between businesses in New

York City that feature exotic dancing that have been configured so that 61 percent of the

floor space of the premises is devoted to nonadult uses and the remaining 39 percent is

reserved for adult cabaret dancing (so called "60/40 businesses" due to the fact that at

least 40 percent of the establishment must be devoted to adult use in order to be

considered an "adult business") and surrounding property values. The study uses




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conventional social science methods that have been developed to discern how

environmental traits affect property values. The results of this analysis speak directly to

the veracity of claims regarding the secondary effects of these businesses on surrounding

properties.

                                     BACKGROUND 1

          Since 1976, the United States Supreme Court has decided a series of cases

focusing on whether the free speech clause of the First Amendment allows cities and

states to enact legislation controlling the location of adult businesses. These zoning

regulations (e.g., laws or ordinances that prevent a sex-related business from operating

within a certain number of feet from residences, schools and houses of worship or a given

distance from one another) have been predicated on the notion that cities and other

municipalities have a substantial interest in combating so-called negative secondary

effects on the neighborhoods surrounding adult businesses. These secondary effects have

most often included alleged increases in crime, decreases in property values, and other

indicators of neighborhood deterioration in the area surrounding the adult business.

Typically, communities have either conducted their own investigations of potential

secondary effects or have relied on studies conducted by other cities or localities.

          In the last 25 years, beginning with the 1976 case, Young v. American Mini

Theatres Inc., 21 several United States Supreme Court decisions have provided guidance

as to what constitutes permissible government regulation of the location of adult

entertainment establishments under the free speech clause of the First Amendment. The




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Court has normally subjected ordinances that restrict the location of adult businesses to

an evaluation under the framework for content-neutral restrictions on symbolic speech set

forth in the four-part test in United States v. O'Brien.

           Justice Powell applied the four-part O'Brien test in his concurring opinion in

Young. In this case, the Court upheld a Detroit zoning ordinance that regulated the

location of adult theaters. The ordinance mandated that adult theaters not locate within

1,000 feet of any two other regulated uses or within 500 feet of a residential area. The

Detroit ordinance did not attempt to eliminate adult entertainment; rather its aim was to

disperse such businesses in an effort to minimize so called negative secondary effects. In

upholding this ordinance, the plurality opinion of the Court reaffirmed the doctrine that a

statute (including a zoning ordinance) must have a real and substantial deterrent effect on

legitimate expression before it will be invalidated. The Court said the ordinance was not

an invalid prior restraint on protected expression because it had neither the intent nor the

effect of suppressing speech, but was aimed at controlling the secondary effects caused by

adult businesses on surrounding uses.

           In another landmark decision regarding a municipality's attempt to control

secondary effects allegedly caused by adult businesses, City ofRenton v. Playtime

Theatres, the Court upheld a Renton, Washington, zoning ordinance that, although not

banning adult businesses altogether, did prohibit them from locating within 1,000 feet of

any residential zone, church, park, or school. The Court held that the Renton ordinance

did not restrict First Amendment rights, as the purposes of the ordinance were umelated


1
    This section is based on the author's discussions with Dan Linz of the University of California, Santa




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to the suppression of speech, and the restrictions were the least intrusive means by which

to further the government's interests. Part of the constitutional precedent set forth by the

decision in Renton is· a three prong test stipulating that an ordinance must: 1) be content

neutral and only aimed at curbing secondary effects, 2) provide alternate avenues of

communication, and 3) further a substantial governmental interest.

          It is noteworthy that in this case the Court stated, for the first time, that a city

interested in restricting the operation of adult businesses was not required to show

adverse impact from the operation of adult theaters, but could instead rely on the

experiences of other cities as a rationale for supporting the passage of an ordinance. Prior

to this ruling, the lower Court of Appeals found that"because the Renton ordinancewas

enacted without the benefit of studies specifically relating to the particular problems or

needs of Renton, the city's justifications for the ordinance were conclusory and

speculative".

          The Supreme Court maintained that the Court of Appeals had required an

unnecessary burden of proof on the city. The Court ruled that Renton could rely primarily

on experiences of, and studies produced by the nearby city of Seattle as evidence of a

relationship between adult uses and negative secondary effects. Thus, the Court ruled

that the First Amendment does not require a city to conduct new studies or produce new

evidence before enacting an ordinance, so long as the evidence relied upon is reasonably

believed to be relevant to the problem the city faces.




Barbara, and McCarthy et al. 2001.



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       In later years, the Court has considered the constitutionality of anti-nudity

ordinances passed by municipalities or states that have relied on negative secondary

effects to justify the legislation. The Court in Barnes v. Glens Theater Inc., held that the

State of Indiana could regulate nudity. Justice Souter and a plurality of the Court ruled

that the government could undertake such regulation on the basis of the presumed

negative secondary effects on the surrounding community. More recently, in City ofErie

v. Pap's A.M. the Court again held that municipalities have the right to pass anti-nudity

ordinances. Again, however, the Court was divided. Three Justices agreed withJustice

O'Connor's opinion that combating negative secondary effects associated with adult

businesses was a legitimate basis for the imposition of an anti-nudity ordinance.

       Justice Souter's dissent in the Pap's decision is noteworthy. He significantly

revised the position he took regarding secondary effects in Barnes. In Pap's, Justice

Souter admitted that the evidence of a relationship between adult businesses and negative

secondary effects is at best inconclusive. He called into question the reliability of past

studies that purported to demonstrate these effects and suggested that municipalities

wishing to ban nudity must show evidence of a relationship between adult businesses and

negative secondary effects.

       Most recently, Justice O'Connor joined by the Chief Justice, Justice Scalia and

Justice Thomas concluded that the city of Los Angeles acted reasonably when it relied on

a study it conducted in 1977 to demonstrate that its present ban on multiple-use adult

establishments serves its interest in reducing crime. The Court held that the municipality

might rely on any evidence that is reasonably believed to be relevant for demonstrating a




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comiection between speech and a substantial, independent governmental interest.

However, the Court noted: "This is not to say that a municipality can get away with

shoddy data or reasoning. The municipality's evidence must fairly support its rationale

for its ordinance. If plaintiff's fail to cast direct doubt on this rationale, either by

demonstrating that the municipalities evidence does not support its rationale or by

furnishing evidence that disputes the municipality's factual findings, the municipality

meets the Renton standard. If plaintiffs succeed in casting doubt on a municipality's

rational in either manner, the burden shifts back to the municipality to supplement the

record with evidence renewing support for a theory that justifies its ordinance. See, e.g;,

Erie v. Pap's A.M 529 U.S. 277, 298.

Prior Studies of Secondary Effects

           The Court's opinion in Renton established that cities themselves are not required

to show adverse impact, but could rely on other cities' experiences to establish that a

sufficient government interest was at stake. Since Renton, a number of cities, counties,

and states have undertaken investigations intended to establish the presence of such

secondary effects and their connection to adult facilities. These studies have, in turn,

been shared with other municipalities and generally served as the basis for claims that

adult entertainment establishments are causally related to harmful secondary effects, such

as increased crime and decreases in property values. Many local governments across the

United States have relied on this body of shared information as evidence of the secondary

effects of adult businesses. Further, in most cases, cities and other governmental agencies




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have used the experiences of a core set of studies from other locales as a rationale for

instituting regulation of such businesses in their own communities.

          This recent expansion of the negative secondary effects "doctrine" to include not

only the zoning of adult businesses but now the regulation of the content of expression

within these establishments, begs the question: How reliable and valid are "studies"

conducted by individual municipalities and shared nationwide with other municipalities

attempting to regulate the location of, and most recently, erotic expression within, adult

businesses? ·

          The basic requirements for the acceptance of scientific evidence such as the

secondary effects studies were prescribed by the Supreme Court in the 1993 case of

Daubert v. Merrell Dow. In Daubert, Justice Blackmun held that there are limits on the

admissibility of scientific evidence offered by "expert witnesses" in federal courts. The

Court noted that scientific knowledge must be grounded in the methods and procedures of

science and must be based on more than subjective belief or unsupported speculation.

Offering observations as to how this connection can be made, the Court provided a list of

factors that federal judges could consider in ruling on a proffer of expert scientific

testimony, including: the notion of falsifiability, peer review and publication, error rate,

and adherence to professional standards in using the technique in question.

          It is important to keep these standards in mind when considering the body the

research that has been brought to bear to support. This research is discussed in the

following section. For a full, critical evaluation of the literature, see: Bryant Paul, Daniel

Linz, and Bradley Shafer (2001).




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       The body of social science research sponsored by the 1970 Presidential

Commission on Obscenity and Pornography in the United States was the first systematic

academic foray into the study of the affects of exposure to sexually explicit materials.

Consistent with the more liberal Court rulings in the 1960's, the commission concluded

that there were no scientifically demonstrated harmful effects of pornography and

recommended legalization of all forms of sexually explicit communication.

        Since the 1980s social scientists have extensively tested the feminist socio-legal

theory regarding pornography's effect on attitudes that justify violence towards women,

undermine viewer sensitivity to female victims of rape and violence, and increase

discriminatory behavior. According to one researcher "literally hundreds of studies have

been published in this field ... yet the results of this vast body of empirical work are both

inconclusive and hotly contested (Boyle p.187; See Cumberbatch and Howitt (1989);

Gauntlett (1995,1997) and Miller and Philo (1998) for reviews of this evidence).

       Although social scientists have extensively studied the relationship between

pornography and behavior, there is a dearth of research conducted by social scientists that

tests the secondary effects thesis that under girds much of the land use legislation

restricting the location of adult businesses. Studies have been done, but as will be shown

below, for the most part they have relied on ad hoc methods that do not systematically

address the fact that properties near adult businesses might differ from other properties.

The notion of professional standards described above is suggestive of the use of

techniques that are generally accepted in social science.




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       In social science, the gold standard for establishing causality is the use of an

experiment where one randomly selected group receives a treatment and another

randomly selected control group does not. Because it is hard to imagine a scenario

whereby adult businesses are randomly assigned to certain neighborhoods, some type of

quasi-experimental research design would be necessary to meet the standard of social

science. At a minimum, this would entail some attempt to systematically control for the

possibility that properties close to an adult business might differ from properties not

proximate to an adult business.

       Four studies have been most frequently cited (and relied upon) to establish the

extent of negative secondary effects. These studies, designated by city are: Indianapolis,

IN (1984), Phoenix, AZ (1979), Los Angeles, CA (1977), and St. Paul, MN (1978). These

studies have been cited as evidence of the relationship between adult entertainment

businesses and negative secondary effects by no less than 27 different municipalities

(Bryant, et al, 2000).

        Among the studies, the St. Paul, Minnesota (1978) work represents the most

methodologically sound of all of the empirical research we reviewed. Ironically, given its

widespread use as justification for passing regulations designed to combat secondary

effects, the study does not claim to have found any support for the existence of a

relationship between sexually oriented. adult entertainment businesses and negative

secondary effects.

        The research examined all 76 census tracts within the St. Paul region. They

compared all tracts containing adult entertainment establishments with all of those that




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did not. The study compared levels of neighborhood deterioration, determined by

examining crime counts, housing values, and market and legal influences over the study

period, for study and control areas and maintained a substantial time lag between the first

and second measures of deterioration. Changes in neighborhood climate between the first

and second measures were considered reliable neighborhood changes rather than erratic

fluctuations in social activity.

        The study found no relationship between sexually oriented businesses and

neighborhood deterioration. In fact, the study found that the only factor that was

predictive of neighborhood deterioration was whether an alcohol-serving establishment

operated within the area. No relationship was found to exist between neighborhood

deterioration and the presence of establishments that both served alcoholic beverages and

offered live nude entertainment.

        The Los Angeles, California (1977) study is perhaps the most often incorrectly

referenced of any empirical research investigating the effects of adult oriented businesses

on surrounding areas. Although this study is a frequently relied upon piece of research

cited for establishing the relationship between adult oriented businesses and negative

social repercussions, including deleterious effects on property values, the researchers did

not find any significant support for such a connection.

        The first part of the study was based on the comparison of average property value

changes for five study areas and four control areas. Each of the five study areas was

chosen because it contained a known cluster of adult entertainment businesses. The four

control areas were chosen because of their proximity and supposed similarity to at least




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one of the study areas, and because they did not have an adult entertainment business

operating within their borders. All of the study and control areas were in Hollywood,

North Hollywood, or Studio City.

        In this part of the study, the researchers reported that it was difficult to find any

consistent increase or decrease in property values associated with adult businesses. This

result was based on comparisons that showed that while treatment and control areas both

decreased in average value, there was a far larger decrease in the control (non-adult) area.

Further, treatment (adult) areas increased in value by more than 400% over their

comparable control (non-adult) areas. The researchers concluded that there is

".. .insufficient evidence to support the contention that concentrations of sex oriented

businesses have been the primary cause of these patterns of change in assessed valuations

between 1970 and 1976."

       Another portion of the Los Angeles study used survey results to establish that the

public is strongly opposed to the operation of adult businesses. Importantly, the study did

not obtain a random sample of respondents. Without adherence to this requirement, one

cannot calculate an error rate and the reliability of the results cannot be determined.

       The Indianapolis, Indiana (1984) is probably the report most widely cited by

municipalities as evidence of negative secondary effects. The overall study offered

equivocal findings regarding the supposed relationship between adult businesses and

negative secondary effects. The study contained reports of four separate analyses, each

with significant methodological problems that undercut its reliability. The most striking

example of this was a survey that asked a national sample of real estate appraisers who




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were not from Indianapolis to consider only a hypothetical scenario concerning adult

businesses in an unspecified community.

        The Indianapolis report claimed to have found a substantially smaller increase in

property values for the treatment areas relative to the control areas. However, the

researchers failed to match adequately treatment and control areas for this analysis. The

analysis compared the average home mortgage value and average number of homes sold

for the control and study areas discussed in the first study, as well as those for the center

township area. The study reported that the average mortgage value for the control areas

and central township area increased by 77% and 56% respectively, while the treatment

areas saw only an average increase of 26%. However, vast differences in initial mortgage

values associated with the failure to properly match control and study areas rendered the

two areas far too dissimilar to be considered as suitable comparison groups.

        Other frequently referenced studies by municipalities are reports produced by:

Austin, TX (1986); St. Paul, MN (1987/1988); Amarillo, TX (1977); Detroit, MI (1972);

Beaumont, TX (1982); and, Kent, Washington (1982). The Beaumont, TX (1982) and

Detroit, MI (1972) studies are not empirical. The Beaumont study, for example, is merely

a report prepared by the planning department of that municipality, suggesting a need for

regulation of adult businesses. The remaining four reports failed to meet one or more of

the necessary criteria for a scientifically valid study of adverse secondary effects.

       All of the studies cited claimed to find a negative relationship between adult

businesses and the quality of surrounding neighborhoods. None of the cited studies,




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however, used methodology that systematically addresses the fact that properties near

adult businesses might differ from other properties.

The 1994 City of New York Study

        The City ofNew York (1994) commissioned a study "to determine the nature and

extent of the secondary impacts of adult entertainment uses on communities in the city."

The study also cited the results of several other studies (including several of those

described above) purporting to have examined the link between adult businesses and

property values. All of the studies cited claimed to find a negative relationship between

adult businesses and the quality of surrounding neighborhoods. None of the cited studies,

however, used methodology that systematically addresses the fact that properties near

adult businesses might differ from other properties.

        One of the cited studies (City Planning Commission 1977) speculated that the

proliferation of adult businesses in the Time Square are could be related to disinvestment

in that area without any type of systematic comparison to support this claim. Another

study reported that after the number of adult businesses in the Time Square area was

reduced a number of major investments were undertaken in the area (Office of Midtown

Enforcement (1983). But no comparison of other neighborhoods was included in this

analysis, nor any attempt to consider if other factors could have been responsible for the

investments.

       Another cited study in the City of New York report relied on the impressions of

business owners located near adult businesses to draw the conclusion that the

proliferation of adult businesses was harmful to the community (Chelsea Action Coalition




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and Community Board 4, 1993). The most rigorous of the cited studies compared the

appreciation of assessed values on blocks with adult businesses with assessed value

appreciation on blocks without adult businesses (Insight Associates 1994). This study did

find greater appreciation rates on blocks without adult businesses. Although superior to

the ad hoc approaches described above, it is difficult to ascertain if the control blocks

truly are the same as the blocks with adult businesses, therefore the findings of this last

study should be treated with caution.

        The City of New York's study also included several analyses conducted by the ·

Department of City Planning to ascertainsecondary effects on property values. These

included a survey ofreal estate brokers; the majority of whom were of the opinion that at

distances of 500 feet or 1000 feet, adult businesses would diminish the market values of

properties. Another analysis, using the methodology described above whereby the

appreciation of assessed values on blocks with adult businesses were compared with

assessed values appreciation on blocks without adult businesses found no difference in

appreciation rates between the two different types of blocks. Because of the

shortcomings of this approach that were described above, however, little confidence can

be placed in this result.

The "60/40" Land Use Legislation in New York City

        Despite the problems inherent in the research approach undertaken by the City,

the Department of City Planning adopted a set of regulations developed in 1995 for Adult

use in 1998. These regulations were adopted on the basis of the study conducted by the

Planning Commission had shown that triple-X video and bookstores, adult live or movie




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theaters and topless or nude bars have significant negative impacts on the neighborhoods

in which they are located. These impacts, according to the Planning Commission include

negative effects on economic development and property values (DCP Study at iv -- ix, pp.

56-65). The 1995 regulations were intended to address those adult establishments with a

"predominant, on-going focus on sexually explicit materials or activities."

        In general terms, the 1995 Regulations restrict the permitted locations of such

adult establishments by prohibiting them in all residence districts, certain commercial

districts and manufacturing districts that permit new residential uses; by requiring that

adult establishments be at least 500 feet from such districts; by requiring that each adult

establishment in a permitted location be at least 500 feet from another such

establishment; and by requiring that adult establishments be at least 500 feet from certain

'sensitive receptors' (schools, day care centers, and houses of worship). The

amendments were designed to 'minimize the potential for adverse secondary effects

throughout the city' and protect those areas and uses 'particularly vulnerable to the

negative effects of adult uses."

       The Commission stated that as a general guideline an establishment would need to

have at least 40 percent of its accessible stock and floor area dedicated to adult material in

order to make it similar to the establishments in the Commission study. This guideline

developed into the so-called '60/40' standard embodied in guidelines issued by the

Department of Buildings, the agency charged with enforcement of the guidelines.

       After implementation of the 1995 ordinance a number of adult business owners

reconfigured the premises of their businesses so as to not offer adult entertainment or




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materials in a "substantial portion' of the premises. This reconfiguration may allow the

businesses to operate as nonadult businesses and thus not be required to maintain a buffer

of 500 feet from residences, sensitive receptiors and from other adult establishments.

        For the most part, these alterations, as they have been undertaken for eating and

drinking establishments that feature topless dancing, have included configurations so that

the adult entertainment takes place in a section of the establishment which comprises less

than 40 percent of the establishment's total floor area; To date, it is difficult to determine

exactly how many eating and drinking establishments are operating in this fashion since,

as noted by the Planning Commission, the interior configurations and method of

operation of these establishments are subject to change.

        The City, however, contends that the 60/40 guidelines were never intended to

· apply to eating and drinking establishments and that court rulings "have mistakenly

applied an analysis under which, once it is found that an eating and drinking

establishment 'regularly features' adult entertainment, it must then be determined whether

a 'substantial portion' of the floor area of the establishment is dedicated to that adult

entertainment." (DPC N 010508 ZRY, pg 35). Further, the city noted that there has never

been a finding of fact in any judicial or other enforcement proceeding that adverse

secondary impacts are curtailed through the adoption of a 60/40 configuration by these

eating and drinking establishments.

        The present investigation is concerned with whether adverse secondary effects in

the form of lower property values are associated with eating and drinking establishments




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that have configured themselves according to the 60/40 guidelines. Below we lay out a

conceptual framework for investigating whether these negative effects are present.

CONCEPTUAL FRAMEWORK FOR THE PRESENT ECONOMIC ANALYSIS--

                                  THE HEDONICAPPROACH

        Despite the prevalence of land use regulations that restrict adult businesses,

evidence to support their rationale-that adult businesses negatively impact property

values-., is surprisingly thin.

        Probably the most sophisticated examination of the secondary effects thesis is that

done by McCarthy, Renski and Linz (2001). This study examined whether properties

within one kilometer of an adult business appreciated more slowly than properties further

away within the city of Charlotte, North Carolina. By comparing appreciation rates in a

systematic manner, this study avoids the ad hoc approaches described above. The authors

found "price appreciation rates for housing near adult clubs are at least as high as those

further away in eleven of the twenty study years" (McCarthy et al., 2001, p. 19). The

authors concluded that there was "no evidence that negative secondary effects on house

price appreciation can be found in two decades of housing transactions in Mecklenburg

County, North Carolina" (McCarthy et al., 2001, p. 21).

         A methodology for ascertaining secondary effects that meets the standards of

conventional social science that compliments the method employed by McCarthy et al.

(2001) is employed in the present study. We use the hedonic approach to estimate the

impact of 60/40 businesses on surrounding residential properties. Bedonie models are

regression models that attempt to decompose the value of a property into implicit prices




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paid for each of the various attributes of the property, such as rooms, yard, fireplaces,

maintenance levels, year of construction-as well as attributes associated with the

property's surroundings (Rosen, 1974; Rothenberg et al. 1991). The latter includes

everything from the quality oflocal schools, proximity to shopping, and potentially,

proximity to 60/40 businesses. The notion here is that homes with a different bundle of

attributes will sell for different prices and that a property's sales price can be predicted if

one measures the amount of each attribute and then multiplies that amount by its implicit

price, and aggregates everything. Using the hedonic method each attribute, then, has a

discernible impact on the value of the property. The measurement of the value of each

attribute is accomplished by the use of multivariate regression, which allows us to isolate

and estimate the impact of each characteristic on the property's value while holding

constant potentially confounding factors.

       Bedonie approaches have been used extensively by social scientists to discern the

effect of environmental characteristics of property values. Examples include

investigations of the effect of subsidized housing (Freeman and Botein, 2002; Galster et

al. 1999; Lee et al. 1999; Lyons and Loveridge, 1993; Nourse 1963), landfills (Hite et al.,

2001; Kohlhase, 1991; Nelson et al. 1992), and transit facilities (Huang 1996; Ryan 1999)

on property values.

       Use of a hedonic approach to determine the impact of 60/40 businesses on

property values entails using the value of the property as the dependent variable,

proximity to a 60/40 business as the independent variable, and the characteristics of each

property and its surrounding neighborhood as the control variables. The regression




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coefficients of each variable can thus be interpreted as the impact each of these

characteristics has on the property's value. Therefore, should a regression of property

values on the properties' housing and neighborhood attributes produce a positive and

statistically significant coefficient for the attribute "distance from 60/40 business" this

would suggest the market penalizes proximity to a 60/40 business. This would also be

consistent with the notion that 60/40 businesses have adverse effects on surrounding

neighborhoods, for whatever reason (fear of crime, adversity to nudity, etc.).

Alternatively, if the coefficient for the attribute "distance from 60/40 business" was either

substantively small, negative, or statistically insignificant, this would imply those 60/40

businesses did not have a discernible impact on surrounding properties.

                                    METHODOLOGY

        Thisresearch utilizes the RP AD data obtained from Community Studies of New

York. This data is the record of assessed values of properties in 1998 in New York City

used for tax purposes. Consequently, our analysis will examine the effect of 60/40

businesses on assessed property values. Although assessed values are an estimate of how

the market values a particular property, and hence bound to include some measurement

error, using assessed values does have the advantage of being able to include all the

properties in the study area as part of the analysis. In contrast, an analysis based on actual

sales data will typically include a small nonrandom sample of all properties in a given

year. Whether the observed sales transactions are actually representative of all properties

in a given area is unknown. We limit our analysis to housing properties, as these are the

type of properties likely to be most sensitive to proximity to a 60/40 business.




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        Our analysis examined the effect of 36 New York City 60/40 businesses on

assessed property values. Of the 36, six are in the Bronx, 11 are in Manhattan, and 19 are

in Queens. These businesses were chosen because they had attempted to comply with the

New York 60/40 zoning regulations by devoting the majority of the business floor space

to nonadult activity, thus rendering these businesses not 'predominately" adult use; Table

one lists the clubs included in this analysis and is in the appendix of this report, as are all

subsequent tables.

Model Specification

        In our hedonic models the assessed value of the property is the dependent variable

while the characteristics of the property are considered the control variables. Proximity to

a 60/40 business is the independent variable of interest. To control for the effect of

neighborhood characteristics we used a zip-code level fixed effects approach. Because

some of the 60/40 businesses were close to the zip code boundaries, we also included

those properties that fell outside of the zip code but were within 5,000 feet of a 60/40

business. This means our sample was limited to zip codes within New York City that

have a 60/40 business, or that contain properties within 5,000 feet of a 60/40 business. In

essence we will compare the assessed value of residential properties in proximity to a

60/40 business with other residential properties not in proximity to a 60/40 business but

within the same zip code, or within 5,000 feet of the zip code boundary. Our dependent

variable is the log of the assessed value per unit.

        According to the secondary effects thesis, properties in proximity to a 60/40

business should be stigmatized and consequently be valued less than otherwise similar




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properties further away from a 60/40 business. Therefore, we use distance in feet from a

60/40 business as the independent variable. If the secondary effects hypothesis is correct,

this variable should be positive, meaning property values are higher as one moves further

away from a 60/40 business, statistically significant, and substantively large.

       A distance measure assumes a linear relationship between proximity to a 60/40

business and property values. It is possible, however, that the relationship is nonlinear,

and the relationship between 60/40 businesses and property values only manifests itself at

certain distances. Unfortunately, the theory is silent on the functional form of the

relationship between proximity to a 60/40 business and property values. Therefore, we

attempted the following specifications:

    1. A dummy variable taking on a value of 1 if a 60/40 business is within 500 feet,

       and equal to 0 otherwise.

    2. A dummy variable taking on a value of 1 if a 60/40 business is within 1000 feet,

       and equal to 0 otherwise.

    3. A dummy variable taking on a value of 1 if a 60/40 business is within 2000 feet,

        and equal to 0 otherwise.

        Although these distance designations are somewhat arbitrary, these distances were

cited by a majority ofreal estate brokers (80% cited 500 feet and 54% 1000 feet) in one

study as distances within which the negative secondary impacts of adult businesses would

be observed; Beyond 1000 feet, only 25% of the real estate brokers believed an impact

would be observed (Department of City Planning 1994). Thus to the extent secondary

effects exist, it seems reasonable to assume that they should observed within 1000 feet.




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Nevertheless we include a 2000-foot specification as an additional robustness check.

According to the secondary effects thesis these variables should be negative, meaning

properties within the distance rings have lower values, statistically significant, and

substantively large.

       An additional non-linear specification that was attempted was a quadratic

specification which entails including a squared term for the distance measure. This

quadratic specification does not restrict the relationship between 60/40 businesses and

property values to a linear one, but rather allows for the possibility of decreasing or

increasingretums to property values as a result of 60/40 business proximity. According

the secondary effects thesis the net effect of the distance measure and its squared

counterpart should be substantially large, statistically significant and positively related to

the property values prices (meaning the further one is away from a 60/40 business the

higher the property values).

       Some properties are proximate to more than one 60/40 business and this raises the

possibility that a concentration of 60/40 businesses might to exert a stronger nonlinear

impact on surrounding properties than a single 60/40 business. To explore this possibility

we also attempt three specifications indicative of proximity to a concentration of 60/40

businesses at varying distances. These independent variables were specified as follows:

        1.        A dummy variable equal to one if the property is within 500 feet of

                  more than one 60/40 business, and equal to 0 otherwise.

       2.         A dummy variable equal to one if the property is within 1000 feet of

                  more than one 60/40 business, and equal to 0 otherwise.




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        3.        A dummy variable equal to one if the property is within 2000 feet of

                  more than one 60/40 business, and equal to O otherwise.

        The secondary effects thesis predicts that these dummy variables will be

statistically significant, substantively large, and negative, meaning properties within the

distance rings of respective concentrations of 60/40 businesses have lower values.

        We thus have eight (8) specifications of a model of the relationship between

proximity to a 60/40 business and property values. The secondary effects thesis suggests

the independent variables· should be statistically significant and substantially meaningful.

The conventional 95% level of confidence will be used to determine statistical

significance.

        One of the assumptions of the Ordinary Least Squares (OLS) regression model

estimation is that the stochastic error £ is independent and identically distributed. If the

error term were independently distributed it would imply that the value of a given

property in say area A would be unrelated to the value of another property in say area B.

However, in our conceptual framework we argue that real property may indeed be

affected by surrounding neighborhood attributes including the value of adjacent

properties, which is a violation of£ being independently distributed. So to correct for this

autocorrelation of £described above, as well as any violation of the assumption that £is

identically distributed, we estimate our models using the Huber/White/Sandwich

corrected standard errors.

        Table two lists the definitions of the variables used in the analysis and Table·

Three provide descriptive·statistics.




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Results

        The first set of results we present are simple comparisons of assessed property

values between properties proximate to a 60/40 business and properties further away.

This is a nai"ve approach that does not consider if the properties close to a 60/40 business

are systematically different from other properties. Although nai"ve, it can still be quite

informative by shedding light on the nature of the relationship and that which is likely to

be observed. If properties near 60/40 businesses were assessed at lower values than other

properties this would explain the perception that the 60/40 businesses lower property

values. This would not be a very convincing argument of causality, as it does not control

for differences in property characteristics, but it would at least explain the perception.

       The results presented in Table four, provide little evidence on the existence of

secondary effects. The second row suggests properties within 500 ft of a 60/40 business

have assessed values that are substantially lower than those outside this distance

threshold.   This difference, however, is not statistically significant. As the threshold

distance increases to 1000 feet the relationship between proximity to a 60/40 club

reverses. Properties within 1000 feet actually have higher assessed values, although this

difference is not statistically significant. At 2000 feet the properties further from 60/40

businesses had lower mean values than those within the 2000 foot threshold and this

result was statistically different from zero. Taken together the bivariate analyses are

inconsistent with the secondary effects thesis. The only statistically significant difference

found properties within 2000 feet of a 60/40 businesses having higher assessed values

than those further away. But this simple bivariate comparison does not take into




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consideration the possibility that properties within 2000 feet of a 60/40 business could be

systematically different from other properties. Consequently, this apparent relationship

does not make a convincing case for causality.

Multivariate Results

        The multivariate analyses allow us to come closer to establishing whether any

causal relationship between 60/40 businesses and property values exist because

differences in the physical characteristics of the properties are controlled for. In addition,

by using a zip-code level fixed effects approach we hold constant any difference that

could be due to neighborhood characteristics. We discuss only the results for the

independent variables of interest, proximity to a 60/40 business, and for the first model

discussed measures of goodness of fit for the entire model. The measures of goodness of

fit for subsequent models were essentially the same as for the first model discussed, hence

for the entire models.

        The first set ofresults is presented in the second and third columns of Table Five

and use the distance in feet from a 60/40 business as the independent variable. The

regression coefficient for this variable can be interpreted as meaning that for every

additional 100 feet away from a 60/40 business, property values decrease by .00283

percent. Although this result is statistically significant, the magnitude of this relationship

is so small as to be substantively unimportant. The direction of the relationship is also

inconsistent with the secondary effects thesis that postulates a detrimental impact on

property values exerted by 60/40 businesses. Here proximity to a 60/40 business is




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associated with higher albeit only modestly higher property values. This finding directly

contradicts the secondary effects thesis.

        The model as a whole performs fairly well. The F-statistic indicates the

independent variables taken together have a statistically significant relationship to the

dependent variable. As indicated bythe R2 the model explains approximately 70% of the

variation in assessed property values. The models discussed below are also statistically

significant and similar in explaining approximately 70% of the variation in assessed

property values.

        To examine the possibility that the relationship between a 60/40 business and

property values is nonlinear, the next set of results includes a squared term for the

distance measure. The results of this nonlinear specification are presented in columns

four and five in Table Five. The p-values show that neither the distance variable nor its

squared counterpart is statistically significant. This suggests that whatever the

relationship between proximity to 60/40 businesses and property values, it is not captured

by quadratic specification.

        Table Six uses dummy variables representing rings of 500, 1000, and 2000 feet

away, respectively, from a 60/40 business. These results are presented in the second and

third, fourth and fifth, and sixth and seventh columns, respectively of Table Six. The

statistically significant coefficients in columns two and four show that properties within

500 feet of a 60/40 business sold for an 11 % premium, while properties within 1000 feet

sold for an approximately three percent premium. The last two columns of Table Six

show there was no statistically significant difference between property values within 2000




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feet of a 60/40 business and those further away. As a whole, the results in Table Six are

inconsistent with the secondary effects thesis. The relationships that were statistically

significant indicate proximity to 60/40 businesses is associated with higher property

values, the opposite of what the secondary effects thesis would predict.

           The final set of results is presented in Table Seven. These models test the

relationships between proximity to concentrations of 60/40 businesses within 500, 1000,

and 2000 feet, respectively. The second and third columns show properties within 500

feet of more than one 60/40 business had 12% higher property values than those beyond

500 feet of more than one 60/40 business. The fifth and sixth columns do not show a

statistically significant relationship whereas the sixth and seventh column show a

statistically significant and negative relationship between properties within 2000 feet of

more than one 60/40 business and those beyond 2000 feet. That is, properties within

2000 feet of more than one 60/40 business had assessed values that were nine percent

lower than other properties, ceterius paribus.

           The findings presented in Table Seven are somewhat contradictory. On the one

hand, properties within 500 feet of a concentration of 60/40 businesses had higher values

compared to those beyond 500 feet. In contrast, properties beyond 2000 feet had higher

property values than those more proximate to 60/40 businesses. And the test of more

than one property within 1000 feet was not statistically significant. Taken together, we

can only infer that the relationship between concentrations of 60/40 businesses and

property values is not particularly robust. Different specifications yield vastly different

results.




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       In sum, the results of these analyses provide little evidence to support the

secondary effects thesis, which states adult businesses have a negative impact on property

values. In only one of eight models presented were the relationships statistically

significant, substantively meaningful and in the direction the secondary effects thesis

would suggest. Moreover, in several of the models proximity to a 60/40 business was

associated with higher property values.

                                      CONCLUSIONS

       The methodological approach used here, the hedonic methodology, is the method

most widely used by social scientists to answer the question of how a neighborhood

attribute, such as a 60/40 business, affects property values. The validity of the modeling

method has been established through peer-reviewed research published in leading

housing research journals. The model is estimated using an extensive, publicly available

data set. The data captures all assessed properties in New York City. Thus, the study

presented here meets the requirements established by the Court for admissibility of

scientific evidence.

       The results indicate that once differences in property characteristics are accounted

for, there is no consistent significant difference. in the assessed values of properties near a

60/40 businesses and those further away. Indeed, it was more often the case that

properties proximate to 60/40 businesses had higher assessed values than those further

away, a relationship in direct contradiction to the secondary effects thesis.

       The findings of this study cast doubt directly on the City's assumption that

adverse secondary impacts are associated with 60/40 configuration eating and drinking




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establishments. The present investigation examined whether adverse secondary effects in

the form of lower property values are associated with eating and drinking establishments

that have configured themselves according to the 60/40 guidelines. The results indicate

that once differences in property characteristics are accounted for, there is no consistent

significant difference in the assessed values of properties near a 60/40 businesses and

those further away. These findings would seem to suggest that the burden is now upon

the City to demonstrate that their original contention about these businesses and negative

secondary effects is, in·fact, conect.

General Applicability of the Findings

        These results are for the most part consistent with the most rigorous studies that

have been tested the hypothesis of secondary effects due to proximity to an adult business

(e.g., McCarthy et al. 2001). For the most part, other studies employing conventional

social science methodology have also failed to find evidence of secondary effects.

        This study by itself, however, cannot be taken to be the final word on secondary

effects. First, the analysis presented here is limited to one city. Thus, the results may not

be generalizable to other parts of the country. Second, this analysis only examines

property values at one point in time. Despite these drawbacks, one can still conclude that

the evidence presented here is inconsistent with the secondary effects thesis.

        Since a core set of studies have been, and continue to be, relied upon by hundreds

oflocal municipalities as evidence of negative secondary effects, a central concern must

be the methodological rigor, and therefore trustworthiness, of these studies. This is

particularly true given the precedent the Supreme Court established that a municipality




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must show that such regulations are necessary to further the governmental interest of

ameliorating secondary effects.

       In this paper we have indicated that there is reason to challenge the assumption

made by communities across the United States that past studies of secondary effects show

an empirical relationship between adult businesses and negative effects. There is also no

legitimate basis for extending the secondary effects doctrine to the regulation of

expression within adult businesses based on these studies. The study has provided a

method for measuring secondary effects of proximity to adult establishments.

Application of the method shows no evidence that negative secondary effects on assessed

property values in New York City.




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                              APPENDIX




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  Exhibit 12 (November 16-17, 2006, Focus Probe Inc., "Perceived Differences
  Between Adult Entertainment Clubs With 'Subdued Facades' vs. 'Loud Facades')
  (Pages 1559 Through 1576)

                                 EXHIBIT




             Perceived Differences Between
             Adult Entertainment Clubs With
              "Subdued Facades" vs. "Loud
                        Facades"


                     Market Research_ Study
             Conducted in NYC November 16-17, 2006
                       By Focus Probe Inc.
                        New Milford, CT




                                                       NY Project Report, 2006 12




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                         Market Research Objective
 Focus Probe lnc. ("Focus Probe") was commissioned to conduct market research by the lawyer
 representing Pussycat Lounge, Inc. and others in a case pending in the Supreme Court for the
 State of New York, County of New York, litigating the constitutionality of the City of New York
 Zoning Resolutions relating to Adult Entertainment. The study design and questionnaire were
 prepared in conjunction with Professor Bryant Paul of Indiana University.
 Focus Probe was infonned that Pussycat Lounge and many similar businesses originally operated
  adult cabarets with loud garish exterior signage and most, if not all, of the interior floor space
 was devoted exclusively to the presentation of the form of adult entertainment commonly lmown
  as "topless" or "nude" dancing. Focus Probe was further informed that following ce1iain
 amendments to the City's zoning resolution, Pussycat Lounge and these other businesses
 modified their exterior signage and remodeled their interior space, changing them in two
 important respects: (1) modifying the exterior signage so as to significantly de-emphasize or
 eliminate any ongoing focus on the "topless" or "nude" nature of the ente1iainment being
 presented; and (2) reducing the amount of space devoted to such "adult" ente1iainment to less
 than 40% of the floor space of the pre-existing cabaret and developing the other 60+% of the
 floor space for a variety of non-adult business purposes, not involving "topless" or "nude"
 dancing or other fo1ms of "adult" entertainment.
 Given these assumptions, the objective of my study was to determine whether the change to
 lower profile sign age, standing alone, was likely to have a significant impact on the perception of
 New York City residents concerning the guality of lify in the neighborhoods in which such
 businesses operated.
For purposes of this study, New York City residents were shown pairs of photos of a single club,
with one version showing a "subdued facade" (virtually identical to the type of facade presently
operated by at least one of the current 60-40 businesses) and another photo of the same club but
computer-modified to show a "loud facade" with signage and graphics created to be consistent
with the appearance of most of these businesses before their conversion. The respondents were
not told anything concerning the nature of the business activities occuning within each club, but
were asked to indicate their perceptions based solely on the perceived differences in the exterior
appearances of the loud and subdued facades.

Market Research Method
This study was conducted using the "Street Intercept" method of approaching individuals in
public spaces. Adults age 18+ were intercepted in parks and other leisure spaces in New York
City and asked to participate in a study about the quality of life in New York by interviewers
dressed in distinctive red jackets to make clear that this was a legitimate study and not a sales
intrusion.
The study was conducted on November 16 and 17, 2006, by a team of 12 young men and women
working in Bryant Park and Union Square in Manhattan and on Flatbush Avenue in Brooklyn.
Each interviewer was instructed to approach adults 18+ to fill out the questionnaire and to avoid
discussing it or biasing the results. Respondents who did not live in the five boroughs of New
York City were thanked and excluded from the study.



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Research Design
Respondents were presented a folder with a questiom1aire and just one pair of photos of city
street scenes for their reaction and comparison. To totally eliminate the variables of showing
different clubs and different street scenes, the same street and location were used for each
separate pair of clubs, with a total of three different streets and locations being used in all. Each
pairing was based on the outward appearance of a currently existing club, though subject to
computer-generated photographic modifications so the real names of the clubs would not be
used.
The "Subdued facade" club was shown essentially as it is today, but with a fictitious name.
Using the same scene and the same name, the photo for the "Loud facade" club was digitally
altered to show sexually oriented signs and provocative graphics which we were told were
typical of clubs in NYC prior to attempts to comply with 60-40 regulations in 1998.     ·
To expose the sampling group to a variety of clubs, the sample of 651 individuals was divided
into three segments of200 or more respondents each. Each respondent saw only one set of the
three pairs of photos.
       One segment was exposed to a pair of photos of a club renamed "Player."
   The second segment was exposed to a pair of photos of a club renamed "Frills"
                                                                                         1
   The third segment was exposed to a pair of photos of a club renamed "Winners."
   To eliminate order bias, each pair of clubs was shown half the time with the "Subdued
   facade" club first and half the time with the "Loud:facade" club first.
Questionnaires were color coded to match with the appropriate pair of photos.




   1
    In the real world, the club depicted as "Player" is actually a club named "YIP Club",
                       th
  located at West 20 in Manhattan; the club depicted as "Frills" is actually a club named
  "Lace", located on ih in Manhattan; and the club depicted as "Winners" is actually a club
                                      th
  named "Scores", located at East 60 St. in Manhattan. The original photos of these three
  "real world" clubs, which served as the models for this study, are reproduced on the final
  page of this rcp01i.




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Questions
Respondents were each given the following five questions, asking them to view the pair of
photos and compare and contrast their perceptions of the "Subdued facade" club with the "Loud
facade" version of the same club:
      1.      Based only on these pictures, which of the immediately SUITOtmding
      neighborhoods do you think is more likely to have a better overall quality of life?
       2.   Based only on these pictures, in which neighborhood do you think it would be safer
      to walk down. the street?
      3.    Suppose you lived in or near each of these two neighborhoods. Based only on these
      pictures, in which neighborhood do you think you would prefer to continue living?.
      4.   .Based only on these pictures, in which of these two neighborhoods do you think the
      average person would rather continue living?
     5.   Based only on these pictures, and assuming all of the stores in each neighborhood
     were exactly the same, in which of these two neighborhoods do you think yo1i would be
     more likely to go shopping?
(A sample of the actual questionnaire is included as an exhibit.)




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       Sample Composition
       The total sample for this study was 65 l adults. Some respondents skipped demographic questions in this self-
       administered questionnaire.


              By Place of Residence
                     Manhattan                  228
                     Brooklyn                   212
                     Bronx                       65
                     Queens                      89
                     Staten Island               21
                     No answer                   36

              By Gender
                    Male                        276
                    Female                      254
                    Skipped question            121
                                                                           ~-                                                       ~
                                                                                                                                    Ul
                                                                                                                                    0-,,
                                                                                                                                    ~
               By Age
                      18-40                     355
                      40+                       190
                      Skipped question          106




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       Summary of Findings
                 •   A clear majority thinks neighborhoods pictured with "Subdued facades" would have a Better Quality of
                     Life than those pictured with "Loud facade" clubs
                        o    68% selected "Subdued facade" clubs as much more or somewhat more likely to have a Better
                             Quality of Life
                        o    Only 14% selected "Loud facade" clubs; I 8% think there is no difference
                 •   A majority said neighborhoods pictured around "Subdued facade" clubs look safer
                        o    64% think "Subdued facade" club neighborhoods look safer compared to only 10% for "Loud
                             facade" clubs. 26% said there looks like no difference
                 •   A majority (65%) would prefer to continue living in a neighborhood with a "Subdued facade" club than a
                     "Loud facade" club, compared to only 10% who would prefer living near a "Loud facade" club.
                        o    26% would not find either any more or less favorable than the other
                 •   A majority (63%) thinks the ave~age person would pr~~er to continue living in a neighborhood with a
                                                                                                                                     )-I.
                     "Subdued facade" club vs. a "Loud facade" club, compared to only 14% who think the average person
                     would prefer living near a "Loud facade" club.                                                                  Ul
                                                                                                                                     O'I
                                                                                                                                     .i;:...
                 •   59% would be more likely to go shopping in a neighborhood pictured with a "Subdued facade" club than a
                     "Loud facade" club
                         o   23% would be equally likely to shop in either neighborhood; only 17% would shop in a "Loud
                             facade" club neighborhood
                 •   Photos of the club named "Frills" (Lace on 7ili Avenue) used "A Gentlemen's Club" on the marquee.
                     Results were identical to clubs not using the "Gentlemen's Club" description;
       Results were remarkably consistent by gender and age.
       Q. 1: Based only on these pictures, which of the immediately surrounding neighborhoods
       do you think is more likely to have a better overall quality o(life?


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                       •   Two-thirds surveyed (68%) think the neighborhoods pictured with "Subdued facade" clubs are more likely
                           to have a better overall quality of life than the neighborhoods pictured with "Loud facade" clubs
                       •   About 18% think there would be no difference whatsoever
                       •   Only 14% thought neighborhoods pictured with "Loud facade" clubs would have a beuer overall quality of
                           life
                       •   Results are consistent among both males and females and both those younger and older
                       •   Those exposed to photos of"Frills" and "Winner" as "Subdued facade" clubs were slightly more favorable
                           than those exposed to "Player" club, which looked darker than the other two

                                                    Total       Player   Frills   Winner    Males    Females      Age       Agel
                                                                 Club     Club      Club                         18-40      40+
           SA.lvfPLE                                  651          203     222       226       276       254       355       190
                                                    100%           100   100%      100%      100%      100%      100%      100%
           "Subdued facade" Nei!:•hborhood
             Looks Much More Likely                  49%         39%      57%       50%       51%       50%       50%       52%
            Looks Somewhat More Likely               19%         22%      16%       20¾       17%       20%       18%       16%
                Subtotal 60/40 Neighborhood          68%         61%      73¾       70%       68%       70%       68%       68%
       I                                                                                                                              ~

           Looks like No difference Whatsoever       18¾          24%     15%       16%       15%       20%       16%        20%      Ul
                                                                                                                                      Cf's
                                                                                                                                      Ul
           "Loud facade" Nei!>hborbood
            Looks Somewhat More Likely                 4% i        5%      ]%         5%       4%        3%        4%         4%
            Looks Much More Likely                    10%         10%     11%         9%      13%        7%       11%         9%
                Subtotal 100% Adult                   14% i       15%     12%        14%      17%       10%       15%        13%
           No Answer                                        I




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           Q. 2: Based only on these pictures, in which neighborhood do you think it would be safer
           to walk down the street?

                     •   A majority, 64%, think neighborhoods pictured around "Subdued facade" clubs would be safer
                     •   26% think there would be no difference in perceived safety
                     •   Only 10% think the neighborhoods pictured with "Loud facade" clubs would be safer, perhaps because
                         there might be more pedestrians and activity
                     •   Results were consistent by gender and age

                                                     Total   Player     Frills    Winner     Males   Females     Age       Age
       I                                                      Club       Club         Club                      18-40       40+
       I SAlvfPLE                                I
                                                 I     651     203        222        226      276        254      355       190
                                                     100%       100     100%       100%      100%      100%     JOO%      100%
           "Subdued facade" Neighborhood
            Looks Much Safer                         47%       37%       49%          54%     48%       48%      46%       51%
             Looks Somewhat Safer                    17%.      22%       14%...       17%     16%       18%      17%       15%       )-1.
                Subtotal 60/40 Neighborhood          64¾       59%       63%          71%     64%       66¾      63%       66%       u-.
                                                                                                                                     O'\
           Looks like No difference Whatsoever        26%      30%       32%          16%     24%       25¾       26%       25%      O'\

           "Loud facade" Neighborhood
            Looks Somewhat Safer                       3%       3%         1%           4%     3%        2%        4%         1%
            Looks Much Safer                           7¾       8%         4%           9%     8%        7%        7%         8%
                Subtotal 100% Adult                   10%      11%         5%          13%    11%        9%       11%         9%
           No Answer




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       Q. 3: Suppose you live in or near each of these two neighborhoods. Based only on these
       pictures, in which neighbc:rhood do you think you would prefer to continue living?

                  •    A majority, 63%, would prefer to continue living in neighborhoods pictured around "Subdued facade"
                       clubs vs. "Loud facade" clubs
                  •    An average of26% would not find either any more or less favorable than the other
                  •    Only l 0% would prefer to live in neighborhoods pictured around "Loud facade" clubs
                                               I
                                               I       Total'   Player   Frills   Winner   Males   Females        Age       Age
                                               I                 Club     Club      Club       ·--~-
                                                                                                                 18-40      40+
       SAMPLE                                            651       203     222       226     276         254       355       190
                                                       100%        100   100%      100%    100%        100%      100%      100%
       "Subdued facade" Neiehborhood
        Prefer to continue living Much More             46% I    37%      49%       54%     48%        48%        46%       51%
         Prefer. .. Somewhat More                       17%.     22%      14%       17%     16%        18%        17%       15%
                                                                                                                                      ~
             Subtotal 60/40 Neighborhood                63%      59%      63%       71%     64%        66%        63%       66%
                                                                                                                                      Ul
                                                                                                                                      Cf--.,
       Neither more or less favorable                   26%       32%     32%       16%     24%         25%       26%       25%       ---l

       "Loud facade" Neiehborhood
        Prefer. .. Somewhat More                         2%        3%       1%       4%      3%          2%        4%         1%
         Prefer to continue living Much More             8%        8%       4%       9%      8%          7%        7%         8%
             Subtotal 100% Adult                        10%       11%       5%      13%     11%          9%       11%         9%
       No Answer                                   I
                                                   I     1%        2%       1%               1%                               1%




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            Q. 4: Based only on these pictures, in which neighborhood do you think the average person
            would prefer to continue l~ving?

                       •    A majority, 64%, think the average person would prefer to live in a neighborhood pictured with a
                            "Subdued facade" club rather than one with a "Loud facade" club
                        •   22% think the average person would not find either neighborhood any more or less favorable than the
                            other
                        •   Only 14% think the average person would prefer the "Loud facade" club neighborhood

                                                      Total I   Player     Frills   Winner     Males   Females      Age        Age
                                                                 Club       Club      Club                         18-40       40-+
            SAMPLE                                      651        203       222       226      276        254       355        190
                                                      100%         [00     100%      100%      100%      100%      JOO%       100%
            "Subdued facade" NeiPhborhood
              Avg. person prefer Much More             45%       37%        50%       49%       49%       45%        45%          53%
       !
              Avg. person prefer Somewhat More         18%       22%        14%       18%       14%       19%        16%          14%
                                                                                                                                        ......
                  Subtotal 60/40 Neighborhood
                                                                                                                                        Ul
                                                       63%,      60%        64%       67%       63%       64%        61%          67%   a-..
       iI                                                                                                                               00
            Neither more or less favorable             22%        28%       19%       19%       20%        22%       23%          19%

            "Loud facade" NeiPhborhood
             Avg. person prefer Somewhat More            4%   3%             3%         5%        4%        4%        4%           3%
              Avg. person prefer Much More              10%   9%            12%         9%       12%        9%       11%          10%
                                                           ·-·
                 Subtotal 100% Adult                    14%  12%            15%        14%       16%       13%       15%          13%
            No Answer                                    1%                  2%                   1%        !%        1%           1%




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       Q. 5: Based only on these pictures, and assuming all of the stores in each neighborhood
       were exactly the same, in ,which of these two neighborhoods do you think you would be
       more likely to go shopping?

                   •   A majority, 59%, would be more likely to shop in neighborhoods pictured with "Subdued facade" clubs
                   •   23% would be equally likely to shop in either neighborhood
                   •   17% would be more likely to shop in neighborhoods around the "Loud facade" clubs

                                                 Total    Player     Frills   Winner    Males   Females       Age       Age
                                                           Club      Club       Club                         18-40      40+
       SA.i\1PLE                                  651        203      222        226      276       254       355        190

       "_Subdued facade" Neiehborhood
         Much more likely to go shopping         44%        37%       52%       41%       40%       49%       43%       48%
                                                                                                                                   )-i.
         Somewhat more likely to shop             15%       19%       10%       16%       14%       13%       12%       14%
            Subtotal 60/40 Neighborhood           59%       56%       62%       57%       54%       62%       55%
                                                                                                                                   t.ll
                                                                                                                        62%        O'I
                                                                                                                                   \0
       Looks like No difference Whatsoever        23%       28%       20%       22%       22%       23%       27%       19%
                                             I
       "Loud facade" Neighborhood                                                                                              '
        Somewhat more likely to shop               4%        4%        1%        8%        5%        4%        4%        4%
        Much more likely to go shopping           13%       12%       15%       13%       18%       11%       14%       13%
            Subtotal 100% Adult                   17%       16%       16%       21%       23%       15%       18%       17%
       No Answer                                   1%                  2%                  1%                            2%




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                                      Interviewer: Your initials:_ _ _ _ Location: _ _ _ _ _ __
                                                                   Match photo codes to questionnaire color
                                   ) white IO I above vs. 20 I below,     ( ) blue 20 I above vs. l OI below
                               ( ) pink 301 above vs. 40 I below,      ( ) yellow 40 I above vs. 30 I below
                                 ( ) buff50I above vs. 601 below,         ( ) gray 601 above vs. 501 below



    Thank you for taking part in this survey about neighborhood life in NYC.
    This survey is only for residents of New York City. In which borough do you live? [
    Manhattan, [ ) Bronx, [ ) Queens, [ ]Brooklyn, [ ]Staten Island
    Is your age [ J I 8 to 40 or [ ] 40+?        Male [ J or Female [ J

           Please compare these two pictures. Each shows a business located within a
    neighborhood. Answer the following questions related to the possible impact either of these
    businesses may have on their surrounding neighborhoods.

    Check only one answer {or each question.

      I. Based only on these pictures, which of the immediately surrounding neigh-borhoods do
     you think is more likely to have a better overall quality oflife?
                                                                               Check only one
     a) The neighborhood above looks much more likely
                            to have a better quality oflife                               [ J
     b) The neighborhood above looks somewhat more. likely
                            to have a better quality of life.                             [ ]
     c) lt looks like there would be no difference whatsoever
                            in the quality of life in these two neighborhoods.
     d) The neighborhood below looks somewhat more likely
                           to have a better quality of life.
     e) The neighborhood below looks much more likely
                           to have a better quality of Ii fe.                             [ J

     2. Based only on these pictures, in which neighborhood do you think it would be safer to
     walk down the street?
                                                                             Check only one
                a) Neighborhood above looks much safer.                                  [ )
                b) Neighborhood above looks somewhat safer.                              [ J
                c) It looks like there is no difference whatsoever
                    in the level of safety in the two neighborhoods.                     [ )
                d) Neighborhood below looks somewhat safer.                              ( ]
                e) Neighborhood below looks much safer.                                  ( ]




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                                                                    Perception and Reality    28


  3. Suppose you lived in or near each of these two neighborhoods. Based only on these
  pictures, in which neighborhood do you think you would prefer to continue living?
                                                                          Check only one
  a) I would prefer to continue living in neighborhood above much more.              [ ]
  b) I would prefer to continue living in neighborhood above somewhat more.          ( l
  c) I would not find either any more or less favorable than the other.              [ l
  d) I would prefer to continue living in neighborhood below somewhat more.          [ l
  e) I would prefer to continue living in neighborhood below much more.              [ l

 4. Based only on these pictures, in which of these two neighborhoods do ypu think the
 average person would rather continue living?
                                                                            Check only one
 a) J think the average person would prefer to continue living
        in neighborhood above much more.                                               [ ]
 b) I think the average person would prefer to continue living
        in neighborhood above somewhat more.                                           [ ]
 c) l think the average person would not find either neighborhood
      any more or less favorable than the other.                                       ( J
 d) 1 think the average person would prefer to continue living
        in neighborhood below somewhat more.                                           ( ]
 e) I think the average person would prefer to continue living
       in neighborhood below much more.                                                ( ]


 5. Based only on these pictures, and assuming all of the stores in each neighborhood were
 exactly the same, in which of these two neighborhoods do you think you would be more likely
 to go shopping?
                                                                           Check only one
 a) I would be much more likely to go shopping in neighborhood abpve.                 ( l
 b) I would be somewhat more /ike/v to go shopping in neighborhood above,             [ l
 c) I would be equally /ike/)'__to shop in either neighborhood.                       ( ]
 d) I would be somewhat more /ikelv to go shopping in neighborhood below.             [ l
 e) I would be much more /ikelv to go shopping in neighborhood below.                 ( l

 Thank you for participating




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                                                                  MUST BE 21 TO ENTER




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Lace, 7th Avenue & 47th Street, NYC, Sep. '06




VIP Club, 20 W. 20 St., NYC, Sep, '06




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Scores, East 60th Street, NYC, Sep ‘06




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Going out in building boom, New York mayor pushes plans, 2013 WLNR 31428296




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                                    December 17, 2013


            Going out in building boom, New York mayor pushes plans

                                   CHARLES V. BAGLI

Bloomberg administration officials are determined to finish public reviews for a
number of "legacy projects" before Mayor Michael R. Bloomberg leaves office.

The Bloomberg administration has been pushing through more than $12 billion
worth of real estate projects in its waning days, trying to solidify the mayor's claim
to having transformed the face of New York City and lock in plans before Bill de
Blasio takes over on Jan. 1.

The gusher of projects recently approved or on track for approval in Mayor
Michael R. Bloomberg's final days include an outlet mall and a giant observation
wheel on Staten Island, totaling $580 million, and a relatively modest $16 million
building in Manhattan with 55 experimental micro-apartments, as well as a $2
billion residential complex on the Brooklyn waterfront and the country's largest
indoor skating complex, to be built in the Bronx.

Mr. Bloomberg has sought to remake the city's landscape for the 21st century,
pushing for higher-density development and higher-quality design and opening
up the city's vast waterfront to new residential, recreational and commercial uses.
Nearly 40 percent of the city has been rezoned during the mayor's 12 years in office.

The man spearheading the efforts, the deputy mayor Robert K. Steel, and other
officials have made it clear to the City Council, as well as to the real estate and




                                           JNR-001496
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Going out in building boom, New York mayor pushes plans, 2013 WLNR 31428296



construction industries, that they are determined to finish public reviews for a
number of "legacy projects" before Mr. Bloomberg leaves office.

The projects, which will begin construction well after Mayor-elect de Blasio takes
office in January, also bind the new mayor to the old mayor's agenda, at least
for a while. By Dec. 31, some projects, like a $1.2 billion Hudson Yards office
tower complex and a $1.7 billion Hunter College and Memorial Sloan-Kettering
Cancer Center complex, will have reached the point that they cannot be stopped
or modified.

Others, like a soccer stadium in the Bronx, a Coney Island amphitheater and a
residential complex at the former Domino sugar factory in Brooklyn, could still
be halted or changed. The Domino project has won widespread support, but Mr.
de Blasio has expressed "serious concerns" about a proposed $350 million soccer
stadium near Yankee Stadium because the Bloomberg administration planned
to provide the soccer team's wealthy owners with public resources, including tax
exemptions.

The Bloomberg administration has also granted tax breaks worth tens of millions
of dollars for the first phase of the $3 billion Willets Point project in Queens, for
a proposed office tower on the West Side of Manhattan and for the outlet mall on
Staten Island.

"They made no secret about the fact that they're working very hard to lock in a
number of major projects for the future," said Brad Lander, a councilman from
Brooklyn. "De Blasio said everything will be reviewed. But some things can be
reviewed and changed more than others."

For his part, Mr. de Blasio, who was the city's public advocate before being elected
mayor, opposed few projects during the Bloomberg era and embraced the notion of
high-density development near transit centers. But he has made it clear that he will
drive a harder bargain with developers to get the best deal for taxpayers. During
his mayoral campaign, Mr. de Blasio also vowed "wholesale reform of our city's tax
incentive policies that give hundreds of millions of dollars to office towers on Park
Avenue and unaccountable one-shot subsidies to companies who can do without
them."

Real estate developers and investors, who had a familiar ally in Mr. Bloomberg,
will be watching for early signs of Mr. de Blasio's agenda. A spokesman for Mr.




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de Blasio, Lis Smith, said he would "review every project with an eye toward
maximizing affordable housing, good jobs and value for taxpayers."

Only one so-called legacy project — the rezoning of 73 blocks surrounding Grand
Central Terminal for taller towers — failed, when the Bloomberg administration
could not win the Council's support last month.

Even though the Council approved the Willets Point proposal to build a retail
mall and housing next to Citi Field in Queens, the project still has critics, and Mr.
de Blasio could make it difficult for developments like Willets Point by slowing
approval of construction permits or delaying the use of government funds.

The Bloomberg administration has also pushed many small initiatives that critics
contend should have been left for the next administration. The city recently
solicited bids from private developers for a commercial complex within the Bedford
Union Armory in Brooklyn, committed $51.5 million in public funds to the
restoration of the Loew's Kings Theater, which has been largely vacant for decades,
and directed $50 million to a cultural center at Hudson Yards that has yet to be
designed.

Mr. Bloomberg has laid the groundwork for the transformation of New York
by aggressively rezoning more than 12,000 blocks, almost 40 percent of the city,
primarily for dense high-rise development. The Council recently approved the
administration's 124th and last rezoning, in Ozone Park, Queens.

Many projects are rooted in the early days of Mr. Bloomberg's 12-year tenure and
were steered by his first deputy mayor and chief development architect, Daniel L.
Doctoroff. More than once, Mr. Bloomberg has said that Mr. Doctoroff, and by
extension himself, had a "greater impact on this city, I think, than Robert Moses."

New York mayors have traditionally rushed through favored projects in the closing
days of their administrations, and rarely has a new mayor upended his predecessor's
work.

Before leaving office in 2001, Mayor Rudolph W. Giuliani signed a secret deal
to build new stadiums for the city's two professional baseball teams, the Yankees
and the Mets. Less than a month later, Mayor Bloomberg effectively scuttled the
agreement, citing the city's more pressing civic needs after the terrorist attack on
the World Trade Center.




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But the Yankees and the Mets did get new stadiums, replete with city subsidies
worth tens of millions of dollars.

Mr. Giuliani himself railed for years about Mayor David N. Dinkins's last-minute
deal to build a new stadium at the National Tennis Center in Queens. But he did
nothing to stop the project, other than bar his senior officials from attending the
U.S. Open there.

"We haven't tried anything wacky at the last minute," Mr. Steel said. "We've worked
hard to get a lot of things done. My focus, and the mayor's focus, has been on jobs
and housing. And lots of private money."

Besides, Mr. Steel added, "there'll be lots of things that we began that the
next mayor will reap. Projects we put in the oven will come out with the next
administration, like Domino."

The City Planning Department has certified for public review a $1.5 billion plan
by Two Trees Management to transform the former Domino Sugar mill on the
East River into an 11-acre residential complex with office space, a park and 2,100
apartments, 660 for moderate- and middle-income tenants. There may be some
additional bargaining over concessions from the developer before the Council votes
on the project.

Mr. de Blasio, who has named only a few of his top officials, has yet to announce
who will serve as his administration's point person on economic development.


---- Index References ----


News Subject: (Government (1GO80); Local Government (1LO75))

Industry: (Commercial Construction (1CO15); Construction (1CO11); Housing
(1HO38); Real Estate (1RE57); Zoning (1ZO58))

Region: (Americas (1AM92); New York (1NE72); North America (1NO39); U.S.
Mid-Atlantic Region (1MI18); USA (1US73))

Language: EN




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Other Indexing: (Bill de Blasio; Rudolph Giuliani; Steel; Daniel Doctoroff; David
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   <8d7ÿ=AJ;<;@79=7;B<Na
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   F8ÿ=G@BÿQ;78Aÿ98J=9P@ÿKEÿeBL8ÿf9=<Q;@ÿ=KBC7ÿ7?8ÿ;JLB97=<Q8ÿB6ÿQ;7;8@Hÿ7?8<ÿTC;LL8AHÿ_R?8ÿ6=Q7ÿ7?=7
   =ÿg8>;@?ÿP;AÿQ=<ÿTCB78ÿ7?8ÿLBL8ÿ;<ÿ=ÿ@8QCG=9ÿKC;GA;<:ÿKC;G7ÿKEÿe9B78@7=<7@ÿ;<ÿ69B<7ÿB6ÿF;<ACHÿMC@G;J
   =<AÿS;P?ÿG8=A89@ÿ98=GGEÿ@=E@ÿ=GGÿEBCÿ<88Aÿ7BÿP<B>ÿ=KBC7ÿc8>ÿhB9PÿD;7ENa
   IGBBJK89:ÿA9=J=7;Q=GGEÿ98@?=L8Aÿ7?8ÿQ;7EHÿ>?;Q?ÿ?=@ÿ<8V89ÿK88<ÿ@=689ÿB9ÿQG8=<89NÿIC7ÿ?;@ÿA=7=]
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   K87>88<ÿ7?8ÿQ;7E^@ÿL9;V;G8:8Aÿ=<AÿLBB9ÿ:98>ÿA9=J=7;Q=GGEÿAC9;<:ÿ?;@ÿ789J@N
   IGBBJK89:ÿ?=@ÿ@=;Aÿ?8ÿ>;GGÿ:BÿB<ÿ=ÿ7>B]>88PÿV=Q=7;B<ÿK86B98ÿ98@CJ;<:ÿ=ÿ9BG8ÿ=7ÿ7?8ÿKC@;<8@@
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             E@?2/@3ÿF8:ÿ01?Bÿ=180BÿA2ÿ./:3ÿ>?1CA2C3:ÿ/Dÿ3=1ÿCA3BG:ÿ:.8;;1:3ÿ82<ÿ./:3ÿ:@H@?H82
             H/?/@I=JÿF=1?1ÿ3=1ÿA::@1ÿI8;082AK1<ÿ0/31?:ÿF=/ÿF1?1ÿF/??A1<ÿ8H/@3ÿ12C?/8C=A2I
             @?H82ÿA;;:ÿ82<ÿD?@:3?831<ÿHBÿ3=1ÿA:;82<G:ÿ:.8;;ÿ0/AC1ÿA2ÿ3=1ÿ08:3ÿ82<ÿ:11.A2I;B
             @2:B.>83=13ACÿCA3BÿI/01?2.1234
                   E=1ÿ:38I1ÿA:ÿ2/Fÿ:13ÿD/?ÿ8ÿC/.>;1Lÿ>/;A3AC8;ÿ:3?@II;1ÿA2ÿM;H82BÿF=1?1ÿ3=1ÿA::@1ÿA:
             C/;/?1<ÿHBÿC/2D;AC3A2Iÿ>/;A3AC8;ÿ82<ÿ?1IA/28;ÿ;/B8;3A1:4ÿE=1ÿN1./C?83ACOC/23?/;;1<
             M::1.H;BÿA:ÿ1L>1C31<ÿ3/ÿ/>>/:1ÿ:1C1::A/2ÿ;8?I1;BÿH1C8@:1ÿ8;./:3ÿ=8;DÿA3:ÿ.1.H1?:
             C/.1ÿD?/.ÿ3=1ÿCA3Bÿ82<ÿ8?1ÿ;/83=ÿ3/ÿ:11ÿA3ÿ<A0A<1<4ÿP@3ÿ3=1ÿQ1>@H;AC82O=1;<ÿ712831ÿA:
             ;AR1;Bÿ3/ÿ:@>>/?3ÿ3=1ÿ.18:@?1JÿADÿ/2;Bÿ3/ÿIA01ÿ:/;8C1ÿ3/ÿ738312ÿ9:;82<G:ÿ;8?I1;B
             Q1>@H;AC82ÿ1;1C3/?8314
                   S?4ÿT@/./Jÿ8ÿN1./C?83ÿF=/ÿD8C1:ÿ?11;1C3A/2ÿ21L3ÿB18?Jÿ=8:ÿ2/3ÿ38R12ÿ8ÿ>@H;AC
             >/:A3A/2ÿ/2ÿ:1C1::A/24ÿT/@;<ÿU@112:ÿP1ÿV1L3W
                   T/.1ÿX82@8?BJÿ3=1ÿ;1IA:;83/?:ÿFA;;ÿI?8>>;1ÿFA3=ÿF=13=1?ÿ3=1BÿF823ÿ3/ÿ>?1:A<1
             /01?ÿ3=1ÿDA?:3ÿ.8Y/?ÿ<A:.1.H1?.123ÿ/DÿV1FÿZ/?RÿTA3Bÿ:A2C1ÿ3=1ÿDA01ÿH/?/@I=:ÿF1?1
             @2A31<ÿA2ÿ[\]\4ÿE=1BÿFA;;ÿ8;:/ÿ<1H831ÿF=13=1?ÿ3/ÿ:13ÿ8ÿ>?1C1<123ÿ3=83ÿC/@;<
             12C/@?8I1ÿ:1C1::A/2A:3ÿD101?ÿ8?/@2<ÿ3=1ÿ:3831Jÿ>8?3AC@;8?;BÿA2ÿU@112:4
                   E=1ÿ>?/>/:1<ÿC=8?31?ÿF/@;<ÿ1:38H;A:=ÿ8ÿI/01?2.123ÿ.@C=ÿ;AR1ÿV1FÿZ/?RÿTA3BG:4
             E=1ÿ.8B/?ÿF/@;<ÿ.828I1ÿCA3BFA<1ÿ:1?0AC1:ÿ82<ÿ>?/>/:1ÿ8ÿH@<I13JÿF=A;1ÿ8ÿ[^O
             .1.H1?ÿC/@2CA;ÿF/@;<ÿ8>>?/01ÿ3=1ÿH@<I13ÿ82<ÿ./2A3/?ÿCA3Bÿ8I12CA1:4ÿMÿC/.>3?/;;1?
             F/@;<ÿH1ÿ3=1ÿC=A1DÿDA:C8;ÿ/DDAC1?4
                   Z1:31?<8BG:ÿ0/31ÿ<A:8>>/A231<ÿ8ÿ;//:1ÿC/8;A3A/2ÿ/Dÿ823AO:1C1::A/2A:3:JÿF=AC=
             A2C;@<1<ÿ>1/>;1ÿ/2ÿDAL1<ÿA2C/.1:ÿC/2C1?21<ÿ8H/@3ÿ=AI=1?ÿ38L1:JÿCA3BÿF/?R1?:
             F/??A1<ÿ3=83ÿ3=1Bÿ.AI=3ÿ;/:1ÿ3=1A?ÿY/H:ÿH1C8@:1ÿ/Dÿ?1:A<12CBÿ?1_@A?1.123:Jÿ82<
             120A?/2.1238;A:3:ÿF=/ÿ:8Bÿ8ÿ21FÿCA3BÿFA;;ÿD11;ÿ>?1::@?1ÿ3/ÿ12C/@?8I1ÿ?18;O1:3831
             <101;/>.123ÿ3/ÿ:=/?1ÿ@>ÿA3:ÿ38LÿH8:14
                   92ÿ;18D;13:Jÿ>=/21ÿC8;;:ÿ82<ÿ<//?O3/O<//?ÿC8.>8AI2:Jÿ3=1ÿ823AO:1C1::A/2A:3:
             8?I@1<ÿ3=83ÿ8ÿ:1>8?831ÿCA3Bÿ/Dÿ738312ÿ9:;82<ÿFA;;ÿD8C1ÿ38LÿA2C?18:1:ÿH1C8@:1Jÿ8CC/?<A2I
             3/ÿ:3@<A1:Jÿ3=1ÿH/?/@I=ÿC/23?AH@31:ÿ8H/@3ÿ̀[abÿ.A;;A/2ÿ;1::ÿA2ÿ38Lÿ?1012@1:ÿ3=82ÿA3
             ?1C1A01:ÿA2ÿCA3Bÿ:1?0AC1:4
                   T;/:A2Iÿ3=83ÿI8>ÿC/@;<ÿA20/;01ÿ?1<@CA2IÿI8?H8I1ÿC/;;1C3A/2Jÿ>/;AC1ÿ>83?/;:ÿ82<
             DA?1ÿC/.>82A1:Jÿ823AO:1C1::A/2A:3:ÿ:8B4ÿ6c1/>;1ÿF/@;<ÿH1ÿ:C?18.A2Iÿ/2ÿ3=1ÿ:31>:ÿ/D

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             ./01ÿ3455ÿ/6ÿ078ÿ941:;ÿ<;:<:=8>ÿ07/=?@ÿ=4/>ÿA4B/>ÿC:5>64;D?ÿ4ÿ54E18;ÿE7:ÿ/=ÿ584>/FG
             078ÿ4F0/H=8I8==/:Fÿ866:;0Jÿ@K71ÿ>:8=ÿ4F1:F8ÿ07/FLÿ/0ÿE/55ÿD8ÿ4II8<04D58ÿ/Fÿ=8I8==/:FM@
                  N78ÿOF/08>ÿP8>8;40/:Fÿ:6ÿN84I78;=ÿI:F08F>=ÿ0740ÿ=0408ÿ=I7::5ÿ4/>ÿHHÿE7/I7ÿ/=
             D4=8>ÿ<4;051ÿ:FÿE84507ÿHHÿE/55ÿ>;:<ÿD8I4Q=8ÿR0408FÿS=54F>ÿ:FÿD454FI8ÿ/=ÿT:;8ÿ4665Q8F0
             074Fÿ078ÿ;8=0ÿ:6ÿ078ÿI/01JÿN78ÿQF/:F?ÿE7/I7ÿ0858<7:F8>ÿ455ÿU?VWWÿ:6ÿ/0=ÿT8TD8;=ÿE7:
             5/B8ÿ:FÿR0408FÿS=54F>ÿ0:ÿQ;G8ÿ078Tÿ0:ÿB:08ÿ4G4/F=0ÿ078ÿT84=Q;8?ÿ=41=ÿ4ÿ5:==ÿ/F
             8>QI40/:Fÿ4/>ÿI:Q5>ÿI4Q=8ÿI:F=:5/>40/:Fÿ:6ÿ=I7::5=ÿ:;ÿ4Fÿ/FI;84=8ÿ/Fÿ<;:<8;01ÿ04X8=J
                  YQ0ÿ=QI7ÿ4;GQT8F0=ÿ=88T8>ÿ0:ÿ74B8ÿ5/0058ÿ/T<4I0ÿ:FÿB:08;=ÿ18=08;>41ÿE7:?ÿG/B8F
             078ÿI7:/I8ÿD80E88Fÿ7/G78;ÿ04X8=ÿ4F>ÿG;8408;ÿI:F0;:5ÿ:B8;ÿ078/;ÿ/=54F>?ÿI7:=8ÿI:F0;:5J
                  @Sÿ<41ÿ4ÿ5:0ÿ:6ÿ04X8=ÿ4F>ÿG80ÿF:07/FGÿD4IL?ÿ4F>ÿ/0Z=ÿ4ÿ=/Fÿ74B/FGÿ0:ÿ6/G70ÿE/07ÿ078
             Y:4;>ÿ:6ÿ[>QI40/:Fÿ:B8;ÿE7:Z=ÿG:/FGÿ0:ÿ084I7ÿT1ÿI7/5>;8FÿT:;45ÿ/==Q8=?@ÿ=4/>ÿ\:4FF8
             C8F0/58?ÿ]^?ÿ4=ÿ=78ÿB:08>ÿ40ÿ078ÿ3QGQ8F:0ÿRI7::5ÿ18=08;>41Jÿ@K/07ÿ078ÿT:F81ÿE8ÿ<41
             /Fÿ04X8=ÿE8ÿ=7:Q5>ÿ74B8ÿ078ÿD8=0ÿ6:;ÿ:Q;ÿI7/5>;8Fÿ78;8ÿ4F>ÿE8ÿ>:FZ0J@
                  P:Q;ÿ184;=ÿ4G:?ÿ68Eÿ/Fÿ_5D4F1ÿ07:QG70ÿ18=08;>41Z=ÿB:08ÿE:Q5>ÿ8B8;ÿ:IIQ;JÿSF
             `aUa?ÿ078ÿR8F408ÿ<4==8>ÿ58G/=540/:Fÿ0:ÿ455:EÿR0408FÿS=54F>ÿ;8=/>8F0=ÿ0:ÿ8=04D5/=7ÿ4
             I:TT/==/:Fÿ0:ÿE;/08ÿ4ÿF8Eÿ./01ÿ.74;08;?ÿ54;G851ÿ4=ÿ4ÿ64B:;ÿ0:ÿ9;Jÿ94;I7/Jÿ94F1
             07:QG70ÿ078ÿ_==8TD51ÿE:Q5>ÿ;8b8I0ÿ078ÿD/55ÿ:;ÿ0740ÿC:B8;F:;ÿ.Q:T:ÿE:Q5>ÿB80:ÿ/0J
             c8/078;ÿ74<<8F8>J
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Manhattan Lots Identified by Both City and Plaintiffs as Legally Permissible For
Adult Use Establishments and Where Both Plaintiffs and Defendants Agree That At
Least Some Types of New Commercial Business Could Be Established
Count BBL           Borough Block        Lot         Address
      1 1005980058           1       598         58 341 HUDSON STREET
      2 1006450011           1       645         11 848 WASHINGTON STREET
      3 1006457501          1        645      7501 837 WASHINGTON STREET
      4 1006460001          1        646           1 40 10 AVENUE
      5 1006460014          1        646         14 446 WEST 14 STREET
      6 1006460018          1        646         18 440 WEST 14 STREET
      7 1006460019          1        646         19 860 WASHINGTON STREET
      8 1006460027          1        646         27 428 WEST 14 STREET
      9 1006460057          1        646         57 421 WEST 13 STREET
    10 1006467502           1        646      7502 450 WEST 14 STREET
    11 1006720001           1        672           1 601 WEST 26 STREET
    12 1006730001           1        673           1 261 11 AVENUE
    13 1006750001           1        675           1 260 12 AVENUE
    14 1006750012           1        675         12 613 WEST 29 STREET
    15 1007050001           1        705           1 380 11 AVENUE
    16 1007280060           1        728         60 442 WEST 31 STREET
    17 1010890001           1      1089            1 1 RIVER PLACE
    18 1010897501           1      1089       7501 601 WEST 41 STREET
    19 1010897502           1      1089       7502 533 11 AVENUE
    20 1010900001           1      1090            1 520 WEST STREET
    21 1010907501           1      1090       7501 635 WEST 42 STREET
    22 1010910001           1      1091            1 571 11 AVENUE
    23 1010920007           1      1092            7 633 WEST 44 STREET
    24 1010967501           1      1096       7501 660 12 AVENUE
    25 1006540031           1        654         31 500 WEST 14 STREET
    26 1007280055           1        728         55 432 WEST 31 STREET
    27 1006450029           1        645         29 416 WEST 13 STREET
    28 1010900010           1      1090          10 647 WEST 42 STREET




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Existing Manhattan Lots that Allow Adult Use Establishments
                                                                                                   Percent
                                                                              Allowed               of Lot
                                              Zoning                    Built AUE Area Total Lot   Allows
Count Block/Lot            Address            District Special District FAR     (SF)   Area (SF)     AUE
    1 598/58    341 HUDSON STREET            M1‐6      Hudson Square 16.03 10,345       50,632          20%
    2 645/11    848 WASHINGTON STREET        M1‐5                        6.84 22,386    33,789          66%
    3 645/29    416 WEST 13 STREET           M1‐5                        4.00    1,884 36,366            5%
    4 645/7501 837 WASHINGTON STREET         M1‐5                        0.00    5,162 10,784           48%
    5 646/1     40 10 AVENUE                 M1‐5                        6.09 24,571    24,571         100%
    6 646/14    446 WEST 14 STREET           M1‐5                        3.20    5,294    5,294        100%
    7 646/18    440 WEST 14 STREET           M1‐5                        4.06    8,166    8,166        100%
    8 646/19    860 WASHINGTON STREET        M1‐5                        6.16 15,922    15,922         100%
    9 646/27    428 WEST 14 STREET           M1‐5                        5.20    9,692 10,713           90%
   10 646/57    421 WEST 13 STREET           M1‐5                        5.85    3,662    7,705         48%
   11 646/7502 450 WEST 14 STREET            M1‐5                       10.06 10,081    10,081         100%
   12 654/31    500 WEST 14 STREET           M1‐5                        3.00    2,376    2,376        100%
   13 665/11    PIER 78 (BLOCK 665/LOT 11)   M2‐3                        0.00 30,148    30,148         100%
   14 672/1     601 WEST 26 STREET           M2‐3                       14.79 35,615 124,723            29%
   15 673/1     261 11 AVENUE                M2‐3                        8.30 49,957 143,741            35%
   16 675/1     260 12 AVENUE                M1‐6                        0.07 76,879    79,270          97%
   17 675/12    613 WEST 29 STREET           M2‐3                        1.12 20,497    64,168          32%
   18 676/1     601 WEST 30 STREET           C6‐4      Hudson Yards      0.00 105,051 146,165           72%
   19 702/150   560 WEST 33 STREET           C6‐6      Hudson Yards     20.86 51,121    51,121         100%
   20 705/1     380 11 AVENUE                C6‐4      Hudson Yards     29.45 42,081    42,081         100%
   21 706/1     400 11 AVENUE                C6‐4      Hudson Yards      0.00    4,466 48,551            9%
   22 728/55    432 WEST 31 STREET           C6‐4      Hudson Yards      1.28    1,439    4,250         34%
   23 728/60    442 WEST 31 STREET           C6‐4      Hudson Yards      8.07    8,279 14,504           57%
   24 1089/1    1 RIVER PLACE                C6‐4      Clinton           8.79 99,919 100,329           100%
   25 1089/7501 601 WEST 41 STREET           C6‐4      Clinton          10.21    5,689    9,253         61%
   26 1089/7502 533 11 AVENUE                C6‐4      Clinton          19.16 18,382    51,236          36%
   27 1090/1    520 WEST STREET              C6‐4      Clinton          12.69 29,906    29,906         100%
   28 1090/10   647 WEST 42 STREET           C6‐4      Clinton           2.31    2,288    2,288        100%
   29 1090/7501 635 WEST 42 STREET           C6‐4      Clinton           9.52 29,382    46,320          63%
   30 1091/1    571 11 AVENUE                M2‐4      Clinton           5.99 42,208 133,449            32%
   31 1092/7    633 WEST 44 STREET           M2‐4      Clinton           6.21 28,461    36,330          78%
   32 1094/11   638 WEST 47 STREET           M2‐4      Clinton           0.57    5,604    5,604        100%
   33 1094/12   639 WEST 46 STREET           M2‐4      Clinton           2.00    8,394 12,680           66%
   34 1094/17   629 WEST 46 STREET           M2‐4      Clinton           1.14    8,264 19,474           42%
   35 1095/11   620 JOE DIMAGGIO HWY         M2‐4      Clinton           4.64 20,855    22,940          91%
   36 1096/7501 660 12 AVENUE                M2‐4      Clinton           2.94 20,967    82,106          26%




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